   Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 1 of 156 PageID #:1
                                                                                                 Tr
                                          IN THE
                      UNITED STATES DISTRICT COURT
                                                                            R,ECEIVED
                                FOR THE                                              Nov 2   12In?6
                      NORTHERN DISTRICT OF ILLINOIS
                                                                                THOMAS G BRUTON
                            EASTERN DIVISION                                CLERK, U.S. DISTRICT COURT

Carlen Colbert
                                                    1:17-cv-Og4fi1
                                                   j-udge Charles R. Norgle,
 Plaintiff                                         Magistrate J udg.         Sr
                                                                              S   rtLi'el co,
  V

Pamela E.Loza, Michael I. Bender, Timothy C.
Evans, Grace Dickler, Anton Colbert
                                       , O.Ln6. e      '1lh.r-
                                                  Jury Demand: $6.9 Million Dollars

Defendants




                     Complaint of Civil Rights Violations
                       Trespassing of the Laws
                               Treason
                         Jim  Crow  Violations
                      Judicial Corruption Conspiracy
                      Unequal Protection of the Laws

To the Honorable Judges of the United States District Court for the Northern District:

       Complainant a United States Citizen, Carlen Colbert, hereby respectfully represents
      as Pro Se shows this court with corroboration/admissions and affidavit the noted
      reasons why this matter should be within this court's Jurisdiction; {Pursuant to (A)
      Color (Title Vl1 of the Civil Rights Act of 1964 and 42 U.S.C. 1931)
      (B) Race (Title Vll of the Civil Rights Act of 1964 and 42 U.S.C. 1931)
  Racial Discdmination, Racial Retaliation, Racial Hatred, Racial Oppression, Civil
Rights Violations, Unequal Applications of the Laws, and Disparate Treatment on the
basis of race, colot or national origin (42 U.S.C. 1981).

 This court has Judsdiction over the statutory violation alleged as conferred as follows: over
Title v1.1 claims by u.s.c. 11331.,28 u.s.c. g3a3 @) (3), and 42 u.s.c. {2000e-5 G) (3);
ovet 42 u.s.c. {1981 and {1983 by 42 u.s.c. {1988; over the A.D.E.A. by 42 u.s.c.
{12117).
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  1.) In addition, alleged violations of the noted Sections the 7th Cir. Held that the Cook
      County Courts were a Criminal enterprise . U.S. v. Murphy. 768 F. 2d 1518,
      1531 where precedent was enacted bv Judqes Frank H. Easterbrook. Richard
      D. Cudahy and former Chief iudqe Luther Menitt Swvqeft:


     TRESPASSERS                     OF{HE LAW
      The Illinois Suprerne Court has held that "if the magistrate has not such
     jurisdiction, then he and those who advise and act with him, or execute his
      process, are trespassers." Von Kettler et.al. v. Johnson, 57 lll. 109 (1870)
      Under Federal law which is applicable to all states, the U.S. Supreme Court
      stated that if a court is "without authorify, its judgments and orders are
      regarded as nullities. They are not voidable, but simply void; and form no
      bar to a recovery sought, even prior to a reversal in opposition to them.
      They constitute no justification; and allpersons concerned in executing such
     judgrnents or sentences, are considered, in law, as trespassers." Elliot v.
     Piersol, 1 Pet. 328,340,26 U.S. 328,340 (1828)

     The Illinois Supreme Court held that if a court "could not hear the matter
     upon the jurisdictional paper presented. its finding that it had the power can
     add nothing to its authority, - it had no authority to make that finding." The
     People v. Brewer, 128 I11.472,483 (1928).

In addition, when judges act when they do not have jurisdiction to act, or they
enforce a void order (an order issued by a judge without jurisdiction), they
become trespassers of the law, and are engaged in treason (see below).

The Court in Yates v. Village of Hoffman Estates, Illinois, 209 F. Supp. 757
(N.D. lll. 1962) held that "not every action by ajudgi is in exercise of his judicial
function. ... It is not aiudicial function f,or a judge to commit an intentional tort
even though the tort occuii in the courthouie." When a;udge acts as a trespasser
of the law, when a judga does not fbllow the law, the judge loses subject-matter
jurisdiction and the judge's orders are void, of no legal force or effecr.

The U.S. Supreme Court, in Scheuer v, Rhodes,416 *.5.232,94 S. Ct. 1683,
 16S7 (1974) stated that "when a state officer acts under a state law in a manne,
violative of the Federal Constitution, he "comes into conflict with the superioi
authority of that Constitution, and he is in that case stripped of his official or
representative character and is subjected in his person to the consequences of his
individual conduct. The State has no power to impart to him any immunity from
responsibility to the supreme authorib/ of the United States." [Emphasis supplied
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in origina[,tsy,-.,14w, ajudge is a state,sfficeri The judge then aCts not   as a judge,
but as a private individual (in his person).


To: Pamela E. Loza 50 West Washington, Chicago, IL 60601 Room
3009;
    Michael I. Bender,70 West Madison, Suite 2222 Chg. IL 60602,
    Timothy C. Evans 50 West Washington, Chg. IL. 60601 Room
2600;
    Anton Colbert, 140 Percy Julian Sq., Oak Park, IL. 60302-26L9
    Grace Dickler 50 West Washington, Chg, IL 60601 Room 1905;
    Debra B. Walker, 50 West Washington, Chg. Il 60601 Room 2108




         PLEASE BE ADVISED that on November 21,2017, A Civil Rights
Complaint has been filed before the United States District Court.

                                          Respectfully Submitted



                                               Carlen Colbert
                                             1805Jamestown Cir.
                                          Hoffman Estates, IL.     601, 69
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                           IN THE
                UNITED STATES DISTRICT COURT
                          FOR THE
                NORTHERN DISTRICT OF ILLINOIS
                      EASTERN DIVISION


                     CERTIFICATE OF SERVICE

I Carlen Colbert, certify that I have on this day filed said Notice of Civil
Complaint and Jurisdictional Statement before the Northern District Court of
lllinois.




Dated November 21,2017




                                                      Carlen Colbert
                                                       Pro Se
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                                        IN THE
                    UNITED STATES DISTRICT COURT
                              FOR THE
                    NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

Carlen   Colbert                                  Civil Action #

                                                  Hon:
 Plaintiff

  V

Pamela E.Loza, Michael I. Bender, Timothy C.
Evans, Grace Dickler, Anton Colbert




Defendants




                    CNIL RIGHTS COMPLAINT ET AL
                         J u risd   ictional Statement
Order entered: Nov. 8, 2017
Notice of Civil Rights Complaint: Nov. 21,2017

Statute: Treason, Trespassing upon the Laws, Unequal Protection of the
Laws Violations, Disparate Unequal Protection of the Laws, Civil Rights
Violations, Jim Grow Violations, Judicial Abuse of Discretion, Racial
Terrorism Conspiracy, Periury, Admission of all facts by all Defendants, No
Objections by any Defendants, Public, Political, Fraternal Gorruption
Gonspiracies, Fraud on the Gourts and other Un-Constitutional Lawless
Violations.

  Plaintiff is appealing to the United States District Gourt, for a reversal and
remand with instructions based on the foregoing stated above:

  The United States District Gourt has the Jurisdiction, to correct any error, and
establish any precedent in the law where deemed necessary, without fear of
reprisals from any political organization, terrorist fraternal orders, elected or
othenruise, for the mandate of their decision;
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 The United States District Court has the Jurisdiction and Wisdom to recognize
when an individual has not been afforded sapiency in accordance to the United
States Constitution

Plaintiff is before the United States District Court because as a"Pro Se" "lnforma
Pauper's" the admissions recorded in this instrument demonstrates under the
lllinois Legal system Black and Brown lives don't matter and the Jim Crow methods
still being exercised criminalizing persons of color for attempting to rise above
racial injustice perpetrated on innocent persons.

 Plaintiff is before the United States District Court because of the color of her skin
all defendants have admitted to all criminal acts and civil rights violations but the
judges have ignored all admissions affidavits, the Laws and laws the United States
Constitution and Plaintiffs Civil Liberties, validating the veracity Plaintiff is a nobody
merely because of her skin color, every ruling has been dispensated according to
racial political guidelines;


For all of the aforementioned reasons is why Plaintiff is before the United States
District Gourt for Jurisdiction and Enforcement.

I affirm the above as being true.




                                              Respecffully Submitted, Pro Se

                                              O   ^
                                                      Jr,,u 0N            o+
                                                      Caden Colbert
                                                   1805 Jamestown Cir.
                                                  Hoffman Estates, lL. 60169
    Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 7 of 156 PageID #:7




                                  IN THE
                       UNITED STATES DISTRICT COURT
                                 FOR THE
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

                                     AFF!DAVIT

                      ln support of Civil Rights Gomplaint et al.

{Pursuant to 28 U.S.C.A. 1aa6 (a)}

I Carlen Colbert., Pro Se, being duly sworn on oath states: That all Defendant's
acted knowingly, intentionally, committed "Treason" "Trespassed upon the
Laws" willfully and maliciously, due to her skin color and because they were within
the Democratic Political Machine and deemed themselves untouchable
:

         A-    Pursuant to Sup Ct. Rule 272 "if at the time o.f announcing.final-iudsment the
              iudqe reguires the submission qf a.form qfwrittenjudgment to be signed by
               the -iudge et al" the judgment becomes.final onl]) when the signed judement is
              fikd-     Judges are bound by this rule before their court orders are valid;

                      2017, Plaintiff filed Motion for Disqualification of Judge for
    1.) That on Oct. 10,
           Cause Due to "Fraud" (Civil Rights Violations) and or Prejudice
           pursuant to S.H.A. 735 ILCS 512 ---1001 (al (2,3) and to Vacate all
            Orders due to "Trespassing upon the Laws" Court never had
                       Jurisdiction Orders are "Void" a "Nullity"

    2.) That pursuant to Page 41 5 Par. 1, That because it is an norm for judges to
        violate their oath and commit "Treason" "Tresoass uoon the         L   willfully
        acting as Terrorist , judge Loza allowed
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        fabricated admissions full of inconsistencies from Respondents brother
        and colleague judge/attorney(Michael I Bender) she appointed as child
        rep which corroborates these very criminal acts as active collusion, and
        demonstrates Bias and Prejudiced conduct surpassing the
        Preponderance of Evidence legal standard required in this matter where
        "Fraud" is concerned;
          A- Hereto attached, Ex A, DCFS (June 20. 2012) Investigation of
          Suspected
               Child Abuse or Neelect-No Action:

          B-   That   said DCFS Administrator (Rosa Fiaz) informedthe Respondent,
               "she informed her brother ifhe report qny more allegations of abuse against
               his sister, she was going to bring him up on charges";

 3.)    That Petitioner (Robert Stafford) appeared before judge Loza June 15,
       2015, hereto attached, Ex B, said court order was not only false but it
       was in violation Sup Ct Rule 272 it was not signed;

 4.)    That former judge (Michael I Bender) filed a "Fraudulent Emergency Ex
       Parte Motion et al., hereto attached;
        A- That Par 4 states "ln May of 2012 DCFS opened an investigation et a!".,
            this is an egregious falsehood, in that there was never an investigation
            opened against the Respondent for any reason;

 5.)     That the aforementioned parties colluded in an "Organized Conspiracy" and
       abducted Plaintiffs child and giving him to her brother in an unlawful bizarre
       manner!

 6.)     That Gr Ex 1, hereto attached, Motion to Return Minor back into Custody of
       Mother (Defendant) Instanter Due to "Fraud" "Kidnapping" et al. That no one
       DENIED or objected to any of the pleadings properly asserted thereby admitting
       to the veracity of every pleading.

 7.) Hereto attached as Gr Ex B,   In Re The Parentage of Clarence Parker v. April
       Redeaux, Motion for Disqualification of judge for "Cause" Due to "Fraudt'
       (Civil Rights Violations) and or Prejudice pursuant to S.H.A. 735 ILCS 512---
       1001 (a) (2r3) and to Vacate all Orders due to 6'Trespassing upon the Laws"
       Court never had jurisdiction et al. Page 10, Par 10, states "That judge Karen J.
       Bowes satisfied the Preponderance of Evidence Standard by taking part in an
       "Organized Conspiracv" by interfering and unlawfully obstructing with
       Respondents porental responsibility keeping her from having custody per judge
       Walker's order, in an attempt to keep blackfamilies stressed oppressed exercising
       terrorist tactics thereby, validating the veracity of colluding with said parties in
       said conspiracy where "Froud" and "Perjury" was apparent in reference to all
       attachments; "
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    8.) That in addition to the aforementioned acts of "Treason Offenses" former judge
        now Child Rep (Michael [. Bender) attorney is now trying to EXTORT money
        from the Plaintiff hereto attached, Gr Ex C Petition for Rule to Show Cause for
        Indirect Civil Contempt (Filed September 14 and Motioned for September 15,
        20t7)
            A- Plaintiff had her fees waived but Michael Bender being a former judge
                knew how to 6'Trespass uDon the Laws" by colluding with Judge Loza,
                   she became a law unto herself by acting as a Private citizen and not as a
                   Judicial Ofhcer of the State of Illinois violating her oath in every way.

    9.) That Par A of Page 10, states " Democratic judges in lllinois are still enforcing
        Jim Crow laws outlawed by the United States Supreme Court";

    10.)          Pursuant to Gr Ex , B In Re The Parentage of Clarence Parker v. April
           Redeaux. 12 D 8436, (Judge Karen Bowes) Motion for Disqualification of Judge
           for Cause due to "Fraud" (Civil Rights Violations) and or Prejudice pursuant to
           S.H.A. 735 ILCS 5/2-1001 (a) (2"3) and to Vacate all Orders due to
           "Trespassinq upon the Laws" Court never had Jurisdiction Orders are ttVoid"
           Judge Gregory Emmitt Ahern, Jr. ignored the Defendants unchallenged Affidavits
           stated, "Judge Bowes did not do anything wrong" and that the laws indicated
           were generalizations ". Denied the Motion.

    1   1.)        Pursuant to the Notice of Service hereto attached, are the court orders of
           Oct. 17,2017 Associate Judge Karen J. Bowes did not sign the court order
           transferring the matter to the presiding judge in violation of Sup CtRule272,
           Directed Evidence of Trespassing upon the Laws;

    12.)       Pursuant to the Presiding Judge transferring the matter to judge Ahern      it
        was not signed in violation to Sup Ct. Rule 272,Directed Evidence of
        Trespassing upon the Laws;

    13.)          That Associate Judge Gregory Emmett Ahern, Jr. became complicit in an
           ('Organized
                        Conspiracy" Denied the Motion with his certified signature
           corroborating his role "Trespassing upon the Laws" enforcing a void order
           deemed a nullity;

    t4.)          That said judges engaged in an illegal "Organized Conspiracy,
           "trespassed upon the lawst'.

Section 1983 of U.S.C.S. contemplates the depravation of Civil Rights through the
Unconstitutional Application of a Law by conspiracy or otherwise. Mansell v. Saunders
(CA 5 F 1A) 372 F 573, especially if the conspiracy was actually carried into effect,
where an action is for a conspiracy to intedere with Civil Rights under 42 U.S.C.S. 1985
(3), or for the depravation of such rights under 42 U.S.C.S. 1983, if the conspiracy was
actually carried into effect and plaintiff was thereby deprived of any rights, privileges, or
immunities secured by the United States Constitution and Laws, the gist of the aition
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may be treated as one for the depravation of rights under 42 U.S.C.S. 1983, Lewis v.
Brautiqam (CA 5 F 1a) 227 F 2d 124,55 Alr 2d 505, John W. Strong, 185,777-78 (4the
ed.1992).


   15.)          That said mother another Plaintiff had to file a Complaint in Federal Court
          17 cv- 08060 Judge Virginia M. Kendall, Magistrate Susan E. Cox filed Nov. 7,
          2017, she too had her son taken from her unlawfully.

   16.)       That the Chief Judge Judge being an African American Negroe or Black
       Man has received Notice and Knowledge of the aforementioned violations of the
      judges engaging in a plethora of criminal violations (Trespassing upon the laws
       engaging in Treason" has closed his eyes and ears to the injustices perpetrated
       on innocent persons ofcolor so as to keep collecting a paycheck.

           A- The Illinois Supreme Court held that if a court "could not hear the
              matter upon the jurrisdictional paper presented, its finding that it had
               the power can add nothing to its authority, - and it had no authority
               to make that finding." The People v. Brewer,l2Slll. 472,483
               (1e28).

                When judges act when they do not have jurisdiction to act, or they
                enflcrce a void order (an order issued by a judge without
               jurisdiction), they become trespassers of the law, and are engaged in
               treason.

   17.)       That Plaintiff did not have to file a Post-Trial Motion for Reconsideration
      because pursuant to Gr Ex D Page 4 the Plaintiff in that matter, due-diligently
      filed a motion to Disqualify Judge Valderrama for "Cause" et al. the Democratic
      judges closed their eyes to said judges unlawful acts as they became "trespassers
      making their orders void a nullity"

   18.)        That Plaintiff did not need to file an Appeal because this was not a matter
       involving a legal issue but a criminal and Federal issue, in that, said Plaintiff due-
       diligently filed an Appeal a Motion Corroborating "Fraud" and Domestic
       Terrorism in the Courts et al. Pursuant to Gr Ex B, The Appellate Court Judges
       closed their eyes to the Civil Rights violations and other judges trespassing upon
       the laws became 66trespassers" themselves making their orders void a nullity;

   19.)         That Plaintiff did not need to file a Writ of Mandamus/Supervisory Order
       to the Illinois Supreme Court compelling the lower courts to comply to the rules
       of law because someone form the Illinois Supreme Court mailed to the Plaintiff a
       blank court order denying the Mandamus/Supervisory Order further validating the
       verity of the County Courts being a Criminal enterprise and further validating said
       order was the act ofjudges in the Supreme Court part of an 6(Organized



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     Conspiracy" engaging in (Treason" .(Trespassing upon the lawstt making
     their order void a nullity.

  20.)        That two elderly retired public servants had to litigiously fight and defend
     themselves in court as Judge Lyle is "trespassing upon the laws" engaging in
     "Treason" helping bank attorneys hereto attached Gr Ex C Respondents
     Response Motion Reply Objecting Judge Lyle's Court Order due to her and &
     Plaintiffs' Attorneys "Trespassing upon the Laws" Judge Actins as a Private
     Citizen entering Court Orders Void a Nullity w/Affidavit.

  21.) That another Plaintiff filed a Complaint in the District Court Lee Oties Love,   Jr.
      v. Supreme Court of lllinois, Pamela Loza, Luciano Panici, James P.
     Murphy, Joshua P. Haid Case 17-cv- 05482 Complaint of Civil Rights
     Violations
                    Ttespassing of the Laws
                            Tteason
                      jim Crow Violations
                   Judicial Coruption Conspitacy
                   Unequal Ptotection of the Laws

  22.)        That due to the aforementioned it was imperative that the Federal
     jurisdiction be ascertained promptly because all other venues are deemed moot.

         A-   That said Directed Evidence of Democratic judges described in said
              Exhibits demonstrates how judges not having jurisdiction on the Plaintiff or
              any other Plaintiffs 'are willing to engage in "Treason" and "Trespass
              upon the Laws" violate their oaths in office so as to Induce others to
              become complicit in an'(Orqanized ConsDiracy" Inducing Reliance on
              other agencies and offices because of their criminal Civil rights actions.

              Section 1983 of USCS contemplates the depravation of Civil
              Rights through the unconstitutional application of a law by
              conspiracy or othenvise. Mansell V. Saunders (CA 5 FLal 372 F
              2d 573, especially if the conspiracy was actually carried into
              effect and plaintiff was thereby deprived of any rights
              privileges, or immunities secured by the Constitution and laws,
              the gist of the action may be treated as one for the depravation
              of rights under 42 USCS 1983 Lewis V. Brautigam (CA 5 Flal227
              F 2d 124,55 Alr 2d 505.



DEMOCRATIC PARTYHAS ROOTS IN
VIOLENCE, RACISM AND BIGOTRY

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History can be an annoying, pernicious thing. Especially for those who try to hide

When I read this morning that a high school in the South was going to drop its
racist, confederate name, I immediately thought of Democrats Strom Thurmond
or Robert Byrd, who were Klan members and staunch segregationists.
But no ... the school is Nathan B. Forrest High School in Jacksonville, Fla.
Forrest was a Confederate General and a leader of the Ku Klux Klan.

I decided to research a little bit into General Forrest and it turns out he was
honored at the 1868 Democratic National Convention. ln fact, the KKK was
founded by Democrats to terrorize blacks and white Republicans.

The history of the Democratic Party is rooted in racism, violence, lynchings and
bigotry. The National Review published an article detailing the racist history of
the Democratic Party:
May 22, 1856: Two years afterthe Grand Old party's bitth, U.S. Senator Charles
Sumner (R., Mass.) rose to decry pro-slavery Democrats. Congressman Preston
 Brooks (D., S.C.) responded by grabbing a stick and beating Sumner
unconscious in the Senafe chamber. Disabled, Sumner could not resume his
duties for three years.

July 30, 1866: New Orleans's Democratic government ordered police to raid an
integrated GOP meeting, killing 40 people and injuring 150.

September 28, 1868: Democrats in Opelousas, Louisiana killed nearly 300
blacks who tried to foil an assault on a Republican newspaper editor.

October 7, 1868: Republicans criticized Democrats' national slogan: "This is a
white man's country: Let white men ru\e."

April 20, 1871 : The GoP congress adopted the Ku Klux Klan Act, banning the
pro- De moc rat do me stic te rrori st g ro u p.

October 18, 1871 : GOP President U/ysses S. Grant dispatched federat troops to
quell Klan violence in South Carolina.

September 14, 1874: Racisf white Democrats stormed Louisiana's statehouse fo
oust GOP Governor William Kellogg's racially integrated administration; 27 are
killed.

August 17, 1937: Republicans opposed Democratic President Franklin Delano
Roosevelt's Supreme Court nominee, U.S. Senator Hugo Btack (D., At.), a former
Klansman who defended Klansmen against race-murder charges.



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February 2005: The Democrats'Klan-coddling today is embodied by KKK
alumnus Robert Byrd, West Virginia's logorrhea U.S. senator and, having served
 since January 3, 1959, that body's dean. Thirteen years earlier, Byrd wrote this to
the KKK's lmperialWizard: "The Kan is needed today as never before and I am
anxious fo see its rebirth here in West Virginia." Byrd led Senate Democrats as
late as December 1988. On March 4, 2001, Byrd told Fox News's Tony Snow:

 "There are white niggers. I've seen a lot of white niggers in my time; I'm going to
use that word." National Democrats never have ananged a primary challenge
against or otherwise pressed this one-time cross-burner to get lost.
Contrast the KKKozy Democrats with the GOP. When former Kansman David
Duke ran for Louisiana governor in 1991 as a Republican, national GOP officials
scorned him. Local Republicans endorsed incumbent Democrat Edwin Edwards,
despite his ethical baggage. As one Republican-created bumper sticker pleaded:
"Vote for the crook: lt's important!"

Republicans a/so have suppofted legislation favorable to blacks, often against
inten se Democratic headwinds:

ln 1865, Congressional Republicans unanimously backed the 13th Amendment,
which made slavery unconstitutional. Among Democrats, 63 percent of senators
and 78 percent of House members voted: "No."

ln 1866, 94 percent of GOP senafors and 96 percent of GOP House members
approved the 14th Amendment, guaranteeing all Americans equal protection of
the law. Every congressional Democrat voted: "No."

February 28, 1871 : The GOP Congress passed the Enforcement Act, giving
black voters federal protection.

February 8, 1894: Democratic President Grover Cleveland and a Democratic
Congress repealed the GOP's Enforcement Act, denying black voters federal
protection.

January 26, 1922: The U.S. House adopted Rep. Leonidas Dyels (R., Mo.) bill
making lynching a federal crime. Filibustering Senate Democrats killed the
measure.

May 17, 1954: As chief justice, former three-term governor EarlWanen (R.,
Calit.) led the U.S. Supreme Court's desegregation of government schools via
the landmark Brown v. Board of Education decision. GOP President Dwight
Eisenhower's Justice Department argued for Topeka, Kansas's btack school
children. Democrat John W. Davis, who lost a presidential bid to incumbent
Republican Calvin Coolidge in 1924, defended "separate but equal" classrooms.




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September 24, 1957: Eisenhower deployed the 82nd Airborne Division to
desegregate Little Rock's government schools over the strenuous resistance of
Governor Orual Faubus (D., Ark.).

May 6, 1960: Eisenhower srgrns the GOP's 1960 Civil Rights Act after it survived
a five-day, five-hour filibuster by 18 Senafe Democrats.

July 2, 1964: Democratic President Johnson signed the 1964 Civil Rights Act
after former Klansman Robert Byrd's 14-hour filibuster and the votes of 22 other
Senafe Democrats (including lennessee's Al Gore, Sr.) failed to scuttle the
measure. lllinois Republican Everett Dirksen rallied 26 GOP senafors and 44
Democrats to invoke cloture and allow the bill's passage. According to John
Fonte in the January 9, 2003, National Review, 82 percent of Republicans so
voted, yersus only 66 percent of Democrats.

True, Senator Barry Goldwater (R., Ariz.) opposed this billthe very year he
became the GOP's presidential standard-bearer. However, Goldwater supported
the 1957 and 1960 Civil Rights Acts and called for integrating Arizona's National
Guard two years before Truman desegregated the military. Goldwater feared the
1964 Act would limit freedom of association in the pivate sector, a controversial
but pincipled libertarian objection rooted in the First Amendment rather than
racial hatred.

June 29, 1982: President Ronald Reagan signed a 21-year extension of the
Voting Rights Act of 1965.

The Republican Party a/so is the home of numerous "firsfs. " Among them:
Until 1935, every black federal legislator was Republican. America's first black
U.S. Representative, South Carolina's Joseph Rainey, and ourfirst black
senator, Mississrppi's Hiram Reve/s, both reached capitol Hill in 1870. on
December 9, 1872, Louisiana Republican Pinckney Benton stewart 'P.8.s."
Pinchback became America's first black govemor.

August 8, 1878: GOP supply-siders may hate to admit it, but America's first btack
collector of lnternal Revenue was former U.s. Rep. James Rapier (R., Ata.).

October 16, 1901 : GOP President Theodore Roosevelt invited to the White
House as lfs first black dinner guest Republican educator Booker T. Washington.
 The pro-Democrat Richmond rimes newspaper warned that consequenily,
"White women may receive attentions from Negro men." As Toni Marshall wrote
in the November g, 1995, Washington Times, when Rooseye/f sought reelection
in 1904, Democrats produced a button that showed their presidential nominee,
Alton Pafuer, beside a white couple while Roosevelt posed with a white bide and
black groom. The button read: "The Choice ls yours."




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GOP presidents Gerald Ford in 1975 and Ronald Reagan in 1982 promoted
Daniel James and Roscoe Robinson to become, respectively, the Air Force's and
Army's first black four-star generals.

November 2, 1983: President Reagan established Dr. Martin Luther King Jr.'s
birthday as a national holiday, the first such honor for a black Ameican.
President Reagan named Colin Powell America's first black national-secuity
adviser while GOP President George W. Bush appointed him our first black
secretary of state.

President G.W. Bush named Condoleezza Rice America's first black female NSC
chief, then our second (consecutive) black secretary of State. Jusf /asf month,
one-time Klansman Robert Byrd and other Senafe Democrats stalled Rice's
confirmation for a week. Amid unanimous GOP support, 12 Democrats and
Vermont lndependent James Jeffords opposed Rice         the most "No" votes for a
                                                         -
Sfafe designee since 14 senators frowned on Henry Clay in 1825.

By the way, if we're going to stip schoo/s of the names of racists, Strom
Thurmond High School in South Carolina and Robeft C Byrd high school in West
Virginia should be at the top of the list.

            Civil Riohts Act of 1866- first section. enacted bv the Senate and House of
            Representatives of the United States of America in Conoress assembled.
            That all persons born in the United States and not subject to any foreign
            power, excluding lndians not taxed, are hereby declared to be citizens of
            the United States; and such citizens of every race and color, without regard
            to any previous condition of slavery or involuntary servitude, except as a
            punishment for crime whereof the party shall have been duly convicted,
            shall have the same right, in every State and Territory in the United States,
            to make and enforce contracts, to sue, be parties, and give evidence, to
            inherit, purchase, lease, sell, hold and convey real and personal property,
            and to full and equal benefit of the laws and proceedings for the security of
            person and property, as is enjoyed by white citizens, and shall be subject
            to like punishment, pains, and penalties, and to none other, any law,
            statute, ordinances, regulation, or custom, to the contrary notwithstanding,
            Actof April9, 1866, Ch.31, 1, 14 Stat. 27,42 U.S.C.A. 1981 (a).

          In the 20th century, the Supreme Court began to overturn Jim Crow laws on
         constitutional grounds. In Buchanan v. Warle:- 245 US 60 (1917), the court
         held that a Kentucky law could not require residential segregation. The
         Supreme Court in 1946,in Irene Morsan v. Virginia ruled segregation in
         interstate transportation to be unconstitutional, in an application of the
         cotnnrerce clause of the Constitution. It was not until 1954 in Brown v. Board
         of Education of Topeka 347 US 483 that the court held that separate facilities
         were inherently unequal in the area of public schools, effectively overturning
         Plessy v. Ferguson, and outlawing Jim Crow in other areas of society as well.
         This landmark case consisted of complaints hled in the states of Delaware
         (Gebhart v. Belton); South Carolina (Briqgs v. Elliott); Virginia (Davis v.


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          Count.v School Board ol'Prince Edward Coun\); and Washington, D.C.
          (Spottswode Bolling v. C. Melvin Sheu'pe). These decisions, along with other
          cases such as McLaurin v. Oklahoma State Board o-f Regents 339 US 637
          (1950), I'IAACP v. Alobama 357 US 449 (1958), and Bovnton v. Virginia 364
          US 454 (1960), slowly dismantled the state-sponsored segregation imposed by
          Jim Crow laws.

        As the color line itself solidified at the turn of the nineteenth century, Jim Crow
        imposed on black people clear tactical disadvantages: restricted economic
        possibilities, nal'ro\,v educational opportunities, inadequate housing options, high
        rates of cleath and disablement, persistent unemplo,vment" and unrelenting
        povefly. Inasmuch as .Iirn Crow represented the race problem described by
        Gunnar Myrdal ( 1 898-1 987) in his I 944 treatis e The American Dilemma, it was
        .lim Crow'that created the race quandary: whites constructed the obstacles
        African Americans confi'onted. while also blaming them tbr their conditions,
        denying them access to the resources of problem solving. and daring them-
        under threat of violence-to complain. protest. or advance.
        Finally, protests or challenges to Jim Crow often proved futile, given lau,
        enforcement's complicity in the structure. From emancipation to the tum of the
        century, the Ku Klux Klan operated as a paramilitary arm of tlre Democratic
        Party in the South. The Klan, nightriders. red shirts, and other white terrorists
        intimidated African Americans rvith personal attacks" school bumings, and
        lynching's. African Americans rarely sen ed as policemen, sheriffs, or deputies
        before the late 1940s. During the 1950s and 1960s, the connections between
        rrlunicipal and state governments. law enfbrcement. and racial violence were rvell
        knorvn by olficials and citizens alike. White oflcers were known to harass black
        people. disrupt black neighborhoods, and assault black w-omen. Arrested for
        inflated charges, denied satisfactory connsel, and serving harsh sentences.
        Aliican Americans were l'urther disadvantaged in the courtroom. Rarely did they
        receil'e good counsel, nor could they serrre on juries. When black lawyers could
        appear in the courtroom to argue cases, *'hite judges and juries rarely listened.
        All-rvhiteiuries decided against hlack defendants, even in the most obvious cases
        of innocence, but rarely convicted white def'endants, despite evidence of guilt.
        Atiican Americans-including the innocent-suffered the harsher punishments
        of extendediail time. forced farm labor, and peonage. Even women could be
        placed on the chain gangs u,orking the roads and tracks across the South.


The Chicago Daily Law Bulletin, Wednesday April 26,2006,Page 1, Illinois Political
Machines help breed corruption, Associated Press writer Deanna Bellandi states, "Illinois
is apparentbt a Petri dish-for corruption. It is a real breedinq qround".

That Chicago is the most Corrupt CiN in America" Huffington Post, Internet Newspaper,
February 23 , 2012; University of Illinois Professor Dick Simp son, "The two worst crime
zones in Illinois are the governor's mansion.....and the Citv Council Chambers in




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Chicaqo." Simpson a-former Chicaqo Alderman told the AP "no other State can match
us," _

          Turner 24 F. Cas. 337 (No. 14247) C.C.D. Md. 1867) The "equal benefit" clause
          is cited in what would appear to be the earliest reported case enforcing the
          section. The plaintiff was an emancipated slave who was indentured as an
          apprentice to her former master. Although both whites and blacks could be
          indentured as an apprentice, under the law of Maryland, indentured blacks were
          not accorded the same educational benefits as whites and, unlike whites, were
          subject to being transferred to any other person in the same county. Circuit
          Judge Chase granted a writ of habeas corpus upon finding that the purported
          apprenticeship was in fact involuntary servitude and a denial under the Civil
          Rights Act of 1866 of the "full and equal benefit of all laws.

   23.)        Despite the United States Constitution and Civil Rights Act Plaintiff has
       not been treated as a citizen of the United States in that whites under this Political
        System has been able to circumvent the laws and commit Terrorist Acts of
       Treason Trespassing upon the laws at will because they are the majority in control
       of Chicago,Ill. Political system;
                A- That because Plaintiff complained and fought back the terrorists in
                    the legal system abducting her child now he is trying to extort money
                    from her so as to pay Michael I. Bender;


                     That said judges are now validating the verity of many of them
                     committing "Treason Trespassing upon the !aws" of the
                     United States Constitution engaging in "WAR" against the
                     United States Constitution making every order rendered
                     against the Petitioner. lf a iudqe does not fullv comply with the
                     Constitution, then his orders are void, ln re Sawver. 124 U.S.
                     200 (188il. he or she is without iurisdiction. and he/she has
                     enqaqed in an act or acts of treason:


   24.)         That said case demonstrates multiple acts of systemic applications of
      constitutional violations, in that judges and State Agencies acted as decision
      makers possessing final authority, Brown v. Bryan County, OKL., 67 F. 3d 1174
      (1995), Stokes v. Bullins, 844 F.2d 269,275 (sth Cir. 1g88), Wassum v. City of
      Bellaire, Texas, 861 F. 2d 453,456 (sth Cir. 1988), Benavides v. County of
      Wilson, 955 F. 2d 968, 972 15tn Cir.) cert. denied,_ U.S._, 1 13 S.Ct. 79, 121 L.
      Ed.2d 43 (1992), "Liability will accrue for the acts of a municipal official when the
      official possess "final policymaking authority" to establish municipal policy with
      respect to the conduct that resulted in a violation of constitutional rights. Pembaur
      v. City of Cincinnali, 475 U.S. 469, 483, 106 S. Ct. 1292, 1300, 89 L.Ed. 2d 452
                 A- That their appears to be a systemic pattern of racial retaliation upon
                     black women fighting back racial injustice in the courts hereto
                     attached, Gr Ex C elderly retired female senior citizens fighting to




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                     keep their home as crooked a judge
                                                          (trespassing   upon the laws"
                     helping the bank try to still their home disguised as a "Foreclosure"

  2s.)         Lynching has taken on a different identity as demonstrated in this case
      while groups of whites stand by frolicking at a Black man hanging from a tree
      from a rope, racial injustice where several judges are trying to Bully and
       intimidate the Plaintiff because she is fighting to get her child back without usino
      violence.

  26.)        The same level of Democratic Racial Hatred is still being spewed in a
      Terrorist manner as many are still ignoring the plights of innocent persons of
      color victimized by these same acts.

     In the wake of extensive investigations by Federal Law enforcement authorities
     revealing widespread corruption in the Illinois court system ("Operation
     Greylord") and elsewhere, indicating not only that significant professional
     misconduct was occurring but also that the requirement to report misconduct was
     frequently ignored, particularly in the cases ofjudges with regard to the conduct
     of other judges.

  27.)       That by virtue of the legal standard Preponderance of the Evidence the
     Law is clear judges have committed fraud on all legal entities and has done so
     with Contempt for the laws of the United States Constitution, in that due to their
     ethnicity and political affrliation to the "Democratic Political Machine" makes
     them invincible and untouchable by any court on the state side.

  28.)       That Pursuant to Sup Ct. Rlule272 "i.f at the time of announcingfinal
     judgment the iudge requires the submission qf a-form ofwritten iudqment to be
      siened b:/ the iudge et al" the -iudgment becomes finql only when the signed
     iudgment is filed- Judges are bound by this rule before their court orders are
     valid;

              Where the trial court requests that a written judgment be prepared, and
              where the attorney who obtains the judgment prepares it and submits it to
              the judge for approval and entry, the judge's oral announcement of his
              decision and the reasons thereof have no effect; the judgment is not the act
              ofthe court until it is signed or approved and entered of record. In re
              Maruiage o.f Dwan, Aptt I't Dist. 1982. 64 lll. Dec 340, 108 lll. App 3d 808,
              439 N. E. 2d 1005.

  29.)       That said Defendants and all parties associated in these matters
     unanimously with Contempt for the United States Constitution and this Federal
     Court without legal constitutional authority has demonstrated their resolve and
     necessary methodologies of what they are willing to do and have done upholding
     Terrorism and all related acts ignored and disregarded the facts affidavits s;




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          a.   That said Judges of the lllinois Supreme Court and Circuit Court,
               Appellate Courts violated all Rules of law Canon Ethics. Code of
               Judicial Conduct Rule 62 Scott,377 Mass.364,386 N.E.2d 218,220
               (1979) See Lopez-Alexander, Unreported Order No. 85-279 (Colo. May 3,
               1985) (Judge removed for, inter alia, a persistent pattern of abuse of the
               contempt power. The Mayor of Denver accepted the findings of the
               Denver County Court Judicial Qualification Commission that the judge's
               conduct could not be characterized as mere mistakes or errors of law and
               that the conduct constituted willful misconduct in office and conduct
               prejudicial to the administration of justice that brings the judicial office into
               disrepute). Canon Ethics where there is a pattern of disregard or
               indifference, which warrant discipline.

          b.     The Supreme Court of Georgia removed a judge from office for
               disregarding defendant's Constitutional rights, including refusing to set
               appeal bonds for two defendant's in timely fashion, issuing bench
               warrants without probable cause, and forcing a defendant to enter a guilty
               plea in the absence of Counsel. The Court stated, that the judge's
               "cavalier disregard of these defendants' basic and fundamental
               constitutional rights exhibits an intolerable degree of judicial
               incompetence, and a failure to comprehend and safeguard the very basis
               of our constitutional structure ld at 735 See also ln re Hammel. 668 N.E.
               2d 390 (N.Y. 1996). (Judge removed for improperly jailing defendants for
               their alleged failure to pay fines and make restitution which the judge had
               i m posed, disregarding the defendant's basic constitutional rights).




  30.)       A judge's disrespect for the rules of court demonstrates disrespect for the
     law. Judges are disciplined under Canon 2Afor violating court rules and
     procedures. Judge ignored mandated witness order in attempt to accommodate
     witnesses'schedules; Citing Canon 2A the court noted, "[a] court's indifference to
     clearly stated rules breeds disrespect for and discontent with our justice system.
     Government can not demand respect of the laws by its citizens when its tribunals
     ignore those very same laws")


         U. S Sup Gourt Digest 24(11General Conspiracy

         U.S. 2003. Essence of a conspiracy is an agreement to commit an
         unlawful act.-U.S. v. Jimenez Recio, 123 S. Ct. 819, 537 U.5.270,154
         L.Ed.2d 744, on remand 371F.3d 1093

              Agreement to commit an unlawful act, which constitutes the
         essence of a conspiracy, is a distinct evil that exist and be punished
         whether or not the substantive crime ensues.-ld.
              Conspiracv poses a threat to the public over and above the threat
         of the commission of the relevant substantive crime, both because the
         combination in crime makes more likelv the commission of other cimes
         and because it decreases the part from their path of criminalitv.-ld.




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                 CONSPIRACY
             Frand m.gbe in{erred {rom nature o{ acts complained oI, iodividoal arrd collective
             interest o{ alle5ed conspirators, situation, intimacg, and relaiiou o{ parties at time o{
             commission ol acts, aud 6etrerallg all circumstances precedin5 and atterdin5
             culminationo{claiured conspiracg lllinois Rockford Corp. V.              Kulp, 1968,
             242 N.E.2d 228,41 tLL.2d 215.


                                                CAi.lONl
         A;ud5e should uphold the inte5ritg and independence o{ tLe judiciara.
       The inte6ritg and indepeod.oce ol;ud6es depend in tunr upon their acting
       without {ear or {avor. Althou5h jrrd6o shoold be independeni theu shoold
       complg with the law, as well as provisions o{ tlis code. Public conlidence in
       the impartialitg o{ the;u&cian; is maintain"db.J the adhererce o{ each
       jrd6. to this responsibilitg. Conrrerselg, violation o{ this code &minishes
       public con{idence in the judician; and there\ does injurg to the sgstem ol
       {lovenlnentunderlaw.

 Adoption of E.L.. 'A VOID JUDGEMENT OR ORDER" is one that is entered by a
court lacking jurisdiction over the parties or the subject matter, or lacking the
inherent power to enter the particular order of judgment or where the ORDER
was procured by "FRAUD". That no judge ever had proper jurisdiction on the
Plaintiff.

 Mississippi Comm'n on Judicia! Performance v. Fletcher, 686 So. 2d 1075 (Miss.
 l99O; Mississippi Comm'n on Judicial Performance v. Byers, 757 So. 2d 961
(Miss. 2000) inquiry concerning a judge, 462 S.E. 2d 728 (GA 1995) Dash, 564
s.E. 2d 672 5.C.2002).

       That certain Jud5,es o{ the Illinois Democratic Machine partg have satis{ied
       bg the preporrderance o{ evidence and r:ret the {ull criteria', o{ Biasness,
       Pre;udice and Gvil Ri5hts Violations, Terrorists acts at Plaintil{, bu
       "Trespassin[l Lrpon the Laws" corroboratin6i their roles en6laging in'Tr..ror"
       704 S.W. 2d 6@ (Mo. App. 1090) 'No sgstem ol;ustice can {unction at its best
       or maintain broadprblic con{idence iI a li66anf can be compelled tosubmit
       his case in a court where the liti5ant sincerelg believes tLe judge is
       incompetent or prejudicid                is tLe price to be paid {or a ;udicial
       sgstem that seeLs to {ree a litgant {rom a {eelin5 o{ oppreosion". St.t. eo R.l.
                                     -{T}hat
       Mc}.[ary V. Joneq 472 S. W. 2d 052 650-640 (Mo. App. 1971) Indeed, the
       rt$ht to disgralifu a jud5e is'bne o{ tihe kegstones o{ our le5,al ad-inistration
       e&{ice" State ex Rel. C:mpbell V. Cohn, 000 S.W. 2d 590-401 (Mo. App.
       19E0). It is vitd to public con{idence in the le5al sgstem tLat t}e decisious o{
       the court are not onlg {aia but also appear {air. Thus whether the



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          disgrali{ication ol a;udgehinges on astatuteormlein {a'noro{ the ri5Lt to
          disqalifu. A liberal coustmctiou is necessarg il we wish to promote and
          maintain public con{idence in the ju&cial sgstem- Kohn,606 S.W. at {O1;
          State eo Rel. FordMotor C-o.V. Hess SW.2d l47,l4E(MoAppl9Efl

See   that is why, the Ku Klux Klan Act of 1871 (was enacted) - Section        I (42 U.S.C.)
1983.
      "Of all the Civil Rights legislation enacted in the aftermath of the Civil War" none
has   had a greater contemporar), impact than the Ku Klux Klan Act of 1871. The Act grew
out of a special one-paragraph message sent to the 42d Coneress on March 23. 1871. by
President Ulysses S. Grant. ur&ently requesting the enactment of legislation".

Section 2 g2 A.S.C.) In the House of Representatives.
      "Congressional Debate of the second section of the Ku Klux Klan Act was more
extensive and enduring than that of Section 1: As originallv presented. Sec. 2 made it a
felonLfor any "two or more persons" to conspire to commit ceftain enumerated crimes "in
violation of the riohts and privileqes, or immunities of any person. to which he is entitled
under the Constitution and laws of the United States.
        "Throughout the debates, supporters of the Act made repeated references to the
depredations of the Ku Klux Klan; Victims of these atrocities included not only blacks but
white Republicans as well. The crimes that were perpetrated, therefore, were not viewed
as isolated occurrences, but as part of an "Organized Conspiracy....Political in its origin
and aims", "crimes perpetrated by concert and agreement, by men in large numbers
acting with a common purpose for the injury of a certain class of citizens entertaining
certain political principles, id, at 457 (remarks of Rep. Coburn). See also e.9., id. At 437
(remarks of Rep. Cobb) ("None but Democrats belong or can belong to these societies)
et al.,
         "Where these gangs of Assassins show themselves the rest of the people look on,
if not with sympathy, at least with forbearance. The boasted courage of the South is not
courage in their presence. Sheriffs, having eyes to see, see not;judges, having ears to
hear, hear not; witnesses conceal the truth or falsify it; grand or petit juries act as if they
might be accomplices. ln the presence of these gangs all the apparatus and machinery
of civil government, all the processes of justice, skulk away as if government and justice
were crimes and feared detection. Among the most dangerous things an injured party
can do is to appeal to justice. Of the uncounted scores and hundreds of atrocious
mutilations and murders it is credibly stated that not one has been punished. Cong.
Globe, supra note 2, app. At 78 (remarks of Rep. Perry). (white murder is statking
abroad in disguise, while whippings and lynching's and banishment have been visited
upon unoffending American citizens, the localadministrations have been found
inadequate or unwilling to apply the proper corrective) et al., .... And the State made no
successful effort to bring the guilty to punishment or afford protection or redress to the
outraged and innocent.    )

             REPORTING JUDICIAL MISCONDUCT
             CANON 3D (1)
               Under Section 3D (l). a judge who receives information that indicates "a
             substantial likelihood that another judge "has violated the Code of Judiciol
             "should take aooropriate action". The Canon does not require the judge to


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          hold a hearing and make a definitive decision that a violation has occurred
          before the reporting requirement is triggered and at least one state's judicial
          ethics committee has advised that the reporting requirement is triggered when
          the judge has "sufficient information" to conclude that a "substantial issue" has
          been raised that a violation has occurred, Mass. Comm. On Judicial Ethics, Op.
          2002-04 (2002)

   .6Appropriate actiont'may include direct communication with the judge who has
committed the violation and reporting the violation to the appropriate or other agency or
body. See Commentary to Canon 3D (1). "Appropriate authority" is the authority with
responsibility for initiation of disciplinary proceedings with respect to the violation
reported. Some jurisdictions' rules specify to whom a judge must report misconduct. For
instance, Massachusetts Rule 3D (1) provides that if ajudge becomes aware of another
judge's unprofessional conduct he must report his knowledge to the Chief Justice of the
Massachusetts Supreme Court and the court of which the judge in question is a member.

          Note that the term "knowledge", as defined in the Terminology Section,
          denotes actual knowledge of the fact in question and as such, a person's
          knowledge may be inferred from circumstances. In drafting Section 3D (l), the
           Committee rejected the suggestion that the criteria of raising substantial
          question as to honesty or trustworthiness be applied in the context of reporting
          judicial misconduct as well, on the grounds that those criteria are implicit in
          the present criterion of raising a substantial question as to a judge's fitness for
          office.

        Under Section 4 of the Ku Klux Klan Act of 1871:
        The President had additional power in case of rebellion within a state to suspend
        the writ of habeas corpus and to declare and enforce marital law. Cono. Globe,
        supra note /, at 3/7. With respect to a definition of rebellion, Section 4 provided;

      "Whenever in any State or part of a State......unlaMul combinations........shall be
      organized and armed, and so numerous and powerful as to be able, by violence,
      to either overthrow or set at defiance the constituted authorities of such State, or
      when the constituted authorities are in complicity with or shall connive at the
      unlawful purposes of such powerful and armed combinations; and whenever, by
      reason of either or all of the causes aforesaid, the conviction of such offenders
      and the preservation of the public safety shall become.... lmpracticable, in every
      such case such combinations shall be deemed a rebellion against the
      Government of the United States...."


Wherefore the Foreooing Reasons, Plaintiff prays for the following relief:

 1.) Plaintiff requests that this Honorable Court accept Jurisdiction or alternatively
     transfer this matter to a Circuit outside of lllinois and lnvoke authority
     lnstanter;




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2.) lmpose Sanctions/Remands against and all parties for Contempt of the
    United States Constitution for their crimes against the Plaintiff/Government;

3.) Punitive Damages, due to Fraud Criminal Conspiracies Civil Rights Violations
    by all applicable parties associated in said matter;

4.) Have this case tried by a Jury and not ruled by any bench trial;

5.) Order the United States Marshall's to effect service on all named parties.

6.) Order all Defendants to absorb the costs of the enforcement of this matter;

7.) Order a Hearing to ascertain all Defendants responsible for Perjury and
    others for their roles in said Treason offenses perpetrated in State and
    County Courts foi Remands lnstanter;

8.) Order that all orders entered against the Plaintiff entered by alljudges for the
    foregoing acts within without jurisdiction be Void lnstanter;

9.) That all parties be charged with Terrorism Treason and other related crimes
    for ignoring acts recorded within;

10   )    Alternatively, allow Plaintiff to amend said Complaint to satisfy this
     H   onora ble Cou rt's requ i rement for   ju   risdiction   ;



11.)      Order that said parties be tried as Domestic Terrorists;

That because of the heinous acts Plaintiff have been harmed by said Civil Rights
Violations and no one objected to said assertions put before any tribunal, Plaintiff
is seeking $6.9 Million Dollars as punitive damages; Smith v. Wade. 401 U.S. 30,
35, 103 S. Ct. 1625,1629,75 L Ed 2d 632 (1983) Justice Brennen "The threshold
standard for allowing punitive damages for reckless or callous indifference applies even
in a case, such as here, where the underlying standard of liability for compensatory
damages because is also one of recklessness. There is no merit to petitioner's
contention that actual malicious intent should be the standard for punitive damages
because the deterrent purposes of such damages would be served only if the threshold
for those damages is higher in every case than the underlying standard for liability in the
first instance. The common-law rule is othenryise, and there is no reason to depart from
the common-law rule in the context of {1983}"

Finally, this Affidavit is best closed by a jurist who has stated"; Citing Canon 2A the
court noted, "[a] court's indifference to cieariy stated rules breeds disrespEct for and
discontent with our justice system. Government cannot demand respect of the laws by its
citizens when its tribunals ignore those very same laws")

                 Federal Court FEDERAL JUDGE GETTLEMAN: stated, Tuesday
                 March 10, 2009, where he found Superintendent of police Jody Weiss in
                 Contempt of Court and Ordered the City to Pay $100,000.00, "No one is



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               above the Lsw". he cited a 1928 decision by Supreme Court Justice Louis
               Brandeis, that said, "If the Government becomes the law breaker, it breeds
               Contempt for the Law, It invites everyman to become a law unto himself. It
               invites Anarchy."

The Chicago Daily Law Bulletin, Wednesday April 26,2006, Page 1, Illinois Political
Machines help breed corruption, Associated Press writer Deanna Bellandi states, "illinois
is aooarentlv a Petri dish for corruntion. It is a real breedins sround".

That Chicago is the most Corrupt Cit.v in America. Huffington Post, Intemet Newspaper,
February23,20l2;UniversityofIllinoisProfessorDickSimpSon,,,@
       Illinois are the governor's mansion.....and the Cit.y Council Chambers in
zones in
Chicago." Simpson a-former Chicago Alderman told the AP "no other State can match
us." _



Corruption-
Chicago has a long history of political corruption,tttt dating to the incorporation of the city in
1833.trzt lt has been a de facto monolithic entity of the Democratic Party from the mid 20th
century onward.lrgllilt Research released by the University of Illinois at Chicago reports that
Chicago and Cook County's judicial district recorded 45 public corruption convictions for
2013, and 1642 convictions since 1976, when the Department of Justice began compiling
statistics. This prompted many media outlets to declare Chicago the "corruption capital of
Ar"ri"r".,1u:Gradel and Simpson's Conupt lllinois (2015) provides the data behind Chicago's
corrupt political culture.rl6lnTl They found that a tabulation of federal public corruption
convictions make Chicago "undoubtedly the most corrupt city in our nation",ttatwith the cost
of corruption "at least" $500 million per year.!!r


                             FURTHER AFFIANTH SAYETH NOT

                                                                 Respectfully Submitted

                                                                  Qn      q,        On&-u,$
                                                                     Caden   Colbet
                                                                1805 Jamestown Cir.
                                                               Hoffman Estates, lL. 60169




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                              IN THE CIRCUIT COURT
                                        OF
                             COOK COUNW, ILLINOTS
                           DOMESTIC RELATIONS DIVISTON
                                         )
 In Re: The Parentage of                 )               2008 D 80400
                                         )
 Robert Stafford                         )               flon.Pamela II. Lozi'.
       Petitioner                        )               Room 3009
                                         )
                                         )
        V                                )
 Carlen Colbert                          )
        Respondent                       )
                                         )
                                         )



     Motion for Disqualification of Judge for cause Due to
  "Fraud" (civil Riqhts violations) and or prejudice pursuant
                               to S.H.A. 735
       ILCS 512 ---1001 (a) (2,3) and to Vacate all Orders due to
              "Trespassing upon the Laws" Gourt never had
                Jurisdiction Orders are "Void" a ,'Nultity,,
         Now comes Respondent, carlen colbert pro se in this cause, files
 herewith her affidavit, factually establishing the Bias "Fraud', (civil Rights
 Violations) Prejudice alleged herein, with exhibits, in accordance to Supreme
 Court of lllinois and Canon rules in accordance to the American Jurispiudence
 and pleadings (rev.) to show that the Honorable Pamela Loza has a Personal
 Bias and or Prejudice against the Respondent and has satisfied the
 preponderance of the evidence standards by engaging in a criminal conspiracy
 assisting the Petitioner allowing him to kidnap said minor;

 Said judge treated Respondent as if she was a Deportee, lllegal lmmigrant or
 non U.S. citizen ignored all documents Cemonstrating the Petitioner wls
 committing perjury but enforced an order absent her jurisdiction due to her
 "Trespassinq upon the Laws" and engaged in overt "Fraud Bias and



        Based thereon Respondent respectfully moves that the Honorable Pamela
 E' Loza proceed no further herein, and that the Honorable Timothy C. Evans
 Chief Judge or Presiding Judge of Domestic Relations of the Circuit Court of

ffG         roup Exhibit

            F.
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Cook County assign this matter accordingly and notify Federal Officials to
ascertain other violations of the laws pursuant to Respondents Affidavits and the
judges' actions in this matter.



         This is the first motion to recuse this judge for cause Pursuant to S.H.A.
735 ILCS 512---1001 (a) (3) in this cause made by the movant, the party seeking
substitution must establish, by a preponderance of the evidence, actuai prejudiJe
and must demonstrate, through specific allegations supported by affidavit, facts
that if true, constitute actual prejudice;




                                                      Respectfully Submitted,




                                                           Carlen Colbert
                                                             Pro Se


1805 Jamestown Cir.
Hoffman Estates, Il 60169
(708) 200-9437




                                         2
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       A judge's disrespect for the rules of court dernonstrates disrespect for the law. Judges
      are disciplined under Canon 2Afor violating court rules and procedures. Judge ignored
      mandated witness order in attempt to accommodate witnesses' schedules; Citing Canon
      2A the court noted, "[a] court's indifference to clearly stated rules breeds disrespect for
      and discontent with our justice system. Government cannot dernand respect of the laws
      by its citizens when its tribunals ignore those very same laws")

         A-   Fraud upon the court is a basis for equitable relief. Luttrell v. United
              States, e+qr.2d1274,L276 (gLh Cir. 1980); see Abattiv. C.LR. , 859 F 2d
               LL5, 118 (9tl' Cir. 1988) "it is beyond question that a court may investigate
              a question as to whether there was fraud in the procurement o[ a
              judgment" Universal Oil Products Co. v. Root Refining Co.,328 U.S. 575,
              66 S. Ct. 7L76,90 L. Ed. L447.The power of the court to unearth such zr
              fraud is the power to unearth it effectively. See Hazel-Atlas Glass Co. v.
              Hartford-Empire Co.,322U.S. 238,64 S. Ct.997,88 L. Ed. 1250;
              Sprague v. Ticonic National Bank, 1184 and United States v.
              Throckmoiron,98 U.S. (8 Otro) 6L,25L.Ed.93.

          B- "A iudee   is.ant officer of the court, as are all mentbers of the llar. A
              iudse is a iudicial officer, naid lN the Governmcnt to act impartiallv and
              lawfully". People v. Zajic,88 Il1. App 3d 417 , 4lO N.E. 2d 626. "A void
              iudgment is regarded as a nullitv. and the situation is the same as it
              would be if there was no iudgment. It has no legal or binding force or
              efficacv for anv purpose or at any place....It is not entitled to
              enforcement. 30A Am Judgments 43,44,45. Henderson v Henderson 59
              s.E.2d 227-232

          C- "A Void Judgmertt front     itts irtceptiort is attdforever corttirrues to be
              absohttebt null. without legal e{ficaclt. ine[fecnml n bind parties or
              support a right. of no legal force and effect whatever, and incapuble of
              confirmation, ratification. or enforcement in any maruter or lo any degree.
              "A void judgment, order or decree mav be attacked at on)t time or in anlt
              court, either directbt or collaterally" Oak Park Nat Bank v. Peoples Gas
              Light & Coke Col,46Ill. App. 2d385,197 N.E. 3d73,77,(ft Dist. 1964)

      That under 18 U.S.C. 242 and 42 U.S.C. 1985 (3) (b).A judge does not have the
      discretion on whether or not to follow Supreme Ct. Rules, but a duty to follow.
      People v. Gersh, 135 lll.2d384 (1990).



                   1.) I am informed and believe and based on such information
                       and belief, demonstrate beyond the Preponderance of the
                       evidence standard that Judge Loza is BIAS, Preiudiced
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                        and has "Trespassed upon the laws" whom this cause
                        has pended before, has.demonstrated taking part in an
                        "Organized Conspiracy" with an attorney whom I later
                        learned was a former judge in the Circuit Court of Cook
                        County;

                    2.) Respondent lived in a ,,Gang,, infested area of Central &
                        Potomac, where she allowed her brother to have temporary
                        guardianship of her minor son so that he could be enrolled in
                        oak Park school District and attend school safely without
                        any problems;

                    3.) That during the month of Dec 2014 is when the agreement
                        was initiated on June 6, 2015 Respondent terminated said
                        arrangement that was agreed upon because she had moved
                        in Hoffman Estates and registered said minor in the school
                        district;

                    4.) That brother Anton Colbert returned the minor to the
                        Petitioner every weekend without any problems;

                    s.) rnht Respondent initiated temporary guardianship papers
                        notarized at the currency exchange but never filed in Circuit
                        court because her brother stated; he was being followed by
                        someone at oak park school district, so that he would not
                        get in trouble is.why said papers were drafted;

                    6.) That said guardianship papers were only valid for 365 days
                        and had to be renewed every December, but said agreement
                        was terminated if Respondent removed her son with the
                        condition that he was able to complete fifth grade but in
                        September he was being transferred to Hoffman Estates in
                        June 2015;

                    7.) That Respondent had paid all fees of the minor for the
                        enrollment of him entering sixth grade;

        In the wake of extensive investigations by Federal Law enforcement authorities
        revealing widespread corruption in the Illinois court system ("operation
        Greylord") and elsewhere, indicating not only that significant professional
        misconduct was occurring but also that the requirement to report misconduct was
        frequently ignored, particularly in the cases of judges with regard to the conduct
        of other judges.

   1.   That because it is an norm for judges to violate their oath and commit
        ".Treason " "Trespass upon the Laws willfully acting as Terrorist        ,   judge btza
        allowed
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        fabricated admissions full of inconsistencies from Respondents brother and
        colleague judge/attorney(Michael I Bender) she appointed as child rep whiclr
        corroborates these very criminal acts as active collusion, and demonstrates Ilias
        and Prejudiced conduct surpassing the Preponderance of Evidence legal
        standard required in this matter where "Fraud" is concerned;
          A- Hereto attached, Bx A, DCFS (June 20. 2012) Investigation of Suspected
              Child Abuse or Neglect-No Action:

          B- That said DCFS Administrator      (Rosa Friaz) informed the Respondent, "slxe
              irformed her brother if   he report any more allegatictrts of abuse ugailtst his
              sister, she was goirtg to bring him up on charges";

   2.   That Petitioner (Robert Stafford) appeared before judge tnza June L5, 2OL5,
        hereto attached, Ex B, said court order was not only false but it was in violation
        Sup Ct Rule 272 it was not signed;

   3.   That former judge (Michael I Bender) filed a "Fraudulent Emergency Ex Parte
        Motion et al., hereto attached as Gr Ex C;
        A- That Par 4 states '7r May of 2012 DCFS opened an investigalion et c/"., this
           is an egregious falsehood, in that there was never an investigation opened
           against the Respondent for any reason;
Ethics
    All lllinois lawyers must be familiar with the lllinois Rules of
    Professional
Conduct, and trail lawyers must be particularly familiar with the rutes that
apply                     i

specially to them.

        RPC 3.3, entitled "Conduct Before a Tribunal,', sets forth the
standards to be followed by the trial lawyer during "batfle.,, Section
(a) of that rule states:
        (a) ln appearing in a professional capacity before a tribunal, a tawyer
            shall not:
                ('1) make a statement of material fact or law to a tribunal which the
                     lawyer knows or reasonably should know is false;

                (2) fail to disclose to a tribunal a material fact known to the rawyer
                    when disclosure is necessary to avoid assisting a criminal or
                    fraudulent act by the client;

                (3) fail to disclose to the tribunal legal authority in the controlling
                    jurisdiction known to the lawyer to be direcily adverse to the
                    position of the client and not disclosed by opposing counsel;

                (a) Offer evidence that the lawyer knows to be false. lf a tawyer has
                    offered material evidence and comes to know of its falsity, the
                    lawyei' shall take reasonable remedial measures;

                                               5
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               (5) participate in the creation or preservation of evidence when the
                   lawyer knows or reasonably should know the evidence is false ;

               ,u,                           client in conduct the lawyer knows to be
                     i,,:l5tJr;tttJillhe
               (7) engage in other illegal conduct or conduct in violation of these
                     Rules;

               (8)"fail to disclose the identities of the clients represented and of
                   the persons who employed the lawyer unless such information
                   is privileged or irrelevant;

               (9) lntentionally degrade a witness or other person by stating or
                   alluding to personal facts concerning that person which are not
                     relevant to the case;

               (10) in trial, allude to any matter that the lawyer does not reasonably
              believe is relevant or that will not be supported by admissible
              evidence, assert personal knowledge of facts in issue except when
              testifying as a witness, or state a personal opinion as to the justness
              of a cause" the credibility of a witness, the culpabitity of a civil litigant
              or the guilt or innocence of and accused, but a lawyer may argue,
              on analysis of evidence, for any position or conclusion with respect
              to the matter stated herein;


Acts constituting direct, criminal contempt
        A wide variety of acts may constitute a direct, criminal contempt. And act
may be criminal contempt even though it is also an indictable crime. Beattie v.
People, 33 lll. App 65'1, 1BB9 wL 2373 (1st Dist. j8B9). As is making fatse
representations to the court. people v. Kate/hut, gzz lll. App. 693, sa N.E.2d s90
(1st Dist. 1944). Misconduct of an officer of the court is punishable
                                                                      as contempt.
People ex ref. Rusch v. Levin,305 lll. App. .l42,26 N.E. 2d g95 (1st Dist. 193g).

      official misconduct is a criminal offense; and a public officer or
employee commits misconduct, punishable by fine, imprisonment, or both,
when, in his official capacity, he intentionally or recklessly fails to perform
any mandatory duty as required by law; or knowingly performs an act
which he knows he is forbidden by law to performior with intent to obtain a
personaladvantage for himself or another, he performs an act in excess of
his laMul authority ....S.H.A. Ch 38 33*9.

       B- That Ex A further amplifies the verity of said former judge
                                                                usirrg his influence
          and name by defaming the Respondent by whatever means necessary because
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            the Judge supported and corroborated his every move by engaging   in Bias
            Prejudiced conduct "Trespassingupon the Laws"                    ir "Treason"
                                                                  "ngrging
ln 2008, the lllinois Supreme Court appointed Bender as a judge for the Circuit
Court of Cook County where he was assigned to the Domestic Relations Division,
Parentage and Child Support Section. During this time, he heard matters involving
child abuse, custody, support, parentage, visitation, and college contribution.
Bender stepped down from the bench in 201 3 to reopen his private practice and
concentrate exclusively on family law, and to protect the rights of children.
Pamela E. Loza isa jurlge of the Cook County 12th Subcircuit in lllinois. She
was elected to the bench in 2008.


   4'   That Pursuant to Ex D, hereto attached, Respondent and sons father appeared
        before the judge September 3,2015 of the minor; filed a Motion stating, ,,IlS was
        removed from my custody with an Emergency Order, I wos rtot servetl with any
        paperwork"
          A- That Judge Pamela E.laza stated to the parties in a venomous arrogant tone
             "Get out of her courtroom and that custody had been granted toAnton
             Colbert"

   5.   That Judge Pamela E.I-nza never had jurisdiction on the Respondent    the
        fllinois         Court has held that "if the
                      Supreme
        magistrate ,has not such jurisdiction, then he and
        those who advise and act with him, or execute his
        process, are trespassers." Von Kett er et.a y.
        Johnson, 51 I1I. 109 (1870)
              Under Pederal- Iaw which is applicable to all
              states, t,he U. S . Supreme Court stated that i f a
              court is "without authority, its judgments and
              orders are regarded as nullities.    They are not.
              voidabl-e, but simply void; and form no bar to a
              recovery sought, even prior to a reversal_ in
              opposition to them. They constitute no
              justifical:ion;   and aIl persons concerned in
              executing such judgments or sentences, are
              considered, in Iaw, as trespassers." E]-J.iot w.
              Pierso, 1 pet.. 328, 340, 26 U.S. 328, 340 lf A2gl

          B- That said act further demonstrates the judges Bias and Irrejuttice
              disposition as she engaged in uTreason" "Trespassing upon the
              Laws " at the Respondent and natural father who happens to be a foreman
              at the Chicago Transit Authority
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        c-   That said judge continuously entered a "void orrler" by signing a No
             Show Order indicating both parties present, September 3,20"1,5," This
             nxatter is stricken from the call", order previously entered on g- 31-15,
             hereto attached, Ex E;

        D- That Judge Pamela E.r-oza   demonstrated perjury Bias and pre.iudiced
             contemptuous behavior in her continuous acts i.Trespassing uDon flre
             Laws" never entered any order on 8-31-15;

 6.   That on september L,zo\s,Judge Pamela E.r-nzaaccepted the hearsay
       "Fraudulent" testimony of Respondent's brother and slanderous accusations
       recorded by her colleague Michael I. Bender granting him unlawful authority to
       kidnap her minor son, states "Mr. Anton Colbert is to immecliately retrievi RS
      from Eiserthower Junior school, the court finds that Mr. Anton colbert has
      standing because he had possession of the minor child,,
         ,4- Said judge further stated, "Mr. Anton colbert is granterr immediate
             physical possessiott of the minor chitd, RS. I{e is to immediately enroll IIS
             in the school district 97 in Oak l'>ark. Carlett Colbert is to have no contoct
             with RS. The court finds that these orders are needed due to the seriou,s
             endangerment to the minor child by Carlen Colbert,,

 7.   To show fraud upon the court, the complaining party must establish that
      the alleged misconduct affected the integrity of the judicial process, either
      because the court itself was defrauded or because ihe misconduct was
      perpetrated by of;;ers of the court. Alexander v. Robertson, BB2, F.2d
       421 ,424 (gth Cir, l ggg);
          a. A void judgment does not create any binding obligation. Kalb v.
               Feuersteiq (1940) 308 US 433,60 S Ct 343, 84 L, Ed 370.

          b.   Fraud upon tlie court is a basis for equitable relief. Luttrell v. United
               States, 644F.2d 7274,1276 (gtt', Cir. 1gB0); see Abatti v. C.I.R. , g5g F 2d
                115, 118 (9th Cir. 1988) "it is beyond quesiion that a court may investigate
               a question as to whether there was fraud in the procurement of a
               judgment" universal oil products co. v. Root Refining co., 32g u.s. 575,
               66 s. ct. Ll76,90 L. Ed. 1,447. The power of the court to unearth such a
               fraud is the power to unearth it effectively. See Flazel-Atlas Glass Co. v.
               Hartford-Er:,pire Co.,322U"S. 238, 64 S. Ct.997, BB L. Ed. lZ50;
               Sprague v. Ticonic National Bank, 11g4 and united states v.
               Throckmorron, gB u.s. (B otto) 61, 25 L.Ed.93.


                        a iudicial
               lawfully". People v.Zajrc, 88Ill. App 3d 477,410 N-8. 2,t 626. ,,A void
                     ment rs regarded
                                 rded as a nullitv.
                                           nullity, and the si
                                                            situation is ilre same as it
               would be if there was no iudcment. It has no lepal or hindins firrce or
               efficacv for anv purpose or at any place....It is not entitrecl to
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                 enforcemplc. 30A A.rn Judgments 43,44,45. Henderson v Henderson 59
                 s.E.2d 227-232
                 (t
            d.        oid                                 is and              ottti
                 a            null. wi                             ectual t
                          ari                                ect               and    i
                            ttott ra                          t itt                   or
                                                                a                      t
                 @r                    collateralllt" Oak Park Nat Bank v. Peoples Gai
                 Light & Coke Col,46Ill. App. 2d385,197 N.E. 3d73,77,(ft birt. tefr+;

    8.   That under 18 U.S.C. 242 and 42 U.S.C. 1985 (3) (b).A judge does not have rhe
         discretion on whether or not to follow Supreme Ct.'Rut.r, buf a duty to follow.
         People v. Gersh, 135 Ill. 2d384 (1990).

That because of tlre above; Frau<I admissibility great latitucle is permittcd in provirrg
lraud C.J.S. Fraud 104 ET Seg. Fraucl 51-57. where a question offraud and cleccit
                                                                                          is the
issue involved in a czlsc, great latituclc is ordinarily peirnitted in
                                                                       thc introcluction ol
ovidencc, and courts allow the greatcst Iillorality in tire methocl of examination
                                                                                       and in tho
s_cope of incluiry vigus v. o'Bannon, lgg6 g N.D 7g<1,
                                                              11g ILL 334.Ira.zelton v.
Carolu.s, 1907 1.32 ILL. App. S12.
             A- In the matter of L.ee oties t ove, Jr. v. Natasha Broomfield, Mr. lre
                 experienced the same plethora of Civil Riglrts violations where said
                 matter is pending before the United States Court of Appeals, he has
                 complained to everyone in authority but nobody stood up for hirn against
                 judge.I-oza. in that a post was generated on unlawfull.biogspot.corn
                 describi4g .rre heinous acts experienced by this judge keep-ing him from
                 seeing his child; see the Dec.29,2015 post.

                  ln Re Marriage of o'Brien 912 N.E. zdzzg(ilt App.2 Dist.2009),
                 When a party moves for substitution of the trial
                                                                    ;uride for cause
                 based        an alleged violation of rule setting fortti mandatory
                        -uPon
                 bases for recusal, the movant need only show the existence of that
                 factor and that an objective, reasonable person would conclude that
                 the judge's impartiality might reasonably be questioned, and need
                 not show_actuat prejudice. s.H.A. 735 |LCS s/2-----1001 (a) (3);
                 Sup. Ct. Frute 63 (C) (1).

   735 rLcs 5/2-100r(a)(3) (west 2006). Atthough the statute
                                                                         does not
define "cause", Illinois courts travL herd that in such ciriumstances,
                                                                       actuar
prejudice has been required to FORCE REMOVAL
                                                     of a judge from a case, that is ,
either prejudicial trial conduct or personal bias. Rosewood
                                                                corp. n
Transamerica Insurance co., 57 ill 2d 247,311 N.E. za dlg (L974; tn
re Marriage of Kozloff, 101 ilr 2d s26, s92.,79 llt. Dec 165 +ds N.r. za
219 (1984); see also people v. vance, t6 ttt. 2d 171, 181, 2g ilt. Dec.
508, 390 N.E. 2d 86l (lg7g). Moreover, in construing the teim *cause,, for
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purposes of a substitution once a substantial ruling has been
                                                                made in a case,
Illinois coufts have cons,stently required actual preludice to be established, not
just under the current statute, but under every former version
                                                                  of the statute
The facts and reasonslor the belief that such Bias and or preiudice conduct
with incredible corroboration and Civil Rights Viotations existslre that, the
following laws were noticeably maliciously violated, said Judge rravinl comptete
knowledge and was aware of all "frauduient" acts perpetrated at thdplaintiff
                                                                               but
ignored them and engageO in tnJsarnecffiiracy,'either ignored petitioners
Motions or Petitions accompanied with affidavits but granted every frivolous
motion defendants filed without any affidavits;

         Tttrner 24 F. Cas. 337 (No. 14247) C.C.D. Md. 1567) The "equal benefit" clause
                                                                                                is cited
         in what would appear to be the earliest reported case enforcing ttr" section. The plaintiff
         was an emancipated slave who was indentured as an apprentice to her former
                                                                                           master.
         Although both whites and blacks could be indentured ur        uppr"ntice, under the law of
         Maryland, indentured blacks were not accorded the same"n    educational benefits as whites
         and, unlike whites, were subject to being transferred to any other person in
                                                                                       tlre same
         county. Circuit Judge Chase granted a writ of habeas corpus upon firdirg that
                                                                                            the
         purported apprenticeship was in fact involuntary servitude and'a denial
                                                                                   rirder the Civil
         Rights Act of 1866 of the "fuil and equar benefit of ail laws

   9'    That because the judge has cornrnitted a series of
                                                             "Fraudulent Acts,' demonstrates
         deliberate "Anal'chy" in her rulings acting ur tt," UIffi" Hltl", tr).,g
                                                                                  to clestroy any
         family of color by whatever m"u,rs necessary;

The r]]inois   supreme court held that. if a court ,,courd
hear the matter upon the jurisdictionar paper presented,not
its finding that. i - had the power can add nothing to its
authority,     it, had no authority to make that
finding. " The peg)r>7e w- Brewer, L2B r11 . 412, 483 (rg2l) .
The judges listeui below had no legal authority
 (jurisdiction) to hear or rure on certain matters before
them. They acted without any jurisdiction.
   10'   when judges act when they do not have jurisdiction to
         act, or they enforce a void order (an order issued by
         a judge without jurisdiction), they become trespassers
         of the 1aw, and are engaged in treison.
            B'   That due to the judges Bias and directed evidence of Preiutlice contluct
                 tlTrespassing
                                qpon the Laws,t engaging i, ,,T."rrorr,r p*r*-nfG-36
                 ct Rule 71, Sufficient for Removal, ionou.t *t i.t, ooes not constitute;
                 criminal offense may be sufficiently violative of the Judicial Canons to
                 warrant removal for cause. Naporitano v warrl, 4s7 F zd z7g (7,, cir.),
                 cert denied, 409 u.s. 1037,93 s. ct. slz,34L. Ed. zd 4g6 (Lglz).



                                                  10
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             C.   Said Judge violated all Rutes                   Can

                   Alexander, Unreported Order No. 85-279 (Colo. May 3, f lAS)
                                                                                        QuOge removed
                   for, inter alia, a persistent pattern of abuse of the conternpt power. The
                                                                                                 Mayor of
                   Denver aciepted the findings of the Denver County Couit judicial
                                                                                             eualificarion
                   Commission that the judge's conduct could not be characterized as mere
                   mistakes or errors of law and that the conduct constituted willful
                                                                                           misconduct in
                   offr:: and--conduct prejudicial to the administration of justice that brings the
                  judicial^office into disrepute). Canon Ethics where
                                                                           theie is a pattern of-disrrgur,l
                  or indifference, which warrant discipline.

     11' Said judge demonstiated Bias and Preiudice concluct as
                                                                    she continuously
         "Tresnassed upon the LiF' .ngiging-E@3 when she acted outside of
         her jurisdiction; The judge became u.no-ou-ly ugiEtJd and
                                                                       angry when she told
         the Respondent and sons father to get out of her court room pursuant
                                                                                to Bx D,
        '"Judges, of course are presumed impartial, and the burden oi or"r"o-ing the
         presumption by showing prejudicial trial conduct or personal
                                                                        bias rests on the
         party making the charge. Eychaner v. Gross, 20zlli.2dzz1,2go,269
                                                                                   lll. Dec.
         80,779 N. E. 2d 1115 (2002).
             A- Judge Pamela E.I-ozaused her robe and unlawful authority in the same
                  identical manner as other judges in the Democratic Party ,,Fixing
                                                                                     cases
                  Fraudulently" violating their oaths systematically Trespassing upon
                                                                                         the
                  Irws" as a norm committing "Treason,,; 735 ILcs 5/z-r6oi(axs)
                  (west 2006).      Although the statute does not define.,cause,,,
                  Illinois coufts have held that in such circumstances, actual
                  prejudice has been required to FORCE REMOVAL
                                                                       oi a judge from a
                  case, that is, either prejudicial trial conduct or personjl U[s.
                  Rosewooc corp. n Transamerica rnsurance co., s7 ilr zd
                  241, 31r N.E. zd 679 (r9r4; rn re Marriage of Kozroff, 101
                  ilt 2d s26,532,79 ilt. Dec 165 463 N.E.                     iang
                                                                            (1984); see
                  arso peopre v. vance, 76 I1r. 2d LTtt rB1, 2g ilr. bec. 508,
                  3eo N.E. 2d 867 (1979).
 civil Rights Act of 1866- first section, enacted by the Senate and House of
 Representatives of the united States of America in
                                                       Congress assembled. That all persons
 born in the United States and not subject to any foreign
 taxed, are hereby declared to be citizens of the          f,o*.r, excluding lndians not
                                                  uniteJ siates; and such              of every
race and color, without regard to any previous condition                     "itir"r,
                                                            of slavery or involuntary
servitude, except as a punishment for crime whereof
                                                        the farty shall have been duly
convicted, shall have the same right, in every
                                                State and Territory in the United states, to
make and enforce contracts, to sue, be parties,
                                                  and give             t" i"rr;;i;;;;r"hor",
lease, sell, hold and convey real and peisonal             "rid"n".,
                                                prop.-.ty, and to full and equal benefit of
the laws and proceedings for the security or person
                                                      and property, as is enjoyed by white
citizens, and shall be subject to like punishrnent, pains,
                                                           and peralties, and to none other,
any law, statute, ordinances, regulation, or custom,
                                                      to the contrary notwithstanding, Act
of April 9, 1866, ch. 31, 1, 14 S1at. 27,4ZU.S.C.A.
                                                       1981


                                                   t1
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                Despite the united states constitution and civil Rights
                                                                            Act praintiff has
                not been treated as a citizen of the United States in iirat whites
                                                                                   under this
                Political S1':tem has been able to circumvent the laws and commit
                                                                                        trezrson
                Iike offenses because they are the rnajority in control in
                                                                            chicago, Iil.
                Political system; Pursuant to vigus v. o'Bannon is an example
                                                                                    of the
                "Fraudule,t" Racist Acts perpetiated against persons tite ttrl plaintiff
                standing up to Racial Injustice and Terrorismi

                                                    CANON    1
                A
                    {.uogg $o_uld uphord the rNTEGRrry and independence of
                    the JUD{CIARY.

               fh" ,,!t"oritv rnd ind"p"{td"n""            o,f   irdo". d.ound in trrn ,pon
               rir actinq without fear or favor. A.tthouonlrrEGt}rrrr ho
            ind           t            td        wit     e law. as well
                VlS      of thi L-:_:_      cco             in the im
                            ts   ntain       the                 eac
                                          viola     of thi
                                    int          icia

    12'That judge Pamela E. Loza satisfied the Preponderance
                                                                  of Evidence
       standard by taking part in an "orqanized conspiracv,,
                                                                  by signing-"tt ot
       the court orders w.ith her     sign@.                        r.r"u.itv oi'
       colluding with said parties in said conspiraby where ,,Fraud,,
       was apparent in reference to all attachmentl;
                                                                      ,nJ;F.4rry,,

       A. That judge Loza has demonstrated an unknown
                                                             interest in this matter
which has blinded his oL,jectivity in adjudicating
                                                   the merits of this matter, due to
the aforementioned;
where the i                                                          uali
                     san                the               eff.
       A judge's disrespect for the rules of court demonstrates
                                                                  disrespect for the law. Judges are
       disciplined under Canon 2Afor violating court rules
                                                              anJpro".orr.s. Judge igrrored
       mandated witnessorder in attempt to accommodate
                                                             witnesses, schedulerlcifr,,g Crnon
       2A the court noted, "[a] court's indifference to clearly
                                                                stated rules ure.as'oisr"s-pect for
       and discontent with cur justice system. Government
                                                             cannot demand respect of iiie Iaws
       by its citizens when its tribunalsigno." those very
                                                           same laws,,)

       "?he seventh circuit court
       of cook county is a crimina,ofenterprise.
                                      Appeals he-rd that the circuit court
                                                 u.s. v. Murphy, 76g F.2d
       7578,     1531 (7th Cir. 1gg5)..

   13'Jim Crow Laws are still being enacted and enforced
                                                            in Chicago, lllinois
      courts Black and Brown lives simply don't matter unless yo,
      to Terrorists and abide by their rureb and doctrinei;         [irr" your sour



                                               L2
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      In the 20th century, the Supreme Court began to overturn Jim Crow laws on
      constitutional grounds .In Ruchturun v. Warle! 245 US 60 (1917), the court held
     that a Kentucky law could not require residential scsregation. The Supreme Court
     in J.946, inlrene i,^organ v. Virginio ruled segregation in interstate trinsportation
     to be unconstitutional, in an application of the commerce clausc of the
     Constitution. It was not until L954 in lJrown v. Board of Erhtcation of Topeka 347
     US 483 that the court held that separate facilities were inherently unequal in the
     area of public schools, effectively overturning Plessy v. Ferguson, and outlawing
     Jim Crow in other areas of society as well. This landmark case consisted of
     complaints filed ir\the states of Delaware (Gebhart v. Belton); South Carolina
     @AsssfiUieL); Virginia
     Crtutbt); and Waslrinston. D.C. (Spottswotte nolW.                             These
     decisions, along witlr other cases suclr as McLuurfu v. Oklohomo Statc Boortl of
     Regents 339 US 637 (1950), NAACp v. Alabanru 357 us 44g (1958), and
     Bo:ltton v. Virginia 364 US 454 (1960), slowly dismantled the state-sponsored
     segregation imposed by Jim Crow laws.


      U. S Sup Court Digest 24(1) General Conspiracy

      u.s. 2003. Essence of a conspiracy is an agreement to commit an
      unlaMul act.-U.S. v. Jimenez Recio, 123 SCt.819,537 U.S.270,                            154
      L.Ed.2d 744, on remand 371 F.gd 1093

           Agreement to commit an unlawful act, which constitutes the
      essence of a conspiracy, is a distinct evilthat exist and be punished
      whether or not the substantive crime ensues.-ld.




     borusplnncy
      R..td  ,nagbe in(eired {rom uature o{ acts complained o{, individual and collective
      interest o{ alle6led conspirators, situation, iutirracg, and relation ol parties at tine o(
      couturission ol acts, a,d 6lerr.rall.; all circumstances precedirg .rrd attendin5
     ctrlurinatio,o{clai,red conspiracg lllinois Rockford Corp. V. Kutp, l968, 242
     N.E.2d 228,41 tLL.2d 215.

                                        ofo             t have
                                                            . people V. Hardison, UAS,
                                                                                  ^rvJ,
     911 Dec. 162' 108. Requisite mens rea elements of conspiracy are satislied upon
     showings of agreement of offense with intent that offense be committed; Actus
     reas element is satisfied of act in furtherance of agreement People V. Mordick,
     1981,50 ILL, Dec.63
        A- That due to the judges Bias and or Preiudice conduct pursuant to Sup Ct
            Rule 71, Sufficient for Removal, conduct which does not constitute a

                                                 13
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                  criminal offense may be sufficiently violative of the Judicial Canons to
                  warrant removal for cause. Napolitano v Warcl, 457 tr 2d27g (7" Cir.),
                  cert denied,409 u.s. 1037,93 s. ct. slz,34 L. Bd. zd 486 (lg7z).

    14.   That said judge lqza has demonstrated beyond the Preponderance of
          how this legal precedent fits her crime Section 1983 of U.S.C.S. contemptates the
          depravation of Civil Rights tlrrouglr the Unconstitutional Application of a Iaw by
          conspiracy or otherwise. Mansell v. Saunders (CA 5 F tA) i72 F 573, especially if t5e
          conspiracy was actually carried into effect, where an action is for a consjiracy to
          interfere with Civil Rights under 42 U.S.C.S. 1985 (3), or for tlre depravation of suclr
          rights under 42 U.S.C.S. 1983, if the conspira"y *ui actually carriei into effect and
          plaintiff was thereby deprived of any rights, privileges, or immunities securecl by the
          United States Constitution and L,aws, the gist of the action may be treated as one for the
          depravation of rights under 42 U.S.C.S. 1983, Irwis v. Brautigarn (CA 5 F la)227 F Zcl
          124,55 Alr 2d 505, John W. Strong, IBS,777-79 (4the ed. lgg)

  Finally, this docurnent is best closed by a jurist who has stated"; Citing Canon 2A the
cou.rt noted, "[a] court's indifference to clearly stated rules breeds disrespect
                                                                                  for and discontent
with our justice system. Government cannot demand respect of the laws'by its citizens
                                                                                      when its
tribunals ignore those very same laws,)

    Most recently stated in Federal Court FEDERAL JUDGB GETTLEMAN: stated,
    Tuesday March 10,2009,where he found Superintendent of police Jody Weiss in
    Contempt of Court and Ordered the City to Piy $100,000.00)*No one is abot,o tltc
    LdtP", he cited a 1928 decision by Supreme Court Justice t"rir n*ra"ir3rat
                                                                                  said,
     "If the Government becomes the law breaker, it breeds Contempt
                                                                     for the Law, It
    invites everynxan to become a law unto himself. It it'ites Anarihy-.',
                                                                           _


  The Chicago Daily I-aw Bulletin, Wednesday April 26,2001,Page
-                                                                  l, Illinois political
Machines help breed corruption, Associated Piesi writei D.unnu
                                                               Bellandi states, ,,lllitrois
          r                                             eal                     ,,


That                                                Huffington Post, Internet Newspapcr,
February 23,2012; University of Illinois professor Dick Simpson,"The
                                                                         two worst crime
                                 sma              d
                                      A          old th




                                                                                ullg Submitted



W{EREFORE tlre a{orerue,tio,ed reasons D.{.rrcl.,rt respect{ullg prags that said
Jttd6.lr. ,.c..s.d a,d all ord.rs VACATED p.r.rs.ra,t to them lr.irl6 "VOID" [asecl
Lrpon the reasons cited in this document and noted in the
                                                          Allic]avits-and appropriate
Sa,ctio,s be i,rposedpurs,a,t toS,pre,re court R.,le liz

                                                  L4
 Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 39 of 156 PageID #:39




2')  That the chief Judge or Presiding Judge summon
                                                        Federal authorities to
ascertain the criminal allegations noted to d'etermine
                                                       what prosecutorial remedies
are afforded in this matter;

3')  That this matter be ro,assigned per cgmpu-t9r generation
                                                              to a judge competent of the
laws and can rule in accgrdan"" to tir oath and
                                                lais of the united States constitution.
,n9:l   penalties as provided by law pursuant to 7351265
                                                              5u-109, the undersigned
certifies that the statement! sei forttiin this instrument
                                                           are true and correct, except as to
matters therein stated to be on information
                                               and belief and as to such matters, the
undersigned certifies as aforesaid that he
                                             verily believes the same to be true.

                                                    Respect{ullg Submitted



                                                       Caden Colbct




                                             15
  Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 40 of 156 PageID #:40




                               IN THE CIRCUIT COURT
                                         OF
                               GOOK COUNTY, ILLNOIS
                      DOl[ESTIC RELATIONS DIVISTON
 In Re: The Parentage of                                           2008 D 80400

 Robert Stafford                                                   [Ion.   Pamela E.l-ozzr
       Petitioner          o                                       Room    3009


        V
Carlen Colbert
      Respondent




  Motion for Disquarificat,",i:l"i;lg" to, cause Due to ,,Fraud,,
 (civil Rights viorations) and or prefudice pursuant to s.H.A. 73s
      lLcs 512 -'-1001 (a) (2,3) and toVacate ail orders due to
   "Trespassing upon the Laws" court never had Jurisdiction
                                       ,,Void',
                                        Orders are
                                    .

To:      u.S. Attorney Joel R. Levin, 219 south Dearborn suite
                                                                500, chg 60605
         chief Judg_e Timothy Evans, Room 2600 Daley center, chg., Iii. 60601
         Presiding Judge Jacobius, Room Daley center, chg. rit.
                                                                  ao'eor
         states Attorne; Kim Foxx, Suite 500barey clnter,
                                                              chg. IIr. 60601
         Anton corbert, 140 percy Jurian Sq, oak paik, Iil. 60302-2619
         Michael I. Bender 70 west Madison, suite2222, chg.Ill. 60602

              PLEASE BE ADVISED thar on oct 10th, z0l7 AMotion for
Disqualification of judge et al., has been filed in the Circuit
                                                                    Court of Cool<
         and will present said legally sufficient instrument
!o.un-V;                                                     before Judge Loza    or any
Judge in her stead October,    at       arnin room 3009.




                                                           Caden Colbcrt
LB05 Jamestown Cir.
Hoffman Estates, Il 60169
(708) 200-e437


                                                t6
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 41 of 156 PageID #:41



CERTIFICATE OF SBRVICE

The undersigned hereby certifies that the above notice and all attachments
                                                                            were caused to
be personally delivered, to the above parties at the addresses
                                                               provided before 5:00 pm on
October 10,2017.

                                                    Caden Colbert
                                                   Respectfully Submitted,




                                           17
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                           IN THE CIRCUIT COURT
                                    OF
                          COOK COUNTY, ILLNOTS
                       DOMESTIC RELATIONS DIVISION
                                                )
In Re: The Parentage of
                                                )                    2008 D 80400
                                             )
Robert Stafford
                                             )                       Hon. Pamela E.l-nza
      Petitionet
                                             )                       lloorn
                                             )
                                             )
        V                                    )
Carlen Colbert
                                             )
      Respondent
                                             )
                                             )
                                             )

                                    AFFIDAVIT
STATE Or TLLTNOTS)
                              )
couNTY OFCOOK                 )


I Carlen Colbert being duly sworn on oath states the aforementioned
                                                                           pteatlings
enumerated within said motion pursuant to 735
                                                     1265 Sll-109, the,rrra!.sign"a
certifies that the statements set forth in this instrumeni
                                                            are true antl correct, except
as to matters therein stated to be on information
                                                     and belief and as to such matter.s,
the undersignerl certifies as aforesairl that he
                                                 verily believes the same to 5e true.

Respectfully Submitted
                                                                Notary



LB05 Jarnestown Cir.
Hoffman Estates, n 60169
                                                        .OFT'ICIAL
                                                                    SEAL"
                                                         Elizabeth Romero
                                                    NOTARY PUBLIC, STATE OF ITLINOIS
                                                    MY CoMMISSToN EXPTRES t2l06lL9




                                                     OcT 0 7        2a1T




                                           18
                    Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 43 of 156 PageID #:43




Pr,rl
    Quiun
(ioverrror

Itichlrrl II. Calicl
    )iltrclor
                                            ]DC]Fffi
                               Illirrois Depzrrtr,nent of Children & Farnily Sen,ices
I


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                                                                                               ,IUNE      20, :01f
         Ca:: l et: Co"i.L-,e:.-t
         12{7 td Central,            .Ave
         2nd Floor
         Chicagr:, iL 60rr51-124S,

         Dear lvls. Cc,1bert,


         ihe I11j.r:'ois Lepartntenr- of Clriidren anci Famiiy Services receiveci cl report cf
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         ha,re caused :I:e a)in.:e ci: neql.eci.
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         for: tli'* liepa;:t:irent oi chi]dren and lamily Se::r'ices to continue cur rnqr-riry.
         The:ttore, vr* have ,:cncj"uCed our invchreirent irr this nialter.
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         intentiolai- farse r:epoi:t he .eraii:ec by-the DL1:art.menL. rf yori helie,,'e
         t):.;rr thrs 'rias ;r1 j-ntentional false report, ancl- yor.r wish the ieport ,_o be
         teta:-tieci, you:ttust. set:cl a written regiest to rh6 State Centr,21 Reqtiscer,
         '1 Ct I [ast lgr:nroe,
                                  .sprinqf re1.cl, I1]ino j.s b2?01. This reque sr. :riusl lje pos:niarked.
         i,;iii:iu i.er.: (i.0) days      of the date of this l.et:er. rf such r,;r:_tter"r l:eqLlest
         is not receirreC in accordance witir rlie ahove, tire inj,.-.::.ation            iderrtifying
         y,ou a:rd al.l otLrer per.sons named on the ::eport will'be rem.oved from the
         Stare Cantl:zr1 F.egisrer anci destroyecl .
         1f     vour ha.,,e ar:y    :1ues:ions, please      di:ect them to              my act,ention.


                                                                               Sincereiy,
                                                                               James Craven, SCR Administ,raLo::
                                                                               Scace Cent,rai Regi s Ler




                                                                                                          E*


                                    406   E lMonroe, Station 30 r Spdngfield,lllinois             62201"-1498

                          CD        AccRsotten r couxctt- ott AccneorrrrroN         FoR cHTLDREN AND FAMTLy sERvrcEs
       Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 44 of 156 PageID #:44




                    IN THE CIRCUIT COURT OF COOK COUNTY,
                                                         ILLINOIS
               COUNTY DEPARTMENT, DOMESTIC RELATIONS
                                                     DIVISION


 Robert Stafford,

        Petitioner,

                                                     Case No. 08D80400
 Carlen Colbeft,
                                                     Calendar gg
       Respondent.



                                            ORDER
THls MATTER coming on to be heard on the Petition petitioner
                                                         of             for a rule to show
cause against the Respondent, carlen colbert
                                                 for her iailure to allow visitation of
Petitioner with the parties minor child,
                                         RYLAN coLBlN STAFFORD, petitioner being
present and under o.:th.      Respondent   not being [ie"ent and petiiioner having
testified under oath that Td
                          Respondent atlegedtt;i#;;ay her right
T.NY coLBERT and the court being aai;seo ot"tr,. pi"ri.uu,                to her brother,

DOES HEREBY ORDER:

   A' That this matter is set for hearingon the issue of the father's failure to receive
      visitation on August 10,2015 at b:30
                                              am in qr:12 0f the nicnarJ.r. Darey center,
      50 W. Washington Street, Chicago,
                                            f f. OObff
   B. That petitioner must give notice t6 n";p;;l;i
                                                        as weil as ToNy .oLBERT.
   9 llrt both parties areirdered to appear at the next court date.
   o                  must show proof t it fi*rponiun"i r"."ived
      lllrtetitioner                                               a copy of the instant


                             A;1
                                 fr
                                                                   Judoo peoo/u
Entered: 6/15/2A15                                                                c-'tot'
                                                                                      .

                                                                   J&'/d   , =
                                            Judge   u'ooo"*'.-;-;:::::
  DOROTHY BROWN, CLERK OF TFIE
                               CIRCUIT COURT OF COOK COUNTY,
                                                             ILLINOIS
    Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 45 of 156 PageID #:45

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                                     oc,   |
                                               .t*.
                                                      6.   ,u*,
                                                                    I r.,{o
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                                                                                                                    sjttll
                                                                    ti*l*r:r'
                       IN TIIE CIRCUIT CotIRT or CooK
                     couNTv DErARTMDNt, ton msi       corrv,rYltri[INols
                                                                               '" Skt[[o,])*            PfliPig*
                rN RE:
                              )
                            cusToDy              or                                 t' uijllJ'iri?t
                RoBunr,sr*oo* i                                                                       ril,(ir,L1i."

                                      i,Petitioueqi;l-*f'r;i'f-Tilir:ii'i:ii'i'''
               vs.                                                       )         No. 2oos D o8o4oo
                                                                                                                          35il
                                                                  V\    ,)
               CANTEN.ICOIIBERT,
                                                                         )
                                                                         )
                                     iiRtgpoqdpnti                       )


                                                                             AND


              Now coMEs                the child's Repre,sentasve, MICHAEL
                                                                           IAN BENDEI!1pq$rppr,to
    ,Sectiotr 602 and 607,dfthe:Illinois
                                         lrdarrjaeerand,Dispoludon:ofMairiage:Aol,
                                                                                                                   and asla this
    Iilouqrable court to         (l)   set this matter            foi Emergency Intervention oq rhe previousfy
                                                                                                                          get
    September         3' 2015   co'rirt date; (2)itan$r-er,neueryigp
                                                                     or.the.              nimr,child (FS),         :to,Lis:urQle
    ANTON QOLBERT;(ANTON)i
                           AIld (3)                                 rCSKiCt RCSPONdCNT     CARLEN COLBERT (CARLAI,I),
    from having contact with the minor
                                          childrttutil;furthei,opw prderrfoliowing
                                                                                   said Emergeusy
    Intqrventionl rtating tbe following
                                        in supportt
    l.       ANTON,andCARLENarcsiblings.
                                                                         I
   2         RS has resided with
                             af.ffOfrl for Icqgthy peritrds of time: (I)
                                                                         fromJariirary tqlune                                      ofji
   L39f, and (2) fiom noilder,20t3itbrJune of20l$- ANroN provides
                                                                                                          safety   *, *;;;'
    RS.

   3'       Since August of 2009, RS has
                                         attended five differeui schools
                                                                         due to CARLEN,s unstable
   livirrg arrangements.

   4'                                            opened.aninvestiga}ion irft". RS
             '{'"Y"?:f                                                            notified his tcacher that he was
                            '0J;24'DqFs



                                                                                                                   C-C
                                                                                                                      3;.
                                                                                                                        C
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not looking forwqrd to seeing CARLi]N because she "curses at him, pokes hino,
                                                                              and hits him.,t

5.       CARLEN continues -to physically abuse RS, ana alsp hits RS' two-year-old.sister in
                                                                                            RS'
presence.

6-       on Aiigust 19,.2015, ils contuct"d ANTON         and irrforrned him he did not want    lo switoh
schools for the uP,coming school year as he has many frieu{s
                                                             4nd is qxcelting asademicauy at his

school in oak Park, Illinois- The success RS expbrienced at the school ih Oak park
                                                                                   occurred

during the time RS resided with ANTON

        7,       None-the-less, CARLEN has enrolred RS in rhe l{offpraq irstates
                                                                                 schoors.

        8'       CARLEN is forcing RS continues to adjustto another educati6nal onvironmenr,

his sixth different school since Augr;stof 2009.

        g.       RS receive no educational support from CARLEN. He cannot focus
                                                                                on hi9

stud^ies clue to the   daily d.isruptions ofadutts fighting in CARLEN's rusideirce; he beihg Ieft

home alene to care fof hiS twolear-old sistqf he iq hungy
                                                          lnd often not fed; and CARLEN
physical abuses RS.

        10.      on August 19,201j, CARLEN and herhusbanq JosHUA WHITE, engaged
                                                                                in a
phlsical fight in frout of Rs. Both CARLEN and JOSHUA
                                                      were bleeding               as a result o_f.thp

fight. Furthsr, RS iirfor.med AIITON       that he hrs witnessed CARLEN pull a knife JOSIIUA.

        l1-      on August 20,.2015, RS conhcted AlrroN          and Mormed him

that CARLEN was         angr   at RS andthreatened to dislocate his s.hqulde.r, During this

conversqtiorl RS also inforned ANTON that CARLEN has previously
                                                                punctred him in the ches!

hit him with hairbrushes, and violenfly cursed qt him.

        12.     [n addition to ttie phyiici.l abuse, RS is also foroed to   regulqr. Jy stay home alone

with his two-year old sister for several hourb at a time. The
                                                              wheteabouts,of CARLEN durirg
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 these periods are often.unknown.

         13'       On August 21,20I5,RS ccintacted ANTON and informed him
                                                                          that CARLEN was

 attempting to coerce RS into providing farse information
                                                          to thp child's Repreqentative. She

 directed him to state tha[ he wants to reside with CARLEN
                                                           and attend the school in           Hoftiran
 Estates' In addition, ES,has;illxi'ivn, oNilbxr:pe$sagesregciv.sd;,tsm
                                                                        cARliE1llsrffisnflpl
 fltleprpting to c.oerc€ Rg,inro;pr-oviding falire idometiq#lto;tli,g;plitdls,Repr,qsei$ative:

         14-       on August.r3, 20r.s, RS was r.eft home arone with his yourgen
                                                                                 sibrings from
 appfotimatery l1:00 p.m. to 12:40 a.rn. €AMEN:,boutinue!
                                                          to leaverlrs,arono,a,nighlto              crirts,
'for his loung siblingf,

         15.'      On August 2,5i,,2015,CARIEN Ieft RS alone at the.local
                                                                          park         foi over an horir.
 RS contacted ANTON t.o notig, him ofthis
                                          and was forccd to rely pE a           gqup of teenage boys,
 whogl he did npt l:now, to help hinl retum home.
                                                  Upon RS,s rehirn, neither CARLEN norher
hiisband were home, resulting in RS waiting
                                            outside the residence until CARLEI.I anived-
                                                                                         It was
dark outside.

        16'       Rs has resided with ANroN iu the pqst and it was
                                                                   dwing lhis tiure thet Rs
experienced     statility   and, continued acadenriE suocess.

        17.       Moreovcr, AIITON is willing and has the abuity
                                                                 to financia[y zupport Rs.
        l8'       It is in RS' best interest to reside with ANT0N'aod.afiend
                                                                             the oak park school.,
        l9'       Residing with CARLEN geriouslyendaagers
                                                          the,physical, grental, qnd e.motional
well being of RS"


 .      20..      If cARLEt\      ,had notice of this
                                                      motion she wourd   resliate against RS for
infomriug the Ctrild's Representaiive of
                                         the missoadud fiom whichhe suffers.            .




       WHEREFORE, child Rppresentative, MIcIIAEL
                                                 IAhr BENDE& prays that rhis
                         Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 48 of 156 PageID #:48

                Motlon - Genertl Fo
                                                tutq rephcer cclvlll-,39)
                #t                                                                                        Q|}UA'I- CCc N?02
                                       IN   TItr   CIRCUIT couRT oF               coox couNTy, rLLrNoIs
                                     \{.-r Cort t^v

                                                                            Pl[iutiff$)




                                                                                 ant(r)
                                                                                                          Qq
            TO:                                                                       E a1c
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                     T,OROTEY BROWN,
                                             Ct,ru(     OF TM CIRC,,T COURT
                                                                             Or COOK COUNTY, U,L^,OIS
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                    Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 49 of 156 PageID #:49

       NO SEOW ORDER                                                                        4304


                      If\I THE Cm.CUtT COURT Of'COOK COINTy,IILINOIS
                    couNrv DEPARTMEI'IT, D oMEsTrC RxtATIoNs DrwsIoN
                             PAXSIIIAGE AND CEILD STIPPORT COURT                                                 i t.,;

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                                                   Judgo Pamola E. LozA

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                                              NO SHOWOR])ER.
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                                              wl,t
  This case was sef for today's iourt call.   hffih       side having appeared,

 iT IS HEREBY ORDERED:
                '


 This matter is sbicken fqm today,s call.
                                                     )t-OA*            Pr6 t;o"'-rLl. "^{u-**(*    )tt   ;,:F."V r1Sf$




                    €'d
                       €




                                                                    Judge

                                                                    Date




oRorrrY BROWN, CLERK Or rriE CIRCUIT COURT O[' COOK COUNTy, ITLINOIS
         Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 50 of 156 PageID #:50
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   Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 51 of 156 PageID #:51




                           IN THE CIRCUIT COURT
                                     OF
                          COOK COUNW, ILLINOTS
                       DOMESTIC RELATIONS DIVISION
                                         )
In Re: The Parentage   of                )                2008 D 80400
                                         )
Robert Stafford                          )                flon. Pamela E. Loza
      Plaintiff                          )                Room 3009
                                         )
                                         )
       V                                 )
Carlen Colbert                           )
       Defendant                         )
                                         )
                                         )




Motion to Return Minor back into Custody of Mother (Defendant)
lnstanter Due to "Fraud" "Kidnapping" (Civil Rights Violations)
     due to "Trespassing upon the Laws":Court never had
           Jurisdiction Orders are "Void" a "Nullity"
        Now comes Defendant, Carlen Colbert Pro Se in this cause, files herewith
her affidavit, factually establishing the Motion to Return Minor back into Custody
of Mother lnstanter Due to "Fraud" "Kidnapping" (Civil Riqhts violations) due
to "Trespassing upon the Laws" Court never had Jurisdiction Orders "Void" a
"Nullity", in accordance to the Supreme Court of lllinois and Canon rutes in
accordance to the American Jurisprudence and pleadings (rev.) to show that the
Honorable Pamela Loza has with vexatious "contempt for the raws" has
"Trespassed" upon the Laws" and has engaged in ,.Treason,, against the
Defendant and has satisfied the preponderance of the evidence standards by
engaging in a criminal conspiracy assisting a non custodial person atlowing him
to unlawfully abduct said minor;

       Based thereon Defendant respectfully moves that the Honorable Pamela
E. Loza proceed no further herein, and that the Honorable Timothy C. Evans
Chief Judge or Presiding Judge of Domestic Relations of the Circuit Court of
Cook County assign this matter accordingly to law enforcement so as to return
said minor back into the custody of the Defendant tnstanter;

    1. That said Defendant and Plaintiff both reside in Cook County lllinois;



            6 ,)
     Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 52 of 156 PageID #:52




     2. That said minor was born on July 22,2003 as a result to their relationship;

     3. That Defendant had custody of said minor prior to judge Loza entering a
          "Fraudulent" court order resulting from an unlawful e>i parte motion;


     4.   That, as a result of an Emergency Ex Parte Motion brought by Michael
          Bender, (former Domestic Relations judge) the appointed child representative
          in the above-captioned matter, the minor child was immediately removed from
          the Respondent's custody.

     5. Without a hearing on standing of the non-parent orfitness of the natural
          parents of the minor child, this Court determined ex parte on an emergency
          basis that Anton colbert, the Defundants brother, had standing and
          possession of the minor child on September 1,2015. See the attached Motion
          for disqualification of judge et al. describing the unlawful evenfs;

     6. This Court order states that "Anton Colbert has standing because he had
          possession of the minor child" even though the child was currently at school
          at Eisenhower Junior High school at the time of fhe hearing. The
          Respondent, the child's natural mother, had enrolled R.S. in thatschool

     7. Even if the Respondent's brother was in possession  of the minor child at the
          time of the emergency hearing, possession aloneldoes not provide that
          individual with legalstanding to pursue custody.

    8.    ln a brief, ex parte proceeding, this Court gave a non-parent and :non-party to
           the above-captioned suit, custody over the minor child despite this
                  State's emphasis on a natural parent's superior right to legal custody
           of his or her child. See case law enumerated below:

    9. Section     601(bX2) of the lllinois Marriage and Dissolution of Marriage Act (a) A
          court of this State that is competent to allocate parental responsibilities has
          jurisdiction to make such an allocation in original or modification proceedings
          as provided in Section 201of the Uniforrn Child - Custody Jurisdiction and

Enforcement Act as adopted by this State. (b) A proceeding for allocation of parental
responsibilities with respect to a child is commenced in the court: (3) by a peison other
th.an a parent. By filing a petition for allocation of parental responsibilities in
                                                                                    the county in
which the child is permanently resident or found, but only if he or she is not in the phyiical
custody of one of his or her parents. 750 ILCS 5/601 (2002).

    10. Under the new     law, 750 ILCS 5/600parental responsibilities is "akin to legal
          custody". Thus the standing requirement for non-parents is the same.
    Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 53 of 156 PageID #:53




     11.   Standing involves a threshold issue of whether a parent has custody of a child for
           the purposes of satisfying the requirements of g 601(bX2). The standing
           requirement must be met before a party may proceeO witn a petition for iustody.
           ln re Custodv of peterson , 1121U.2d 4gI (1986).

     12. The nonparent has the burden of proving standing under 601(bX2). ln re
                                                               S
         Custody of Groff, 332 iltApp. 3d 397 Dec. (2OO2f.

     13. Furthermore [t]he superior right of a natural parent to legal custody of his or her
         child is recognized and protected in the Dissolution Act by requiring a nonparent
         seeking custody to first meet the standing requirements of
601(bX2) before being considered for custody under ihe best interest standard without
the necessity of first establishing the unfitnesi of the parent. ln re Marriage of
                                                                                   Carev. 1g lll.
App. 3d 1040.

     1a. [T]he standing requirement under section 601(b)(2) should not turn
                                                                                on who is in
         physical possession, so to speak, of the child at ihe moment of
                                                                         filing the petition
         for custody. ln re Custody of peterson, 112 i,l2d 49, (1986)

     15- To establish standing under Section 601 (bX2), the non-parent must
                                                                            show         that
         the parent has voluntarily and indefinitely relinquished custody of the child.
                                                                                        Ln re
         custodv of Peterson , 112ln2d 48, (1996); Franklin v. Devreindt, 2BB
lll App.3d 651, (1st Dist. 1997).

     16. "ln order to satisfy the standing requirement under O0l(bX2), a nonparent
                                                             S
        must show that the natural parent no longer has physicat custoOy of the child
        because [s4he relinquished custody of the child not because of iome fortuitous
        occunence." ln re custodv of peterson , 1i2 lll. 2d at s4-ss, (1986)

    17- When determining whether a parent voluntarily and indefinitely relinquished
       custody, a court should consider who was responsible for the tnitO prior
                                                                                 to the
       initiation of the custody proceedings, how the nonparent obtained pi-rysical
       possession, and the nature and duration of the possession.
                                                                     No one dctor is
       controlling, and the determination is highly fact-dependent. The nonparent
       bears the burden of proving standing underg 60l
                                                           ibx2). ln re custodv of
       M.C.C..383 lLApp. 3d 913,917, bec. tOO 1ZOOb1.' '

                                                                      relinquished .legal
     18. Furthermore, the nonparent must show that the parent has
          custody" of the child, rather than merely physicai possession, beiore
                                                                                satisfling
         the standing requirement of 5601(bx2)-oi trrlloun, the nonparent
                                                                              must show
         more than merely week end;or even daily, care of the childien to
                                                                            support
         standing. ln re custodv of Mccuan 176 lL. App 3d 42l,Dec.g23 (st'h
District, 1988);

    19. Because se.ction 601(bX2) of the IMDA allows for custody to be vested
                                                                                       in a
       nonparent without first finding that parent is unfit, " its appliiation must
                                                                                    be narrowly
    Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 54 of 156 PageID #:54




          construed to ensure the sanctity of the family and the reciprocal familial rights of
          parentsandchildren."lnrePetition of Kirshner. 164 lL.2d468,(1995)citingln.re
          Custody of Peterson, 112 ll.2d 48, (1986);

     20. The court defines "'physical custody" narrowly and stringenfly to prevent
         grandparents or any non-parent from obtaining standing for custody under the
         language of $601(bX2) by improperly abducting, orotherwise obtaining physical
         possession of a child. ln re custodv of peterson , 112lll. 2d 48.491
N.E.2d    1   1s0 (1986)

    21-Although Mr. Bender presents serious allegations in his Ex Parte Emergency
        Motion by lnducing Reliance upon the court, these allegations alone do not satisfy
        the threshold requirement of standing.
    22- Moreover, the Respondent and Petitioner have a legal right to contest those
        allegations and present their own evidence prior to itre indefinite removal of their
        natural child.

    23- Furthermore, Mr. Bende/s Emergency Petition only discusses the alleged
        behaviorof the Defendant and does not make anyallegationstowardJthe
        Plaintiff- However, instead of removing the child temporarily from the deferdant's
        care, assuming arguendo there was alleged abuse, the Court orders the child to
        be placed indefinitely with a non party, and non-parent, Anton colbert.

    24-ln  saiJ emergency Motion filed on September 1,2015, Mr. Bender mentions
                                                                                a
         DCFS investigation in May of 2012 brought against the Defendant.

    25- DCFS closed that investigation in2012and determined the complaint was
        unfounded and the Defendant was never indicated.

    26.That upon information and belief, no other DCFS proceeding were ever brought
       against the Defendant and there were never any pending iniestigations.

    27.That on September 3, 2015, the parties appeared for their original court date
That had been stricken two days prior as a result oi tr/r. Bender's
                                                                    Emer[ency Ex parte
Order;

    28. That on September 3, 2015, the parties attempted to contest the
                                                                           emergency
        removal of their child from school and his effective custodial placemenf
                                                                                 with the
        child's uncle, Anton Colbert.

   29' The parties were scolded by judge Loza in an venomous arrogant
                                                                        manner that
       they were to leave the courtroom, that custody was already
                                                                  iransferred to Anton
         Colbert;

   30. Neither the Plaintiff nor Defendant "voluntarily relinquish"the minor child to
         Anton Colbert, the nonparent.
  Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 55 of 156 PageID #:55




     31   .   Based on the allegations outlined above as well as lllinois Case Law governing
              non-parents' standing requirements and the placement of children with
              nonparents, the Defendant moves that an Order compelling the return of their
              minor child be rendered lnstanter due to being unlawfully abducted due in part to
              the judges complicit acts of Trespassing upon the Laws,r,

WH   E R E FO R      E.   Dffitrespectfuily    prays   that this Cou ft

     A. order that said minor be returned back to the Defendant
        lnstanter'
     B.       Order that all parties be investigated lnstanter for the enforcement of all laws
              violated in this manner;

     C.        lnvoke any and all remedies this court deems overwhelmingly just for the
              enforcement of this matter;




                                                                          Respectf u lly Su bmitted,




                                                                               Carlen Colbert
                                                                                 Pro Se


1805 Jamestown Cir.
Hoffman Estates, Il 60169
(708) 200-e437

               A judge's disrespect for the rules of court demonstrates disrespect for the Iaw. Judges
              are disciplined under Canon 2A for violating court rules and procedures. Judge ign]red
              mandated witness order in attempt to accommodate witnessei' schedules; CiIng-Canon
              2A.the court noted, "[a] court's indifference to clearly stated rules breeds disreslect for
              and discontent with our justice system. Government cannot dernand respect of tire laws
              by its citizens wlren its tribunals ignore those very same laws,,)
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 56 of 156 PageID #:56



  1.   To show fraud upon the court, the complaining party must establish that
       the alleged misconduct affected the integrity oJ tne judicial process, either
       because the court itself was defrauded or because ine misconduct was
       perpetrated by officers of the court. Alexander v. Robertson, Bg2, F. zd
        421,424 lgth Cir. 1 ggg);

          a.   A void judgment does not create any binding obligation. Kalb v.
               Feuerstein (1940) 308 US 433,60 S Ct 343, g4 L, Ed 370.

          b.   Fraud upon the court is a basis for equitable relief. Luttrell v. United
               Srates, 644F.2d L274, L276 (gth cir. uso;; see Abatti v. c.I.R., g59 F 2d
                115, 118 19'r' Cir. 1988) "it is teyond quesiion that a court may investigate
               a question as to whether there was fraud in the procurement of a
               judgment" Universal oil products co. v. Root R"iinirg co.,32g u.s.
                                                                                          575,
               66 s. ct. L176,90 L. Ed. 1447. The power of the court to unearth such a
               fraud is the power to unearth it effectively. See Hazel-Atlas Glass Co. v.
               Hartford-Empire Co.,3ZZ U.S. 238, 64 S. Ct.997, gg L. Ed. lZ50;
               Sprague v. Ticonic National Bank, 11g4 and united States v.
               Tlrrockmorton, 9g U.S. (g Otto) 61, 25 L.F,d.93.


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               lawfully".   People   v.Zajic,S8 Itl. App 3d 47'l,4IO N-E" 2d 626.,,A rrid
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               enforcement.   30A Am Judgments 43,44, +s. u"nae.son u genderson 59
               s.E.2d 227-232

               "A void Judgment from its inception is and forever contirurcs to be
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                                                       Caden Colbcrt
  Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 57 of 156 PageID #:57




                           IN THE CIRCUIT COURT
                                     OF
                           COOK COUNry, ILLNOTS
                        DOMESTIC RELATIONS DIVISION
                                                 )
In Re: The Parentage of                                                 2008 D 80400
                                               )
                                              )
Robert Stafford
                                             )                         Hon.    Parnela     E.Loza
      Petitionet                                                       Room     3009
                                              )
                                              )
                                             )
        V                                    )
Carlen Colbert
                                             )
       Respondent            :
                                             )
                                             )
                                             )



                                       Noticc of
Motion to Return Minor back-into custody of Mother (Defendant)
   lnstanter Due to "Fraud" "untawful Abduction,, (ci;il Rights
violations) due to "Trespassing upon the Laws,, court never had
             Jurisdiction Orders are ,,Void,' a,.Nullity"
To:       u.s. Attorney Joer R. Levin, 219 South Dearbom Suite 500, cbg 60605
          chief Judge Timothy Evans, Room 2600 Daley center, chg., Ili. 6060r
            Presiding Judge Jacobius, Room Daley centei, chg. Iit. ooobr
            states Artorney, Kim Foxx, Suite 500 Daley centea chg.
                                                                      Iil. 60601
            Anton colbert,.r40 percy Julian Sq, oak park, Ill. 60302-2619
            Michael I. Beniler 70 west Madison, sttrtez222,chg. Ill. 60602
            Robert staffo'd c/o crA Kedzie Garage 35s s Kedzie chg IL
                                                                           606t2

              PLEASE BE ADVISED that on oct 10th, z0l7 AMotion to
return rninor back into custody of mother (Defendant) Instanter
                                                                         et al.,
has been filed in the Citcuit Corit of Cook County;
                                                    and will present said legally
                                                             -her
sufficient instnment before Judge Loza or any Judge in
room 3009
                                                                    stearl   October   ,   at   am in

                                                     Respect{r,llq Suburitted


1805 Jamestown Cir.
                                                       Caden Colbert
Hoffinan Estates, II 60169
(708) 200-9437
  Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 58 of 156 PageID #:58




CERTIT'ICATE OF SERVICE

The undersigned hereby certifies that the above notice and all attachments were
                                                                                  caused to
be personally delivered, to the above parties at the addresses provided
                                                                        before 5:00 prn
October 10,2017.
                                               Oqj.^   k^ ' Ortr -k
                                                    Catlen Colbert
                                                   Respectfully Submitted,
  Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 59 of 156 PageID #:59




                                 IN THE CIRCUIT COURT
                                          OF
                         COOK COUNW, ILLNOIS
                      DOMESTIC RELATIONS DIVISION
                                              )
In Re: The Parentage of                                        2008 D 80400
                                              )
                                              )
Robert Stafford                                                 Hon. PamelaB.Loza
                                              )
      Petitioner                                                Room
                                              )
                                              )
                                           )
        V                                  )
Carlen Colbert                             )
       Respondent                          )
                                            )
                                           )

                                    AFFIDAVIT
STATtr OF ILLINOIS)
                             )
couNTY OF COOK               )


I Carlen Colbert being duly sworn on oath states the aforementioned pleadings
enumerated within said motion pursuant to 735 1265 5/t-109, the undersigned
certifies that the statements set forth in this instrument are true and correct, except
as to matters therein stated to be on information and belief and
                                                                   as to such matters,
the undersigned certifies as aforesaid that he verily believes the same to
                                                                            be true.

Respectfully Submitted                                     Notary
(,ar.(" - QPqcou,t
Carlen Colbert
1805 Jamestown Cir.
Hoffman Estates, Il 601 69
                                                               .OFFICIAI,
                                                                              SEAL"
                                                                Elizabeth Romero
                                                           NOTARY PUELIC, SIATE OF ILLINOIS
                                                           illY coMMrsstoN E\P|RES   tu06lt9


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    Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 60 of 156 PageID #:60


                                                                                                  Attorncy No.   31179

                 IN TI{8, CIRCUIT COURT OF COOK COUNTY, ILI,INOIS
               COUNTY DI}PARTMENT - DOMBSTIC RELA'TIONS DIVISION

IN II.E:

           R.OBBIIT STAFFORD,

                         Petitioner,                                                  ,::,   r,,l
                  and                                           No.2008 D 80400

           CARLEN COLBERT,                                      Calendzrr:99                  "
                         Respondent.

                                        NATIegp"E   nASIIAN                                    :1,,,
                                                                                                    :.-.{

To:        Carlen Colbe(                      Robert Stafford
           1805 Jarnestown Cir.               4338 Warren Ave.
           Hoffman Estates, IL 60669          Hillside, IL 60162
           eq9 ll2sro0@srna il-.sprr"         "hteb1gl$ t 3@g   n_r   ai   l.qorn



         On November 15, 2017 al 10:30 a.m. or as soon thereafter as counsel may be heard,
Michael Ian Bender shall appear before the I{onorable Judge Pamela E. Loza or any .ludge
sitting in her stead, in Couftroom 3009, Richard J. Daley Center, Chicago, Illinois, and then ancl
there present the attached "PETITION FOR RULE TO SHOW CAUSE AND FOII A FINDING
OF INDIRECT CIVIL CONTDMPT "


                                                                               Michael ian Bender
Michael Ian Bender
Child's Representative
70 West Madison Street, 5te.2222
Clricago, Illinois 6A602
Telephone : (312) 236- 1 500
Attorney No.: 31179

                                   c rr&T I rusaTlt_o_[sEltyr e]E

        I hereby certify under penalties of perjury as provided by law pursuant to 735 ILCS 5/l-
 109, that this Notice of Motion and the pleading(s) or other document(s) to which it relates has
been scrved upon the above nalne person(s) at the above-refbrcnced address(es) [ ] via facsirnile
transmission to the nurnber(s) Iisted above [X] via ernail and [ ] by placing a copy of thc same in
the U.S. Mail propcrty addresscs, with first class postage prepared, to the parties at the adclresscs
set forlh above, before the lrour of 5:00 p.m. on November 14,2017              .




                                                        lNl,*t^P-UM"                Vicnettc ViLstein
    Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 61 of 156 PageID #:61

                 IN THE CIRC{JIT COURT OF COOK COTJNTY, ILLINOIS
               COUNTY DEI'AR:I'MENT - DOMBSTIC RELATIONS DIVISION


 IN RE: TI{E SUPPORT OF:

 ROBI'ITT STAFFORD,

        Petitioner,
                                                        No. 2008 D 80400                         dd'

         and                                                                         {:'':'      J
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CARLBN COLBERT,                                         Calendar: 99                      .:           ia
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        Respondent.                                                                                         -,,,
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    EETII                                                          aJIXIBJN_G_AE TNDIRECi
                                                                                               ,.i            ts
                                         -Cry&IANTPMRT
        NOW COMtrS the Child's Representative, MICHAEL IAN BENDER, and pursuant to

750 ILCS 5/506(b), asks this I'Ionorable Court to issue a Rule to Show Cause against

Respondent, CARLEN COLBERT (hereinafter "CARLEN"), to show cause why she should,ot

be held in indirect   civil contempt for her contumacious disregard of this Court's    September 7,

 2017 and.october 30,[[L7order; ancl in support thereof states as follows:

        1.      On Arigust 10, 2015, this [Ionorable Court appointecl Michael Ian Bender as the

Child's Representative in this matter.

        2.      On September'7,2077 an Order was entered. Carlen Colbert is to pay Michael

Bender $3,206.25 within 30 ciays. A copy of said order is attached hereto at "Exhibit A,,.


       .3.      On October 30,2017, an Order was enterecl requiring Ms. Colbert to provide all

13.3.2 documents   within ten (10) days. A copy of said orclcr is atlachecl hereto at "Exhibit B,,.

       3.       To date, CARLIIN has failed to make alry payments toward the September 7,

2017 Order or provide her I 3.3.2 docr-unents.

       4.       A finding of indirect civil contempt rcquires proof of a valid oclurt order and              a

willfnl violation of that order. Cetera v. DiP'ilippo,4O4lll. App. 3d 20, 41. g34 N.E.2d 506, 343

Ill.Dec. 182(2010).Theburcleninitiallyfallsontheopposingpartytoslrowaviolationol.a
   Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 62 of 156 PageID #:62

court orcler by a preponderance of,the evidence. ld. Tbe burden then shills to tl're allegecl

contemttor to .show that the violation was not   lvilifil   or contlunacious and that he hacl a valid

reason for noncompliance. Id.

          5.     A Rule to Show   Cause should be entered against Resporrdent CARLEN

COLBI:RT to show cause, of any she has, why she should not be held in indirect civil conternpt

of court for her continuous faih,rre and refusal to cornply with this Court's Order without

compelting cause or justification. Saicl rule shoul<i be returnable instanter.

          WHEREFORE, Child Representative, MICHAEL IAN BENDER, prays that this

Honorable Court:

          A.     Enter an Order in.stanter issuing a Rule to Show Cause requiring CARLEN

COLBERT to show cause, if any, why she should not be held in indirect civil contempt of court

for her willful violation of the September 7 ,2077 and October 30,2011 Order;

          B.     Cause Respondent CARLEN COLBERT to demonstrate as to why she should not

be held   in contempt of court;

          C.     Find CARLEN COLBERT in willful indirect civil contempt of court;

          D.     Remand CARLEN COLBER to the custody of the Sheriff of Cook County until

slre tenders the Court Ordered amount and     her 13.3.2 documents; and

          E.     For any and all other relief flris Llonorable Court deems equitable and just.




                                                 Respectful    ly S ubmitted,




                                                 MICHAEL IAN BENDER
                                                 Child' s Ilepresentative
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                                      Y.T-BIIIEAII9L'
        Under the penalties as provided by law pursuant to 735 ILCS 5/1-109 of the Illinois Code
of Civil Procedure, the undersigned verifies that the statements set forth in this pleading are true
and correct, except to matters therein stated to be on infonnation and betief, and as to sucli
matters, the undersigned certifies as aforesaid that he verily believes the same to be true.




                                                      MICHAEL IAN BENDER
                                                      Child's Representative




Michael Ian Bender
THE LAW OFFICE OF MICHAEL IAN BENDER
Child Representative
70 W. Madison Streer, Svite 2222
Chicago,IL 60606
(312) 236- I s00
Attorney No.: 3l179
               Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 64 of 156 PageID #:64


                                                                                                     Rcv.02/24/$5 CCG               NOOz

                                    tN THE CIRCUIT COUR:I OF COOKCOUNTY, Ir r INOIS                                        EXHIBIT




                                                                         No.          ?*tB O 60
                                                                                     C$t-       ?7
          Cr"1o- (cl J,,*
                                                          ORDER

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   clr 4L c-1,,). H. rs ,)o r^.* rto (c*.1 .rs u, 1/,
                                  lr,                                Cc-l*- (^r 1/rr.-tl t-4o
  ?r/') )c 6r-' -(t cc*'L -'/'/'-7                J')t*"*    t) sa4c' c'J. /:'F cGtq
                                     q)   ffi
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   Attornel,   *,r7t?          2                                         ,:
   N^*c                                                           ENT,ERED:
         f O
   Atrv. for:
      J




   Lddr.srr                                           ?           Dated:               Jud0o Farnola E. Loza
                          ^t
   Ciry/Stare/Zip,                                                                          sEP 0 ?       2017

   Trt"pt'ronrM                                                   @oc                                                         --
                                                                       Judge                                               Judge's No.




                DOROTEry BROWN, CLERK OF T}IE CTRCUIT COURT OF COOK COUNTY, ILIJNOTS
                Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 65 of 156 PageID #:65
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 Ordeis of Contlnuance I

                                            IN THE CIRCUIT COURT OF COOK COUNTY, f,LLINOIS
                                           COI'NTYDEPARTMENT, DOMESTICRELATIONS DTWSION
 IN RE    TEM    tr    il{ARRIAGE             B   CTWL         UMON EI CUSTODY
 O   SIJPPORT OF':
                                                                                                           no,

 PETIfiONER                                                      %
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           Cr,/tn

                                                                  ORDERS OF CONTINUANCE
     TBrs CAUSE being properly beforc the Court on motion of E Petitioner El
                                                                             Respondent E Agreement of counsel,
and thc Court being advlsed in the premises:


     tr   IT IS ORDERED that this cause is set for:




          otr                    , ,.. ---,                                 at   ........-.-           .m. before this Court.

  ,!^Ax parties to appear in courtroom
  4250
                                                                                      on thc stated date and time.

   B Discovcry is closed as of
   O       PETITIONER/RESPONDENT is granted teave to fiIe




          ai*sl,{'oa*+                                                                                               MOT'ION
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           COTIRT RULE AND DOMESTIC RELATIONS                                      GINERAL ORJ)ER 86D.I.

    No.: 7 /t'2,
Atty.
Name:. 4,1 4,. (.d- Jr*-.-,                              _
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Atty.for: ,( 6 _
Address:  aa Lt,..t)tt-lJ      Su,k eZtc                                                   Dated:
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Ctty/State/Zip; L 1,.      .(,2                                                                                              [:,cr $ 0 mtP
Telephone: i tl z ?(-rfeo.

                  DOROTTTY BROWN. cT,ER K nm TI{X'. r.Tp r.r                            Tr"r-   /-r}r rD-r .rE, rr^^rz       nr   ra      16r,
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    Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 66 of 156 PageID #:66




                                IN THE CIRCUIT COURT
                                      OF
                            COOK COUNTY, ILLINOIS
                         DOM ESTIC RELATIONS DIVISION
                                                                              t2
                                                                      *-*8t04*- D,84Sl,
                                               )
  In Re: The Parentage of                      )
                                              )
  Clarence Parker                             )                            Hon.     Karon Bowesl"   .':
         Petitionet                            )                           Room     19,0e
                                               )
                                              )
          V                                   )
  April Redeaux                               )
         Respondent                           )
                                              )
                                               )



                                           Notice of
     Motion for Disqualification of Judge for Cause Due to"Fraud"
    (civil Rights violations) and or Preiudice pursuant to s.H.A z3s
        ILCS 512 ---1001 (a) (2,31and to Vacate all Orders due to
      "Trespassing upon the Laws" Gourt never had Jurisdiction
                             Orders are "Void"
                                                                                r

   TO: Gordon Nelson                              Steve   Wasko
          CN Law, PC                     Steponate & Wasko
          L00 N. IaSalle St. Suite 800 1440 Renaissance Dr, Suite 230.
          Chicago, IL. 606i.i2            Park Ridge,IL. 60068


   PLEASE BE ADVISED that on Oct LZth,20L7 AMotion for
   Disqualification of jridge et al., has been filed in the Circuit Court of Cook
   County; and will presentsaid Iegally sufficient instrument before Judge Bowes or
   any Judge in her stead October 17, at 2:00 pm in room 1902.



ffiEEf   Group Exhibit


              ts                                           April     Redeaux


  April Redeaux
                                   SsDcoftd rld amil        60ab,e*
                                                    +D                    t1                 NICOLE B MIODERHOTT
                                                                                                OFFICIAL SEAL
  Roselle,lL6OL72
                            .r(rol Prrt'                  s[8te   oillffirfr.                                llllnoil
                                                                                            Notary Public. Srcto of
                                                                                             My Commiorion Explrlt
                                                                                                December 14,2020
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 67 of 156 PageID #:67




  CERTIFICATE OF SERVICE

The undersigned hereby certifies that the above notice and all attachments were caused
to be personally delivered, to the above parties at the addresses p;gvided before 5:00pm
byUSmailOctoberl}th,Z}LT.                        /       ,4,7/       /         ,/
                                                     April Redeaux



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      _!recember 14,2A20




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  Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 68 of 156 PageID #:68




                          IN THE CIRCUIT COURT
                                    OF
                          COOK COUNTY, ILLINOIS
                     DoMEsrlc RElArloNS DlvlsloN
                                                            D O gkl,
In Re: The Parentage of                 )              ]zoossffi
                                       )
Clarence Parker                        )                 Hon.   Karen Bowes
      Petitioner                       )                  Room   190Q
                                       )
                                       )
       v                               )
April Redeaux                          )
      Respondent                       )
                                       )
                                        )




  Motion for Disqualification of Judge for Cause Due to "Fraud"
 (Civil Rights Violations) and or Preiudice pursuant to S.H.A" 735
     ILCS 512 --'|00t (a) (2,31and to Vacate all Orders due to
"Trespassing upon the Laws" Court never had ..lurisdiction Orders
                              are "Void"
        Now comes Respondent, April Redeaux Pro Se in this cause, files herewith
her affidavit, factually establishing the Bias "Fraud" (Civil Rights Violations)
Prejudice alleged herein, with exhibits, in accprdance to Supreme Court of lllinois
and Canon rules in accordance to tho American Jurisprudence and pleadings (rev.)
to show that the Honorable l(aren J. Bowes has a Personal Bias and or
Preiudice against the Respondent and has satisfied the preponderance of the
evidence standards by engaging in a criminal conspiracy assisting the Petitioner
allowing him to take said minor unlawfully bypassing court order signed by judge
Debra Walker ordering Petitioner to return minor to the Stale of lllinois;

Said judge treated Respondent as if she was an lllegal lmmigrant or non U.S.
cltizen ignored alldocuments demonstrating the Petitioner was responsible for
minors unstable issues but enforced an order absent her jurisdiction due to her
"Trespassing upon the [-aws" and engaged in overt "Fraud Bias qnd
Preiudice" actlnq as a private individual onjlhe,,pench. qg.t as a Honqrable
iudoei

      Based thereon Respondent respectfully moves that the Honorable l(aren J.
Bowes proceed no further herein, and that the Honorable Timothy C. Evans Chief
Judge or Presiding Judge of Domestic Relations of the Circuit Court of Cook
              Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 69 of 156 PageID #:69




          County assign this matter accordingly and notify Federal Officials to ascertain other
          violations of the taws pursuant to Respondents Affidavits and the judges' actions in
          this matter.

                 This is Respondents first motion Pro Se to recuse this judge for cause
          Pursuant to S.H.A. 735 ILCS 512---1001 (a) (3) in this cause made by the movant,
          the party seeking substitution must establish, by a preponderance of the evidence,
          actual piejudice and must demonstrate, through specific allegations supported by
          affidavit, facts that if true, constitute actual Preiudice;




                                                                 Respectfully $ubmitted,




                                                                      April Redeaux
                                                                        Pro Se

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                   NICOLE B MIDDESHOFF
                      OFFICIAL SEAL
                  Notary Public, St.tc ot lilinoir
                   My Comrfiiotion Explrcr
                       December l4,Z0Z0
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 70 of 156 PageID #:70




     A judge's disrespect tbr the rules of court demonstrates disrespect for the law. Judges are
    disciplined under Canon 2A for violating court rules and procedures. Judge ignored
    mandated witness order in attempt to accommodate witnesses' schedules; Citing Canon 2A
    the court noted, "[aJ court's indifference to clearly stated rules bteeds disrespect for and
    discontent with our justice system. Government cannot demand respect of the laws by its
    citizens when its tribunals ignore those very same laws")

       A-   Fraud upon the court is a basis for equitable relief. Luttrell v. United States,
            644 F. id tZlq, L276 (gth Cir. 1980); see Abatti v. C.I.R. , 859 F 2d 115, 118
            (9'h Cfu. 1988) "it is beyond question that a court may investigate a question
            as to whether there was fraud in the procurement of a judgment" Universal
            Oil Produ;ts Co. v. Root Refining Co.,328 U.S.575, 66 S. Ct. 1176,90L.
            E;d. 1447. The power of the court to unearth such a fraud is the power to
            unearth it effectively. See Hazel-Atlas Glass Co. v. Hartford-Empire Co.,
            322U.5.238,64 S. Ct. 997, 88 L. Ed. 1250; Sprague v. Ticonic National
            Bank, L184 and United States v. Throckmorton,93 U.S. (8 Otto) 6L,25L
            Ed.93.

        B- "A iudse    is an officer of the court. as are all members of the Bar. A iudee
            is a.iudicial etficer, oaid by the Government to act imoarthllv and
            lawfullv". People v.Zajic,88 lll. App 3d 477,410 N.E. 2d 626."Avoid
            iudement is reearded as a ngllitv. and the situation is the same as it
            would be if there were no iudsment. It has no leeul or binding force or
            eflicacy for any puroose or at anv place....It is not entitled to
            enfofcement. 30A Am Judgments 43,44,45. Henderson v Henderson 59
            s.E.2d   227-232

        C- "A VoidJudgment {rom        its inception is andforever continues to be
            absolutely null. without legal efficacy. ineffectual to bindparties or suoport
            a right. of no legal force and effect whatever. and incapable of confirmation,
            ratification. or enforcement in any rqanner or to anv degr_ee. "A void
            iudgment, order or decree may be attacked at any time or in any couft.
            either directly or collaterally" Oak Park Nat Bank v. Peoples Gas Light &
            Coke Col,46Ill. App.2d 385, L97 N.E.3d 73,77,(1't Dist. 1964)

    That under 18 U.S.C. 242 and 42 U.S.C. 1985 (3) (b).A judge does not have the
    discretion on whether or not to follow Supreme Ct. Rules, but a duty to follow.
    People v. Gersh, r35 Ill. 2d 384 (1990).



                1.) I am informed and believe and based on such information and
                     belief, demonstrate beyond the Preponderance of the evidence
                     standard that Judge Bowes is BIAS, Preiudiced and has
                     "Trespassed upon the laws" whom this cause has pended
                     before, has demonstrated taking paft in an "Organized
                     Consplracy" with said attorney;
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               2.)    That on June 11,2017, judge Debra B. Walker certified said
                     court order, ordering lhe'That A. shall remain in North
                     Carolina with the Petitioner until July 31, 2017, where he shall
                     be returned to lllinois --at the expense of Mr. Parker"

               3.) That the Petitioner with vexatious contempt for the judges
                   court order had his attorney to circumvent said directive by
                   filipg a frivolous untimely motion, hereto attached Ex A, file
                   stamped July 28, 2017;
                        All;l*'Jff
                                          lnnlJe;lHlilX,'ff ,::ifl"??f ffi
                            Motion to Vacate July 10, 2017 Order in Part;         "18:lJX"

                        B- That attorney Gordon Nelson methodically had his client
                            to submit an affidavit hereto attached, as Ex C not
                            notarized;

    In the wake of extensive investigations by Federal taw enforcrment authorities
    revealing widespread corruption in the Illinois court system ('Operation Greylord")
    and elsewhere, indicating not only that significant professional misconduct was
    occurring but also that the requirement to report misconduct was frequently ignored,
    particularly in the cases of judges with regard to the conduct of other judges.

    INDUCING RELIANCE
     To prevail in a cause of action for fraud, plaintiff must ptove that defendant made
    statement of material nature which was relied on by victim and was made for
    purposes of inducing reliance, and that victim's reliance ted to his injury. Parsons
    V. Winter, 19ffi, 'l Dist.,49l N.E.2d t2g6,96lLL Dec.7Z6,               t42lLL App
    3d 354, Appeal Denied.

                                                               I
     ln carter v. Mueller 457 N.E. 2d tags ILL App. Dtst.I9g3 The Supreme
    court has held that: "The elements of a cause of action for fraudulent
    mi.srsplgssntation (sometimes referred to as "fraud and deceit" or deceit) are: (1)
    False statement cf material fact; (2) known or believed to be false by the party
    mating it; (3) intent to induce the other party to aa; (4) action by the other party in
    reliance on the truth of the statement; and (5) damage to the other party resulting
    from such reliance.

               4.) That   because it is an norm for judges to violate their oath and commit
                     ltTreason" "TresDass uDon the Laws,, willfully acting as Terrorist ,
                     judge Bowes acted outside of her lawful jurisdiction and allowed a
                     untimely motion into her court, hereto attached Gr Ex B, Emergency
                     Motion to Vacate et al.,

               5.) That said judge ignored the fact   she had no jurisdiction, stated ,,That
                     the July 10, 2017 order is stayed in part, as it relates to petitioner
                     returningAP to the State of lllinois,AP shall remain in the care of
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                  Petitioner" which corroborates these very criminal acts as active
                  collusion, and demonstrates Bias and Prejudiced conduct
                  surpassing the Preponderan@ of Evidence legal standard required in
                   this matter where
                                       (Fraud"   is concerned;

               6.) Ndt only is the factsaid judge acting outside of her jurisdiction but
                   the time period to attack the merits of the court order was within 30
                   days but is was 17 days outside the timeline;

Ethics
     All llllnois lawyers must be famltiar with the lllinois Rules of
     Professlonal
Conduct, and trlal lawyers must be particutarly familiar wlth the rules that
apply specially to them.

        RPC 3.3, entitled "Conduct Belore a Tribunal,, sets forth the
standards to be followed by the trial lawyer during "battle.,' Section
(a) of that rule states:
        (a) ln appearing in a professionalcapacity before a tribunal, a lawyer
          shall not:
             (1) Make a statement of materia! fact or law to a tribunal which the
                 lawyer knows or reasonably should know is fatse;

             (2) Fail to disclose to a tribunal a materiat fact known to the tawyer
                 when disclosure is,necessary to avoid assisting a criminal or
                 fraudulent act by the client;

             (3) Faitto,disclose to the tribunal tegal authority in the controiling
                 jurisdiction known to the lawyer to be directty adverse to the
                 position of the client and not disclosed by opposing counset;

             (a) offer evidence that the lawyer knows to be fatse. lf a lawyer has
                 offered material evidence and comes to know of its falsity, the
                 lawyer shall take reasonable remedial measures;
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               (5) participate in the creation or preservation of evidence when the
                   lawyer,knows or reasonably should know the evidence is false;

               (6) Counsel or assist the client in conduct the lawyer knows to
                   be illogal of fraudulent;

               (7) Engage in other illegal conduct or conduct in violation of these
                   Rules;

               (8) Fail to disclose the identities of the clients represented and of
                   the persons who employed the lawyer unless such information
                   is privileged or irrelevant;

               (9) lntentionally degrade a witness or other person by stating or
                   alluding to personal facts concerning that person which are not
                   relevant to the case;

               (10) in trial, allude to any matter that the laurye does not
              reasonably believe is relevant or that will not be supported by
              admissible evidence, assert personal knowledge of facts in issue
              except when testifying as a witness, or state a personal opinion as
              to the justness of a cause, the credibility of a Wtness, the culpabitity
              of a civil litigant or the guilt or innocence of and accused, but a
              lawyer may argue, on analysis of evidence, for any position or
              conclusion with respect to the matter stated herein;

Acts constituting direct, criminal contempt
        A wide variety of acts may constitute a direct, criminal contempt. And act
may be criminal conlemi;t even though it is atso an indictabte crime. 'Beattie v.
People, 33 lll. App 6s1, 1889 wL 2323 (ist Dist. 1Bg9). As is making fatse
representations to the court. people v. Kate/hut, 322lll. App. 6g3, 54 N.E.2d 5g0
(1sl Dist- 1944). Misconduct of an officer of tho court is punishable as
                                                                         conternpt.
People ex ref. Rusch v, Levin, gOs 1il. App.142,26 N.E. 2d g95 (1st Dist. t93b).

       official misconduct is a criminaloffense; and a public officer or
employee cornmits misconduct, punishable by fine, imprisonment, or both,
when, in his officialcapacity, he intentionallyor reckldss[fails to perform
any mandatory duty as required by law; or linowingly performs an hct
which he knows he is lorbidden by law to perform; oi witn intent to obtain a
person-aladvantage for himself or another, he performs an act in
                                                                    excess of
his lav'rful authority ....S.H.A. Ch 38 33-g

  2, That said judge ctlrroborated her role exercising Bias Prejudice conduct towards
     the Defendant as she ttT.re-spassed upon the Laws" engaging in "Treason, in
                                                                                   that
                                                                        iDilt
     said court order was not only false but it was in violation 5n[.Ct R        *us
     not signed;
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   3.                                                  the
        That Judge Karen J. Bowes never had jurisdiction on the Respondent
        Illinois Supreme Court has held that "if the magistrate
        has not such jurisdiction, then he and those who advise
        and act wj-th nim, or execute his process, are
        trespassers." Von KettTer et.al. v. ,Iohason, 57 I1I. 109
        (1870)

         A- Under Federal- law which     is applicable to all states,
               the U.S. Supreme Court stated that if a court is
               "without authority, its judgments and orders are
               regarded as nullities. They are not voidable, but
               simply void; and form no bar to a recovery sought,
               even prior to a reversal in opposition to them. They
               constitute no justification; and aII persons
               concerned in executing such judgments or sentences,
               are considered, in law, as trespassers.r' EJ,Tiot w.
               Pierso7., 1 Pet. 328, 340, 26 U.S. 3?oB, 340 (1828)

          B-    That said act further demonstrates the judges Bias and Prejudice disposition
               as she engaged   in 6sTreason".cTrespassing upon the Laws, at the
               Respondent by engaging in criminal acts after only being appointed to the
               bench April 2014 as an Associate judge; whereby, judge Debra B. Walker
               was elected to her judgeship in 2008;

That because of the above; Fraud admissibilitv great latitude is permitted in proving fraud
C.J.S. Fraud 104 ET Seg. Fraud 51-57. where a question of fraud and deceit is the issue
involved in a case, great latitude is ordinarily permitted in the introduction of evidence,
and courts allow the greatest liberality in the method of examination and in the scope of
inquiry vigus v. o'Banncn, 1886 8 NJ 788, 118 ILL 334. Hazelton v. Carolus, 1907
132ILL-App.5I2.
  4. Judge Ioza in the matter of l*e      Oties Love , Jr. 13 D 80423, he had to go to the Ilt
        Sup Ct and District Court and Court of Appeals on the judge just to see and have
        visitation with his daughter surrounded by "Fraudulent Acts" because nobody in the
        State addressed the unlawful allegations, in that said judge demonstrated a personal
        hate towards him used her robe (keeping Mr. love from having any visitation or
        custody of his minor child for four years) and authority obstructing any success, he
        had being with his daughter; due to the systemic "Hate" Democrats have towards
        persons ofcolor; .

            A-   Judge rnza again in the matter of carlen colbert 08 D 80400 mother had
                 her child taken from her based on allegations of d'Fraudt' and was given to
                 her brother unlawfully, she never got the opportunity to see her son graduate
                 from 8th grade for two years becauie of the iacist hdleful acts separaf,ng her
                 from her children;

                 ln Re Marriage of O'Brlen 912 N.E. 2dZ2g ([t App.2 Dist.2OO9),
 Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 75 of 156 PageID #:75




                When a party moves for substitution of the trialjudge for cause
                based upon an alleged violation of rule setting forth mandatory bases
                for recusal, the movant need only show the existence of that tactor
                and that an objective, reasonable person would conclude that lhe
                judge's impartiality might reasonably be questioned, and need not
                show actual prejudice. S.H.A, 735 ILCS 512-----1001 (a) (3); Sup. Ct.
                 Rule 63 (C) (1).

  735   rtcs 51z-tool(a)           (3) (west 2006). Although the statute does not
define "cause", illinois coufts have held that in such circumstances, actual
prejudice has been reciulred to FORCE REMOVAL of a judge from a cas, that is,
either prejudicial trial conduct or personal bias. Rosewood Corp, n
Transamerica rnsurance co.r 57 rll 2d247t 311 N.E. 2dG73 (L9l4i rn re
Marriage of Kozloff, 101 ill 2d 5,26, 532,79I11. Dec 165 463 N.E. 2d 7lg
(1984); see also People v. Vance, 76 lll. 2d Llt.,l8lr.ilB lll. Dec. SO8,
390 N,E. 2d 867 (1979). Moreover, in construing the term "cause" for purposes
of a substitution once a substantial ruling has been made in a case, Illinois courts
have consistently required actual prejudice to be established, not just under the
current statute, but under every former version of the statute

        Turner 24 F. Cas. 337 (No. 14247) C.C.D. Md. 1867) the "equal benefit" clause is cited in
        what would appear to be the earliest reported case enforcing the section. The plaintiffwas
        an emancipated slave who was indentured as an apprentice to her former masier. Although
        both whites and blacks could be indentured as an apprentice, under the law of Maryland,
        indentured blacls were not accorded the same educational benefits as whites and, unlike
        whites, were subject to being transferred to any other person in the same county. Circuit
        Judge Chase granted a writ of habeils corpus upon finding that the purported
        apprenticeship was in fact involuntary servitude and a denial under thC Civil Rights Act of
        1866 of the "full and equal benefit of all laws



           B.        due to ttre judges Bias and or P.reiudise co4duct pursuant to sup ct
                Jlt
                Rule 71, Suffipient forRemoval, conduct which does not constitute a
                criminal offense may be sufficiently violative of the Judicial Canons to
                warrant removal for cause. Napolitano v ward,457 F zdz7g (7" cir.),
                cert denied, 409 u.s. 1037, g3 s. Ct 512,34L. Ed. 2d 496 (1972).

                Said Judge violated all Rules of law canon Ethics. code of Judicial
                 pnd_uct Lule Scott. 377 Mass. 364, 386 N.E.2d Zt8,2ZO
                C.
                                                                       li}]f)See Lopez-
                Alexander, unreported order No. Bs-279 (coro. May 3, 19g5) (Judge removed for,
                inter alia, a persistent pattern of abuse of the contempt power. The Mayor of
                Dcnver accepted the findings of the Denver C-ounty tbu.rt ludicial euilification
                Commission that the judge's conduct could not be characterized as mere mistake.s
                or elrors of law and that the conduct constituted willful misconduct in office and
                conduct prejudicial to the administration ofjustice that brings the judicial office
                into disrepute). Canon Ethics where there is a pattern of disiegarilor indifference,
                which wanant discipline.
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   5.   Said judge demonstrated  [lqand Preiudice conduct when she acted outside of
        herjurisdiction as she engaged in'sTreason" "Trespassing upon the Lawsrtl
        "Judges, of course are presumed impartial, and the burden of overcoming the
        presumption by showing prejudicial trial conduct or personal bias rests on the party
        making the charge. Eychaner v. Gross, 202111,2d,228r280r269l11. Dec. 801779
        N. E.2d 111s (2002).

         794 S.W. 2d 002 (Mo. App 1990)'No ssstem ol justice can Iunction at its
        best ormaintai"broadpubliccon{idence iI a liti6ant canb. compelled to
        submit his case in a court where the liti5ant sincerelg b.li.,r.r the jud5e is
        incompetent or preju&cial -..-- {T}h"t is the price to be paid {or a iudicial
        sgstem that seeks to {ree a liti5ant lro- a {eelin5 o{ oppression". State   Rel.
        McN{ar,l V. Jo.,.", 472 S. W. 2d 057,059-040 (M". Ap'r.1970 Indee4"*the
        ri6ht to disqoalifu a judge is'bne ol the kegstones o{ our le6al administration
        .di{i"." State .* Rel. C.npbelt V. C"ho, 606 S.W. 2d 500-401 (M". App.
        1980). It is vital to public coohdence in the le5al sgstem that the decisions ol
        the court are not onlg {air, but also appear {air.

        Thos whether    th"dirqoali{ication ol a jud6ehiuges on a statuteor rulein
        {aror o{ the ri5ht to disgualilg. A liberal construction is necessarg i{ we wish to
        promote and maintaio ptlic cor{idence in the ju&cial sgstem. KoLn,000
        SW. at 401; St.te e* ReL Ford Motor Co. V. Hess S.W. 2d 147, 14E (Mo.
        APP10g7).

Civil Rights Act of 1866- first section, enacted by the Senate and House of Representatives
of the United States of America in Congress assembled. That all persons born in the United
States and not subject to any foreign power, excluding Indians not taxed, are hereby
declared to be citizens of the United States; and such citizens of every race and color,
without regard to any previ, ,us condition of slavery or involuntary servitude, except as a
punishment for crime whereof the party shall have been duly convicted, shall have the
same right, in every State and Territory in the United States, to rnake and enforce contracts,
to sue, be parties, and give evidence, to inherit, purchase, lease, sell, hold and convey real
and personal property, and to full and equal benefit of the laws and proceedings for the
security of person and property, as is enjoyed by white citizens, and shall be subject to like
punishment, pains, and penalties, and to none other, any law, statute, ordinances,
regulation, or custorn, to the contrary notwithstanding, Act of April 9, 1966, Ch. 31, 1, 14
Stat. 27, 42 U.S.C.A. 198L
                Despite the united states constitution and civil Rights Act Plaintiff has not
                been treated as a citizen of the United States in that'whites under this
                Political System has been able to circumvent the laws and commit treason
                like offenses because they are the majority in control in Chicago, tll.
                Political system; Pursuant to vigus v. o'Bannon is an example of the
                "Fraudulent" Racist Acts perpetrated against persons like the Respondent
                standing up to Racial Injustice and Terrorism in the courts because the
                number of judges perpetrating said acts of "Treason'l are demonstrating
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                just how Democrats really feel about African Americans and other persons
                of color they are not deemed citizens of Equal protection of the Iaws in
                Chicago, Illinois courts;
                          :

          A-   Democratic judges in Illinois are still enforcing Jim Crow laws outlawed by
               the United S ttes Supreme Court;

          B- This case had several judges that has the appearance of being forum-shopped
               until the Petitioner and his attorney allegedly found the right judge that w-ould
               provide him favor, in that the following judges were on this matter
               (MATHEIN, VERONICA 8., KATZ NANEV J., DICKIER, GRACE G.,
               WALKER, DEBRA B., SCHLEIFER, ANDREA M.,)

          C- That this matter    demonstrates the mindset of many white women on African
               American woman, in that, they are not capabre of making rational family
               decisions for their children, a white person in authority have to tell them what
               to do or how to do when it involves their children as if this is Mississippi or
               other part of the city that views persons of color less than them;

          D- That Judge Bowes on many occasidns heard Respondents issues on said
             Petitioner, in that, the judge stated, in open courl"that 907o of. the minor,s
             issues is attributed to the Petitioner" bui the most disturbing statement judge
             walker stated on the June 11, 2017 cowtwgs "Neither M.ior A. shali

               relationshin"

                                          CANON 1
                A J.udge shoutd uphold the lNTEGHtry and independence of
                  the JUDICIARY.




           judge Karen J. Bowes satisfied the preponderance Evidence
19   . t?t
standard by taking part
                                                           of
                              jn an "oroa_nlzed   consoiilcvi    by interfering and
unlawfullyobstructingwithResponoe@sioitityteepInjnerfrom
having custody per judge watker's order, in an attemit to reefi oa& fimilies
stressed oppressed exercising terrorist tactics thereby, validaiing the veracity
                                                                                 of
colluding with said parties in said conspiracy where .Fiaud,,and",perjurf           *",
apparent in reference to allattachments;
 Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 78 of 156 PageID #:78




11.    That said judge unlawfully circumvented Judge Walker's order and ordered
said minor to stay with said Petitioner arrested in a "Prostitution Sting" (sic) hereto
attached, Ex B
          A- That judge Bowes has demonstrated an unknown interest in this
              matter which has blinded her objectivity in adjudicating the merits of
              this matter,,rlue to the aforementioned; Suo Ct. Rule 63 (c) (1) (d)
              mandates disqualification where the iudoe has an intqrest in the
              proc9edlng'(etf. April 1 6. 2il)7).

        A judge's disrespect for the rules of court demonstrates disrespect for the law. Judges are
        disciplined under Canon 2A for violating court rules and procedures. Judge ignored
        mandated witness order in attempt to accommodate witnesses' schedules; Citing Canon 2A
        the court noted, "[a] court's indifference to clearly stated rules breeds disrespect for and
        discontent with our justice system. Government cannot demand respect of the laws by its
        citizens when its tflbunals ignore those very same laws')

12.      Jim Crow Laws are still being enacted and enforced in Chicago, lllinois
courts Black and Brown lives simply don't matter, in that said racial injustice in
lllinois Courts by said Democrats is how they really feel about persons of color,
they hate them but make €mpty false promises using other blacks and Hispanics
who are willing to sell out their ethnicity seeking their votes, so as to keep persons
of color oppressed and keep families divided and in a disarray;
         ln the 20th century, the Supreme Court began to overturn Jim Crow laws on
         constitutional grounds. InBuchanan v. Warlqt 245 US 60 (1917), the court held
         that a Kentuckv law could not require residential sesregation. The Supreme Court
          in 1946, in lrene Morgan v..Y-irginia ruled segregation in interstate transportation
          to be unconstitutional, in an application of the commerce clause of the
          Constitution. It was not until 1954 in Brown v. Board of Education of Topeka 347
          US 483 that the court held that separate facilities were inherently unequal in the
          area of public schools, effectively overturning Plessy v. Ferguson, and outlawin$
         Jim Crow in other areas of society as well. This landmark case consisted of
          complaints filed in the states of Delaware (Gebhart v. Belton): South Carolina
          (Briegs v. Elli.ott); Tirginia (Davis v. Count.v School Board of Prince Edward
        County); and Washineton. D.C. (WtvnSnarpa.                               These
        decisions, along with other cases such as McLaurin v. Oklahoma State Board of
        Regents 339 US 637 (1950), NAACP v. Alabama 357 US 449 (1958), and Boynton
        v. Virginia 364 US 454 (1960), slowly dismantled the state,sponsored segregation
        imposed by Jim Crow laws.


        U. S Sup Couri Digest 24(11General Conspiracy

        U.S. 2003. Essence of a conspiracy is an agreement to commit an unlawful
        act.-U.S. v. Jirnenez Recio, 123 S Ct.819, S37 U.S.270, 154 L.Ed.2d
        744,on remand 371F.3d 1093
 Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 79 of 156 PageID #:79




                Agreement to commit an unlanrful act, which constitutes the essene
         of a conspiracy, is a distinct evilthat exist and be punished whether or not
         the substantive crime ensues.-ld.




         -coHsprnacy
         Frat d magbe in[erred {rom nature o{ acts cornplained of, individ,ral and collectfue lnterest
         ol alle5ed consplrators, sltrratlon, intimacg, aud relation o( parties at time ol commission o(
         acts, and 6euerallq all circumstances precedir5 and attendtn6 culmination o(      daimed
         conspiraca   llllnols Hockford corp. V. Kulp, 1960,242 N.E.2d 22a,41 tLL.
         2d 215.

            ConsDirators to be quiltv of offense need not have entered into consninecv
         at same time or have taken part in all its actions . People V. Hardison, IggS,
         911 Dec. 162' 108. Requisite mens rea elements of conspiracy are satisfied upon
         showings of agreement of offense with intent that offense be cornmitted; Actus
         reas element is satisfied of act in furtherance of agreement People V. Mordick,
          1981, 50   ILL, Dec.6j

         Vaughn 462 S. E. 2d 728 (Ga.t995.l.The Supreme Court of Georgia removed a
         Judge from office for disregarding defendant's Constitutional :iigits;Emmel31y
         N. E- 2d 390 (N.Y -1996) (Judge removed for improperly jailing defendants for
         their alleged failure to pay fines and make restitution which the judge had imposed,
         disregarding the defendants basic constitutional rights;

          13.That Plaintiff has demonstrated beyond the Preponderance of Evidence
             that said acts demonstrates how Section 1983 of U.S.C.S. contemplates the
             depravation of Civil Rights through the Unconstitutional Application of a taw Uy
             conspiracy or otherwise. Mansell v. Saunders (CA 5 F lA) 372 F 573, especially if the
              conspiracy.was actually caried into effect, where an action is for a conspiracy to
              interfere with Civil Rights under 42 U.S.C.S. f 985 (3), or for the depravation of such
              rights under 42
                               V.S,C.S. 1983, if the conspiracy wai actually carriei into effect and
              plaintiff was thereby deprived of any rights, privileges, or immunities secured by the
              United States Constitution and Iaws, the gist of thJaction -,:nay be treated as one for
              the depravation of rights under 42 U.S.C.S. 1983, Lewis v. Briutigam (CA 5 F la)
              227 F tu|t24,'55 Alr 2d 505, John w. strong, t95,777:tg                 ssz1.
                                                                            1+ttre
                                                                                   "a.
  Finally, this document is best closed by a jurist who has stated"; Citing Canon 2A the court
noted, "[a] court's indifference to clearly stated rules breeds disrespect for anJdiscontent
                                                                                                with our
justice system. Government cannot demind respect of the laws
                                                                   by its citizens when its tribunals
ignore those very same laws,,)


 !h9 lhicago Daily taw Bulletin, Wednesday April 26,2006,Page l, Illinois political
Machines help breed corruption, Associated Presi writer Deanna Bellandi states, 'Illinois
             Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 80 of 156 PageID #:80




         Tl'tatChicago is the most Corrupt Cit.v inAmerica. Huffington Post, lnternet Newspaper,
         February23,20l2;UniversityofIllinoisProfessorDickSimpsol,,,W
                lllinois are the governor's mansion.....and the Ciil Council Chambers in
         zones in
         Chicago." Simpson a former Chicago Alderman told the AP " no other Sta-Le.can match
         us."-



         WHEREFORE the alor.L"otioned reasons Delendant respect{ullg prags that said
         Jud5e be recrrs.d arrd all orders VACATID Lased opon the reasons cited tn this
         document and noted in the Al{idavits and appropriate Sanctions be imposed
         pursuant to SupremeCourt Rule 152
         2.\ That the Chief Judge or Presiding Judge summons Federal authorities to
         ascertain the criminal allegations noted to determine what prosecutorial remedies
         are afforded in this matter;

         3) Order the reimbursement of any and fees and costs for the enforcement of this
         matter;

         4.) Order that all past and future legal costs   be absorbed by the Petitioner who has hidden
         all ofassets so as to keep from payingchild support.

         Under penalties as provided by law pursuant to 7351265 5\1-109, the undersigned certifies
         that the statements set forth in this instrument are true and correct, except as to matters
         therein stated to be on information and belief and as to such matters, the undersigned
         certifies as aforesaid that he verily believes the same to be true.

                                                                          Respect{ullg Submitted




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                                                                            14.14
                                                                              Roselle,lL6OL72
f hk P.rlt



                 NICOLE R MIDDERHOFF
                     OFFICIAL SEAL
                Notary Public, Strto o, lllinois
                 My Commlse ion Explrrr
                     December    tl,ZOiO
 Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 81 of 156 PageID #:81




                           IN THE CIRCUIT COURT
                                OF
                      COOK COUNTY, ILLINOIS
                    DOMESTIC HELATIONS DIVISION
                                          )                     2st'?- l^s      t'tiG
In Re: The Parentage of                   )                     z#t{Hm
                                          )
Clarence Parker                           )                       Hon. Karen Bowes
      Petitionet                          )                       Roorn 1900
                                          )
                                          )
       V                                  )
April Redeaux                             )
      Respondent                          )
                                           )
                                           )


                                     AIIIIIDAVIT
 STATE OF ILLINOIS )
                             )
 COUNTY OF COOK )


 I April Redeaux being duly sworn on oath states the aforementioned pleadings
 enumerated within said motion pursuant ta 7351265 5ll-109, the undersigned
 certifies that the statements set forth in this instrument are true and correct,
 except as to matters therein stated to be on information and belief and as to such
 matters, the undersigned certifies as aforesaid that he verily believes the same to
 be true-

                                                                Notary

                                               &rOrcrOc<t and   rmnr    to bobnr      rfr
 April Redeaux




                                                                 NICOLE R MIDDERHOFF
                                                                     OFFICIAL SEAL
                                                                Notary Publlc, Stare ol   ilinob
                                                                 My Commission Expiros
                                                                   Dccember 14,2020
    Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 82 of 156 PageID #:82




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                                                                                                            #57708                      l-


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            NOW COMES            Tm PtsTmOI{E&            Cl.AtrENCE PARI(E& by iurd ttrcugb his

ittonrys, CN LAW P.C ud pu!8ud to 735 ILCS 5A-n03,51ffi2.7                                and 610.5(c), rnd             in

support      of his Emcrgcocy Motilm to Vacato July tO 201? Ond.rr, Iu Part, lhmoof,                      strDoi as

follows:

I   .       Thd a Judgmcat fu Diasoldion ofl{ariago incorpordiug              a   l[atital Scillcr.rcot

            Agreerueot @ooinafter JITDGMEND uas cutercd in this causo onNovclnbfi 29,2006.

2.          That   rro   (2) childrro rpe,te boflr to thc paties, uamely,   MAXnfiIS P RKER,               trow rge

            16; andAIIRELIUS          PAIXE&     andnowage 15.

).          Thnt on Junc 12,2011 ,Pet'rtioacr filed an Emergency lrdotion ro In6oas0 Parming Timc.
                                                                      .t


4.          That on Juno       l5t,   2017, &e Hmorable Judgo       Ifttz mterd m Orda a[ou,ing                    the

            AITRELruS to rcnndn in thc posscsrion of the Pditionsr in lllinois and/m Norlh Carolhr'

            until filrtherorder of court

5.          Thrt on Juty 10, 2017, thc          Honomblc Judgc WEIkrr eolcr€d an               cder       rt1r1irint

            AUREtruS        b be rotumod b Illimis and &e caro of tbc nrspoodcntby               July 31,2017.

            On   thd ddc, Starc Wasto rrar appointort ao a Child's Repre$€oHivc. Seb Erhlblt "B.r

            Sinco   July lO,    2017., Stevc   Va*o    has mct mutriple timns wlth thc
               Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 83 of 156 PageID #:83


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Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 84 of 156 PageID #:84




                                                                                                         #57rm
                   IN   IIIE
                         CIRCTIIT COT,RT OF COOK COUNNT, il,LINOIS
                COITNTY DEPARfndff'f - DOMESTIC If,LATIONS DMSION

             OF:
 IN RE: MARruAGE  )
 CT"AnENCEPA.RKE& i
  Pell$oner,      i
 and              )                                        No.:12Dr{36
                                                                                                          t3
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 ArRrL    REDEATX,                               i                                                            cn      F-
 Rapoadcnt                                       )                                                            PI"
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 CT,ARNECEPARKE& affirnthcrcin, bci4g firstduly Bworn, m oath
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                                                                                             ' .i.'..;
                                                                                            ..,...'.;          L,
    I.   I am   ths alErnt h€rein aud the petitioner   in tho above rsforeocod   cauec.

    2-   That au tho suegstiong contrincd in this Emorgency Motion to vrcato July
                                                                                  t0,          20lI
         Order are lrue and accuratr.

    3.   Furtber afEsnr aaycthuol




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SUBSCRIBED andSWORN ro                                                                                                              I
before me    thfu_      day   of                                                                                                    I
July,2017.                                                                                                                          I

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    NOTANYPIIELIC




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                                                C-
                    Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 85 of 156 PageID #:85
Ten "Johns" Arrested in Richfield Prostitution Sting I Crime lI{ennepin County News                                                                         Page   I of3




                                                                                                 5rEEl                                                         r KSTP Slt s



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Ten "Johns" Arrested in Richfield prostitution Sting I Crime

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       ThMuf , Fcbauy        2 t   rt. 2Ol J,   Z:   2aom


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A pro6litution sling has led Rlchneld police to aresl
                                                      ten,lohns-.

Acco'dlng to the Richtield Police Fac€book Page,
                                                 lho spaclsl tnvestigations unit and Etoomington polce conducted lhe sting Fsbfrrary
coridor. The men all face charges o! engaginjin prostiiution                                                                         19 atoog lhe 494
                                                                          in a p{rbIc place.
Tho men arreglsd are:




Clarence Anthony parker. Chicago, lL
                                                              tee, MN

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      Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 86 of 156 PageID #:86



                                 IN THE
                      UNITED STATES D]STRICT COURT
                                                                                 RMffiffiIVffiIJ
                                FOR THE                                                        07 lafl
                      NORTHERN DISTRICT OF ILLINOIS                               \-t(0v
                            EASTERN               DIVISION                          THOMAS G. BRUTON
                                                                                 CLERK, U.S. DISTRICT COURT
April Redeaux                                              Civil Action #

                                                          1:17-cv-08060
 Plaintiff
                                                          Judge Virginia il. Kendalt
  V                                                       Magistrate Judge Susanr E. Gox
Karen Bowes, Gordon Nelson, Steve Wasko
Clarence Parker, Grace Dickler,
Gregory Emmett Ahern, J      ,
                                                   Jury Demand: $6.9 Million Dollars

Defendants




                      Complaint of Civil Rights Violations
                        Trespassing of the Laws
                                Treason
                          Jim Crow Violations
                       Judicial Corruption Conspiracy
                       Unequal Protection of the Laws
To the Honorable Judges of the United States District Court for the Northern District:

      Complainant a United States Citizen, April Redeaux., hereby respectfully
     represents as Pro Se shows this court with corroboration/admissions and affidavit
     the noted reasons why this matter should be within this court's Jurisdiction;
      {Pursuant to (A) Color (Title Vll of the Civil Rights Act of L964 and 42 U.S.C.
     le81)
     (B) Racc (Title VL1of the Civil Rights Act of 1964 and 42 U.S.C. 1981)
  Racial Discrimination, Racial Retaliation, Racial FIatred, Racial Oppression, Civil
Rights Violations, Unequal Applications of the Laws, and Disparate Treatment ori
the basis of race, color or national origin (42 U.S.C. 1981).

 'l-his court hasJuriscliction ovcr thc statutory violation allcgcd as confcrrcd as follows: ovcr
Title V1l claims by U.S.C. {1i31,28 U.S.C. {13,a3 @) (3), and 42 U.S.C. {2000e-5 (F)
(3); over 42 U.S.C. {1981and {f983 by 42 U.S.C. {1988; ovet the A.D.E.A. by 42U.S.C.
{121171.
  Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 87 of 156 PageID #:87


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                       N.RTHE**           53?J[?  rllrNors -f,f,ffiBI3fiHISS;
                                                          oF
                                   EASTERN DIVISION
[-ee Oties Love, Jr.
                                                        1 :1   7-cv-0 5482
 P'ain,iff                                              #:i:3":?::1lorril,:u;:'ffi1,,,
  V

Supreme Court of Illinc", Pamela E.I-nza,
Luciano Panici, James P. Murphy, Joshua P.        Haid     Jury l)cmzrnd: $7.9 Million Dollars

Defendants




                       Complaint of Civil Rights Violations
                         Ttespassing of the Laws
                                 Ttcason
                           Jim Crow Violations
                        Judicial Corruption Conspiracy
                        Unequal Protection of the Laws

To tlie Ilonorable Judges of the United States District Court for the Northorn District:

       Conrplainant a United States Citizen, Lec Otis Lovc. Jr., hercby icspecthrlly
     represents as Counsel Pro Se shows this court with corroboration/aclmissions and
     affidavit the noted reasons why this matter should be within this court's
     Jurisdiction; {Pursuant to (A) Color (Title V1L of thc Civil Rights Act of 1964 *ncl
     42 U.S.C. 1981)
     (B) Ilace (Titlc V1L of the Civil Rights Act of 1964 and 42 U.S.C. 1981)
  Racial Disctimination, Racial Retaliation, Racial Ffatrcd, Racizrl Oppression, Civil
Rights Violations, IJnequal Applications of the Laws, and Dispatatc Trcatmclrt ou
the basis of race, color r national origin (42 U.S.C. 1981).

 'l'his coutt has
                  Judsdiction over thc statutory violation allcgcd as confclr:cd as frrll<xvs: ovr:r
Title Vll claims by U.S.C. {7331,28 U.S.C. {Ba3 (a) (3), and 42 U.S.C. {2000c-5 (F)
(3); over 42 U.S.C. {1981 and {1983 by 42 U.S.C. {1988; ovcr the A.D.E.A. by 42 U.S.C.
{12117).
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 88 of 156 PageID #:88




        IN THE CIRCUIT COURT OF COOK COUNry, ILLINOIS
           COUNTY DEPARTM EI\T.-CHANCERY DIVI SION
U.S. Bank National Association, As Trustee Under)
Pooling and Servicing Agreement Dated as of      )
Decernber 7,2006 Mastr Asset-Backed Securities )
Trust 2006-NC3 Mortgage Pass-Through            ) Case # 2008 CH 33616
Certif icates, Series 2006-NC3                  )
                                   Petitioner   )
                                                ) JUDGE rrR.EDrlENNA LYI-E                                       FJ
                                                                                                                 c:5
V.                                                                     '                                         :3
                                                 )
                                                        )
                                                                                                :   : 1...1
                                                                                                                 i.:u ryl
                                                                                        '). ,t.,1                r:f  F
                                                                                                                                ,fl
                                                        ) ROOM 2808
                                                                                                                  -;'-
                                                                                                                                I
Monzella Y. .Iolrnson, A/I9A Monzella                                                    ,::-i...\: ,
                                                                                                                  ;              g'rt,
                                                        )                                                "<                      ti'-l
Jolrnson; Matcia 11. Johnson A/K/A Marcia
                                                                                        f,,   l'.-:
                                                                                        I
                                                                                                                       \1 (,.
                                                                                                                                    \</
                                                        )                                      ,;i.'1.1.1

Johnson: Mortgage Electronic Registration                                                ,, ,.           .., ,
                                                        )                                     'll
                                                                                                                      ,\\l
Systems, Inc. As Nominee for New Century                )
Mortgage Corporation; Monzella Y. Johnson               )
                                                                                                                         f\)
                                                                                                                         '.rl
( C ) Cestui Que Trust; Discover Bank;
                                                        )
Unknown Owners and Non-Record Clairnants,
                                                        l
                                         llespondents )


   RESPONDENT'S RESPONSB MOTION RE,PLY OBJECTING
JUDGE LYLE'S COURT ORDER DUE TO HBR & PLAINTIFFS'
ATTORNEYS "TRESPASSING UPON THE LAWS" JUDGE
ACTING AS A PRIYATB, CTTTZ]ON ENTERING COURT ORDBRS
VOID A NULLITY w/AFFIDAVIT
   Now comes Respondent, Monzella Y. Johnson et al. being represented Pro Se in this cause
respectfully represents to this court the reasons and files herewith her Affidavit in support ol'
Respondent's Response Motion Reply Objecting judge Lyle's court order due to her & plaintilfs'
"Trespassing upon the Laws" acting as a Private Citizen entering couft orders Void a Nullity
w/Affidavit.



            1.) To show fraud upon the court', the complaining party must establish
                that the alleged misconduct affected the integrity of the judicial
                process, either because the courl itself was defrauded or because
                the misconduct was perpetrated by officers of the court. Alexan.Qel
                v. Robertson, BB2. F. 2d 421,424 (gth Cir. 1989);

            A- A void judgment   does not create any binding obligation. I(alb v.
                Feuerstein (1940) 308 US 433. 60 S Ct 343. 84 L. Ed 370.



                                                                  EEEtGroup         Exhibit

                                                                               C
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 89 of 156 PageID #:89



  2. That Prusuant to the Oct 20,2017 court transcript, Pag. 4 Lioes 17-20,
       Jr.d6e Lrlle state d, " Tlre ruuson tltat f ntentiottecl these details is Lecause I
       tltinl< it *orrld Lu cli{/icr,lt {or the Plainti{d wlro clous Aawe this {ile in lter
       statetnent, bein6 that that is an indicalion tLat she tlat her {irnt c]icl not:
                                                                   -
       receive it, Lrrt she'siust olcinitryJ it
                                                -she is not swearin6i to it ttncler oatA et aJ."

  J    Tlrat Pa5e 10 Lio.r 21-24,P.g.11Lio." 1-2 J.rd61. Lsle state J, "I/ tlrnq lrrruu
       not {ilecl a ruply, then theq will just a4irre orally, arrd tlrerl v+,ill notLe
       reguirecl to suLruit it to tLe couri, bucurr"n Icertainly would ,tot it vyould Le
                                                                                  -
       late{ornze to5iet a reply at tLispoint. Tley *orrld lrauu to6!et it to ntewitAin
       seven clurlr"

  4.   Tlrat Pa6e 10 Lir.s 2O-22,J..d61. Lgle state d., 'Arrd do.*u lrunn u respotzse to
       that Motion /or their - lhey 65ot a Motion {or Srrrrrrrrary Jrrd6n un/. Did yot,
       resporcl?

  5.   Tlrat Pa6. 10 Lio.s 25-24M". Slr...r "r)r, ,rot srrrg qorrr Horror. I dorr't Lave the
       /ile in {ront o{rrru"

  0.   Tlrat Page 12 Lir.r 22-24,Pa5e 15 Lir.1, J..d6i. Lqie state J, "TlruruI orr,=
       thing tLat's ripeLu{oru lhe courl rigilt no-w, and tAat is tleirMotion lor
       Srrrrrrrrury Jucl6ruent". 'Arrd lirr 6!oin6J to take tlourMotion {or
       Reconsicleration - []l take that on Mouday ulro".

  7.    Tlrat Page 10 Lio.s 17-22J..d5. Lgle state d," Tlrurl ve
                                                                  5yven ttp the ri61ht to
       sulmil in writin5J to nte in response to tlourplead;ng. Bt t tlruy lruu" ao
       ubilitq and ri6At lo ar,lue on their Motion LaseJ on tle law o{ tlru case. A,rrd
       tltatb what Ln 61oin61 to allow thent to clo on Monclay, i{ tlzey so clesire".
           A-   J..d51.   Lrlle    making it a secret as she violates her oatle violatin6l
                                  is not
                R.rl.. o{ Civil Proc.drr. and III Sop Ct R rl.s.

  8.   That Page 17 Lioes 17 -20Ms. Sha* states, "Yorrr llorror is tLere any wal) we
       corrlcl get a copq o{ tLeir ordur well not tAeir orcler tAeirMotion to
                                        -                     -
       Reconsicler in tAe ewent that nty o/{i"u did not receive anythingl?"
           A- P..rs...nt to saidA{lldawit leereto attacleed.. F*A, Postestivo &
                                                                             22.2017 at       .1'10
                r:r, tU Joe Louis Lawrence-

  10. Tlrat   P€"   17 Lioes 8-o Mr. Mo,rrella Jolrrrro, stated, "Tlru    lu*   says   they
       cle{arrltecl *lreo tley lailed to lonor rlorrr orclrrperiod."
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 90 of 156 PageID #:90



   11.   P..rt...,tto Illi,ois Civil Proced.,.r. R..Ies, {ailure to {ile an answey, wl,.r. an
         answer is reguired, res.,.Its in the admission o{ tlr. alle6lations o{ tir.
         complaint,lll.S. Ct. R286 (.)Pirra"le Corp...Villa5e o{ LaLe in theFlillr,
         258 IU*. App.5d 205,100 IIr D"c 5oZ 650 NE 2d502 (2d Di"t.1gg4).

   12. TIr"t PIai,ti{{ properlg pl.ad to all {acts correctlg ire satd Motiore Strikires,
                          Plainti{        on {or Errt
      VA{{idatit negates anr; exteusiou o{ tiuee {or tlee Plainti{{ to respond, due to
       tltere not being 'Goocl Cat se Showrr'Bright.r. Di&., 1Oo LL 2d2}4,2log
       rLL Dec.755 052 Nr 2d275(1095).
           Justice I'Iarrison ,lulirurud the opinion o{ tlte cottrt:
       Tlte issue in tltis case is whellter a circttit court ntay penttit a parttl to reqzoncl
       to a request /or tlte adruission o{lacts or tlte
                                                         6lenttineness o{ docrrrrrunts once
       tlze 28 daq time lintit 4>eci{iecl Ly Rule 210 (C) (I54ILL 2d R PIO (") 1r","
       e4tired. For tlte reasotzs that {ollow; ,*e lrold tlat the court ntaq allo* ap
       unlinzeltl response *lrure tle del;nguenl party has slro.,-r, gsooc) cause /or tAe
       duluy in accorclance witlt R"1" 185 (I54ILL 2d R 185) Bucur,"u No Good
       Curr"e r.as slro*r, herq purn ission to ntalce a late reqtonse .*as prolterly
       denied. Tlte circuit court's ordur cl"rryin6i sttcltpenttission ancl tLe jttdgrruuf
       o{ the appellate court a#innin6 the circuil cottrt s orcler are lLerelore
         a#irn   ed.


   15.ThatP.6"I7lioes15-15J..JgeLglestated, ".*ull,ljttstvvantittoLec]un r
      tltatb not the law. Tlreq lrave a ri6ht to reqtond in writin5!. ft is nol ruandcttorq
         tltat they ,fo ro",

   14. Tlrat Page 18    Lir., l2-22Mr. Moor.lla stated,     "Iir,"t lrad wantecl to say tuhen
       ,lou lrud           to us ancl said that we were in,correct altottt tlte law, Iiust had
                  "poken
         wantecl, {or the record, say the law;Pursuant to 735ILCS slasL 2012 Co,.r,rsel
         ,euer oLiected to su#iencq ol Petitions in our Pleaclin6is either in {onn ol
         s_ulstance. Tltey must Le ruacle in a trial court Ancl i{ they|e not ,nacle tlrey'll
         Le considered waivecl ancl cannot Le ra;secl {or tie {irst time on usrpuul".

  15. Tlrai PaSe 19 Lio.s 2-ZJ..d5e Lgle state d., ',46ain, tlte entirc cocle cleals witlt
      c]i#erent sections, cl"als witL di#erentparts ol tlruprocuucliug. It Jeals witL
         thin6s that happen in the Le6Jinnin6i, tltin6ls tlat happen in tite ntidcllq thin6Js
         tltat ltappen in the end. And tAere are d;/{erent re5iularities that re6lulale
         those   activities"

  10.    ThaLPag.lg Lires 9-15 J*dg. Lgl. stated, "Ilrunu cliscretion, everL; day that
         I taku tLeLencL to allowpeol>le additional tirrru.Icorrlcl allowhermore time
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 91 of 156 PageID #:91



         to{ile a reply Lecause slte alleged tAat       sAe   didn't 6et t\e cloct   rert   that   yon
         sulmittecl".

   17.
         !io* tlr. O"t"t., 25,2017 C.                         That pa61e 4 Lilres l2_24,R.6.
         5 Lioes 1-2, Ms- Morrre]la Jolr.rrror, 'Goorl rrrorrrin6. we ar5slre on tlte Morion
         lor Reconsicleration to wacate the order{or SqttJrrrlru, iOtf excr}se
                                                                       t        -        nte -
         clue to tlte {raucl anc} treq>assin6y lron, the la,,.q urakio6 orcler woid an
                                                                                       a
         ,rrrllity Jue to /rattd on tAe courl'pttsuant to Sttprente corrrt Rrrlu IJZ
          Weweattaclrnd o,ra/liclauit val;datin6y tlru uujic]irr1 o{orrrclaimsLein6
         properly assertecl pursuant to lllino;s Strprenle Corrrt Rrrlu", uucl tlru Rrrlr,rs o{
         Illinois Gw;l Proceclrrru. onq tlat, tlratirncler 42 USC 1085 J (lr) u jr,rla"
         does not ltawe llte cliscretion ol wAellter or not to {ollovy tltu
                                                                             Srrpruruu iourt
         R"lq Lut a duty to {ollow rhe rttles, PeolrJ, versus Girsrrall et al."

   18. ThaLPage 6       Lt,,.s 17-22Mr. Morrr.lla Jolrrrso,, stated 'Aucl thirdly, that
         tlte Plain ti#s Aave {ailed to coruplq to the Jud6ei cottrt orcler,"onever
         requested leave to answer or ruqcorrl luter, therebrl, de{arrrtiu6, ancl
         stttttntary iucl6mettl was prol>erlq {iled ard seruucl ,rpon t\e PJaintills in .t
         proper   an   d ti* el y r, urr, ur   ".




   10. TharPa6" 8       Lio., 20-24,Pa5e 0 Lines l-15 'Arrrl ss pursuar,t to tlte Co,.rrtb
         directivg wlreu they {ailecl, tae Att5sttst 2J,t
                                                               -.*lrun'tlrey {ailed to respo,d -
         so pLrrsltant to the court s clirectivq tle 23d *Au6ttst
                                                                          ZJ Z1l7rrrotion {c,r
         srrrrrrnary Jrrddment tltat we /;led ouu" was, in {ict, /iled urrd prusentecl
                                                      -                                        in a
          tintely nlanrler, Ln_carrru tle treqtassin6J Ln"urr"u the plainri# appears ro
                                                        -                                         Le
         repltlin5l on tiis Court to 6o alon6 witA tlteir rrru"" Ly trespassin6J upo,
                                                                                             the
         Jr*. Auclso llis',.usprosrurly rurnud".Anrl alsq rriiA tlratLn;r] said, your
         Ilooor, tAe Plain til{s have lailecl to {ollow a, y o{ y our co,rt orrlur, aria;
                                                                                                t
         {indiust as cli"respectfitl as t\em rryin6! u            oirrlrorru, uoJ u"l, rlis court
         to accelerate tAe clate {or delault motion Lecarrs""ruul
                                                                     Plainti$ltas no cruclillu
         merit Lein6 lrere". Ilawe thetl Aave not
                                       -                  lcresettted a writtet. copl; to tlot:.rr
         Ilonor, as LJoLt ]rare asked ,r"".

  Z1.TharPa5,e I Lines 14-15J..d5. Lrlle state d., 'Aurl oow
                                                             we are on tlte Motlion
     {or Reconsideration "?
              A- That it is ciear the jud6ie's mind was elsewl.,.er..

  21. Tlrat Page I Lines 1g-24,Page 10 Lioes 1-5 Ms. Morrrella
                                                                     Jolrrr.o,, statecl,
      'Arrd yo, lrad aslrecl t
                                  to ul*y" 6Jive yott a courtestl copy. Tlteq /ailecl to
                                "
     6Jive you a cottrtesy copU, arcl *eltave not received anythin5y eitlter.Arr,l orrr
     clularrlt urrd orrr srrrrrnary Jttd6ment wuru /ilucl tiruelLl.,+trl7o
                                                                            *u ru uskirg
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 92 of 156 PageID #:92




      {or tlte consideration o{ tlru Court to reco4lnizg us *n lrawe slatef tltat they
      ltare - I ]taue Leett out o{ order and clisreqruct{rrl to the cottrt as yyell as lo tts
      in {ollovuings ,1orrr orclers in /ailing to /oJloy,v rlorrr orclurs, qorrr Horror. Tlrauk
                                   -
      aou .

  22.That Pa5,e 10 Lio.7-8 J.,dge LgIe state d,, "okuq. corrrsul, ouorrlcl yor,lil<e to
      take tltis ol4torlunity lo respond to lr"r urgrrrnent"?

  25. Tlrat P.g.10 Lio.s g-z2Mr. slrlegpak staied, "Yus, Lfiu/ly, ,1orrr Honor
       Tlrere's rto dispute that tAere was a sclruclrlirrg order tlat wac set on Jrly /81,
      and that we'weretT't aLle to {ile a ,ulrlv Ly tltat deadline, ruainly, Lucurr"o- u"
      ttztl colleaSSue presenlncl on the Seltteruber ft hearing, that .we didn't lrave a
      co1:y o{ tlteir reslconse in ordu, {or ,rs re1ilq to. Now; I dou'l dispute tlzat tletl
      ,rrurl lrauu rlros4tud o1/a copl; vvitl our o$ice. SomerAing lras4ruuucl, urrJ ouu
      iust didn't lrau" one to reply to. TAatb *hy .*hen we cante in o, SepleprLur Ir,
      *e askucl {o, an extensiott o{ tin e. And yorrr Horror gave us tlte 28 ,luy". W,
      Aare conryiied *ith that order, and that ordur                 stancl".
            A- Co.rrrrel ,rever denied or o\ected to.rrg"lrorrld
                                                              o{ tlr" pleadin6ls o{ tlr"
                R.sporrd"nt therebg walidatin6l theweracitg o{ {acts prop".l.; pl.,ed.

          B- That it is a 6ieneral R.J.. {ailure to deng an a}le6iation results in it
             beiu6l adneitted, in additiore to this l.gal precedent arrd lr.ca..se t)heg
              lra..e {ailed to artic*late su{{icient cause pursu.aut to In Re E tu.t. o{
              I\4icha]aL, 404 ILL App 5d 71 5J Z5         III
                                                            D"
                                                                "5Tj,054
                                                                             N.B 2a 69z
              (1" Ditt.2010), *akes it i,rpossil:le {or a,g court to applrl discretio,
              allowin5l an extension o{ tiro.'.

          C- Tlrat said Piainti{{s must assert sonre independent 6lround as towhg
             tleeir untim.l.; r.spo,rse sho..ld ]r. allo*ed.Ileroan lur,75lll.2cl at
             96;Gr..o.,75 ILL 2d at 102

          D- That Rol" 185 does 61ive judge's discretion to allow responses to be
             s.rv.d b.good the 28 dag limit, that cliscretiou does not come into
              plag under the nrle rroless the respon&n61partg can lirst show5ood
              cause {or the extension. H.rnaoder',r. Power Construction Co. (197.8)
              75ILL 2d 90,95_97).

   Z4.That          Line 25-24Ms. Monrella Johrrso, stated, "E*cr,ru rrru mab,r,
             Pa61e 10                                                                       I
      oliect - Corursel was saying-"
          A- That J..d5e L.;1. ,rer.r sustained or o...rr..l"d.rr.; objections the
             De{errda,rts made in court.
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 93 of 156 PageID #:93




  25. Tlrat Pa5,e   11,   Line 1 J..dg. Lr;le state d," Nor.-

   Z1.That P.8" 11Lio.10-11Ms. Morrr.lla Jolr.rrso, stated,             "Ii,             tlou6At Le
      lrad /irislted Lis sentence".                                            "orry.I

   27.ThatPa5.11Lioes 10-20 Mr. shlegpak stated, 'Arrrl u" ,lorrrHorrorlrud
      tttettliottecl, at the Selstentber It hearing, tAis is jttst a collttltotr cottrtestl tltat
      llte parties clo antott6st themselves, ,sk {or un exlension o{ tinru oulreo
      sont e tlti n 6 61 oes nz i ss i n 65 ".
           A- ]t is tlee counsels'admission lre{or. tlee court it is a ,orn al practic<, {or
                         to'Trespass opon the Laws" violate their oaths .rd e,gage i,
                l!"*
                aur          It
                  I reason' as innocertt citizens *Ieo are rictinr.s in tlee courts have their
                Ci.ril Ri5hts Viol.t.d.

          B- O"     the j*d6ies Court order it states'A r.rpoodinggpartg vrho lails to
               {ile a written response'will not be permitted to argue or.llg".

          C- Also, it states, fU".".rt *tt                                                          /
                                           ""t ".
             time which are rnade on tlee hearing date".

          D- Tlre court directs the parties' attention to tlee 6ieueral staudin6i orcl.rs
             o! tlr g Mor t61a5e For.clos.. r./M..lr.r, i cs Li eu Sec ti on *lri cl,
                                                                                        61o..o111
             all {ilir5r in this case. Motions or Brie{s         be strickeo    {or.,,riolatiou
                                                          -ag
             o{ this ord.r.
  28' Tirat said attorn.g lr.d tlee audacitg to trg and pass o{{ a "Fra..dt.le,t"
     doc*,re,t that was pr.rporiedlg {il.d, in that Page 28 Lirr., 15-1gJ.,d61.
                                           "
     LtSle stated,'Tlr. Motion {or Recorrsideration,.rkir5 me to vacate tlee
     September 1"t order, I'm goirrg to denr;,Ir.ca..,.s. tlr.g, ir, {act, clicl
                                                                                 -t[er; di,l
     corrrplg with the Sept.urber 1't oyd.r bg getti,6l it {iled;
          A-   Tlris sclr.errre ,ra.; llave worked ou persons inrith challeuges in the laws
               or ordirrarg Pro se individuals ]:ut not on a retirecl Polic. sergeant,
               purs*ant to the docu,rent tendered in co*rt, Pag. 55 Liue 5-O                  M,r.
               Slrlegpak stated, "YorrrlJorror fi, willing to6Jive them rrry
                                                                                          "o1rq".
          B- J..d6. Lgl., stated, Pa5e 55 Lines 7 -9 "Yo,          ve got a copv. I jrst want
               to nta,ke sttre vou ttet ore   ,ow, Tlreo lruI 6oin6i to 6live it to yo, ilght
               now

          C- That said doc*,rent purported to being a prop.rlg e {il.cl cloc,,:.e,t
             was a "FRAI-.ID" it states in the rrpper ri6lrt hand corner
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 94 of 156 PageID #:94




                       FT FCTRONICALLY FILED 9/29/2017 0,29 p,,r Pase                1   o{ 2 th,=,ye
                       are no additiorral uaAes notecl:

                  D-   Tl,at a,, additro,,"l FRAUDULENT DOCUMENI WAS E FILEfl,,
                       hereto at tached, a n otleer ELECTRONICALLY FILED docureren t
                       9/29/2077 O,Z2p,."Pueul o{ 44b*t at tlee bottorn CERTIFICA II,
                       OF SERVICE, I Artapon{l Sriratana an attorner;, certi{g dspgslU!6
                       the sarle in the lJ.S. mail at 225 W. Jackson Street .......be{ore the llo..r
                       o{ 5,00 p* o, Fel:r..ar.: 5. 2015 *ith proper postage prepaid.

    29.ThatP.6" 11Li".24,P.ge 12 Lir.1Ms. Mo.rrella stated , "Yu" r.*untecl to
       olject."
          A- That is whg J..dg,e Lgle did evergthin6l in her ..rrl.r.rl..l power trging t
              to con{use the issues o{'what the De{eredants lr.d prop.rlg ar6i*ecl in
                       her court;

                  B- That the jrid6le and attornelJs assunl.d tlr. De{errdarrts'were iguoralt
                     o{ the la*s wh.n in {act it was their i6lnorance trgiug to use the laws
                       .rd   u.   crooked1..d5,.   i, trging to steal saicl home!
                  C-
   50. Tlrat Page 15 Lio.s 2-O J..d6ie Lgle state d., "AJl ri6ltt. We are lookin6 at
       Respondurtt's Motiott {orReconsiJeration to Vacate ruy Orcler o{SelttenrLer
       I', *Licl, allowed tLurr, 28 durls or,ntil septerrrLer 2otr, to replq to your
      Motion {or Sr,rrrrrrarrl Jrrd6lrrurrt. It is clear,'aod Corrosul lras acJn o*iud6So=d
       tltat they, in {act, clid not {;le a reply. TLat iowever, is not 5yrouncls {or me, to
       vacate an orcler5jiwin6i tlent tirue to replq."

   51. Tlrat Page 16 Lires 5-8 J..d5. Lgie state d., 'And ro thatb *lry I* sayinll,
       that's oou o{ tlre problurts that we re havinSi. Iin trlliny to kuq, everrltlrirr6y
      strai5lAt. So it's response to pleacling, Lasically, it's a Motion to Strike their
      Motion /o, Srrrrrrrrarq Jrrd6yrrruot. Did you ruqrorrd to tltat"?

   52- Tlrat Pa6e 16 Lirr.r 9-10 Mr. Slrlegp.k stated, " Tlrat's-*lry we didn't resTrorrd"

         Pursuant to Roth v Roth, 45 ItI. 2d 19, 256 NI. 858 (1920),
         Pleading-Failr.rre to respond to adversar.l pl..dirr6 mar;
         constitute admission o{ all {acts pl.aded. As a p.,rpose o{ pleadir5 is to
de't .iop the iss*es to be determined, a {ailure to respo,d to a, u.d...rr.rr; pl.a.lirrg
mar; constitute an admission o{ all {acts well pl..d.d br; the adr.rsarg, arrd
adru,issions thus dra*r, {ro,r {ailure toplead,r..; lr. considered as ...iJ.rrc.. (S..
Mooreg   't   .   Uod.r*riters at Llogd's Loodoo,55 ILL. 2d 506. P"ople .* rel. Lac..osLi
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 95 of 156 PageID #:95




v.Backes,19lLL 2d,541,545;s.. also,ILL RevStat.lgo7, ch 110 p.r.40 (2);
Nichols, Illinois Civii Practice, 1900, 1255.
                                           "."
     55.That Plainti{{'s origiinal Co,rplaiut'was {il.d o, Septemter 11,2008.rrc}tLe
        First Amended Cornplaint was {iledJr.rre 7,2016'; .
            A- Tleat on the lac. ol Plaiuti{{'s legal instrtr.me,t demonstrates 755 ILCS
               5/13-205ts appiicable to ihe a{orementioned reratter;

     54.Plaiuti{{s t e.rer challen6led or atteurptec} to vacate the courts orcler wacati,g
        the Jrrne 2,2010 For"clos..ve jud61me,t, p.rrsr.ra,t to 755 ILCS 5/2 l5O1^n
        untimelg motion to vacate jud6lmeut'*ill ordinarilg ):e construed as petitiop
        {or r.li"{ {vo,r {i,al j*d61neent ..rrd"r Illinois Cod" o{ Ciwil Proc"d..r.. Loclolce
        v. Centrai D* Pa6,e Hosp., App. 2 Dist. 1991, 15g nL D.". 789, zo nL App. Jcl
        902,576NE.2d 458,.pp.al de-ied 1O4nLDec. g18 et al.

     55.Tlrat the Plaiuti{Is lrad a ,r..,.n ber o{ attornegs to appear lr.{or" tlee court
        inducin6l ,.li.rrc" without {ilin6 appearances iu an attempt to b..i}g ancl
        intimidate the de{endant's accepted the a{orementioned orderwhicfi is
        d..n ed a j ud61,re, t o{ J*ne 2,2010- - -wleere j udgme' t'was e,tered in t:rial
        court at tim.e wleen plaiuti{{ was represented Irg co.lrrsel .rd de{errdant was
        in court iu person, .rrdl..d6,rreut order *..s oku..;"d bg de{.rrdant in person
        .rrd lrg plainti{{ tlerou6lle leis attorner;, j,dgneeut 'was not woid. Ni&criroo .o.
        Lowenstein, App. 1960, 77111. App .2d,97,%T2N. E 2d 152, certiorari de,nied
        88 S. Ct. 62,589 U.S. 825 et al.

     5O.Tirat pursuant to ILCS 5/2-1,401(.)ir 6i..rrrane i, this cause, ip t[at said
        ord.t was tlever challen5ed or wacat"d.rlr"rel:u anLJ court ord.r enterecl
        a{ter this ord.r is Void aNullitg
            A- That o, J..rre 2,2010 Court ord.r signed lr9 CooL Countg J.rd61"
                Pa*.I. Gillespie "Thecourt on its own motion wacales thejttcJAment
                o{ {oru"lorr,ru   {o,lu.k o{, .rropur u/{irlunit   ir,
                                                                         "rrouort"
     57.That the Plai,ti{{s ar. expecting tb.is court to i6lnore tlee De{endants le5,al
        a{{idavits and meritorious de{enses arrd d.rr.; angtlein6i ther; submit arrd
        contiuue to'Tr"spass upon theLaws" ard corrolrorate their roles i1 a1
        "Or5.rir.d Conspiracg" en6laging in'Tr.usorr" J*e to tleeir skin color be,i16
        A{rica, A,rerican ard tlre {act theg ar. Pro se arrcl that Jud5ie Lgle lra.
        deuronstrated her alie6liance to the Dernocratic Partr; .. .'Tr.rp.sser o{ the
                                                               istinA tleePlainti
          Section 2-140l.lso codi{ies the common law that a voicl orcler
        atiacked at ang time. The petitioner does not ha..e to aile6e {acts ";;1"
                                                                               to support a

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Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 96 of 156 PageID #:96




       me/itorious de{ense or the exercise o{ d.l. diligence to vacate a woid ordo:r.
       Sirrce a void order is a nullitg {roir its inception, the order.nzill irawe no le,6al
       e{{ect. The neost commorl e*an ple o{ a vold ord., is one *lr..r. the court
       lackedpersorlal or sub5ect matter jurisdiction ower tl'r.e sutiect matter oy
       parties. A court rvill not set aside a jud6lrreret ligletlr;. Courts are mind{ul that
       collaterallg attackiuS, jud6lments could lr..r. disastrous conseguences in an
       orderl.l administration o{ justice. TIl..s a court'will onlr; woid an ord.r i{ tlrere
       is no other alternatiw.. Ford Motor Credit Co..r. Sp.rry, 214li.1.2d571,8c27
       NI. 2d 4n,292lll. D.c 905 (2005).

   58. TLat the Plainti{{s ira.re exlrausted everu methocl r-rni,raginable trgin6l t,c
      steal De{endant's l-,.orrre i, tlee dis5,*ise o{ "For.clo"or." i, spite o{ th.Iarrs
      demonstvatin6 "Fraud" .rrd that tlee D.{.rrd.rrts are eutitled to Egr.al o{
      Protectiou o{ tlre L..n,s in Illinois, pursuant to Federal statutes;

        In ord.r to determine whether trial collrt lr.s at..s.d its discretion i,
       decidinS motion {or Ieave to {ile aro.rrded corerplaint, App.il.te Co.rt looks
       at the {ollowin6l {our {actors, 1).n.h.ther proposed ..*errdrrre,t wot,.ld cur,=
       de{ective pleaclin6; 2.)*leether other parties *o..ld sustain prejudice or
       surprise bg virtue o{ propored .rrerrd*ent;5.)whether propor.d ameudment
       is tineelg;"t d 4.)'*leether prewious opportuuities to artlerrd pl.adin6 co..rld I:e
       iclenti{ied. Mcllale ''.. W. D. Tru&in5, Io"., App 1 Dist. 2015, 5gO Ill. D." 40,
       59 N. E" 5d 595, appeal denied et al.

           A- That attorneg Dutton, Barlr.r.    nerrer at ang time {iled a timelr;
               appearance pursuant to the Illinois Cod" o{ Ciril Proc.d.r.res evc,)rrl
               aPpearanc. slrall be {iled witlein the tirne {i*.d br; the r.rl" o{ t[e
               S..pr.rrr. Court;

           B- That lr.c...r. the attorneLJs   as demonstrated i, this ,ran,er ha... ]:ee,
               al:le to mislead tlee court ,..cc.ss{.rJlg tlee couyt rlerrer had;.rrisdi,:tion
               on the ori6iinal cornplaint;therebr;, nrJli{ging anr; le61al action iu tleis
               ,ratter due to di.lrolic.l acts o{ "Fru...,d"

                         great iatitudeis permittecl in prowin6l {raucl C.J.S.fra..d 104
- -Elqgd-edmissibilitu
ET Se5. Fra..d 51'-57.*lr.er. a guestion ol {ra..d and deceit is the issue involrecl ln a
case' 81eat latitude is ordinarilg pennitted in the introduction o{ eviderrce, arrd
couvts allow the 6lreatest liberaiitrl in the metirod o{ exanr.ination and in the scope o{
ingrrirr; vigus v. o'Bannon, lBgo B N.E 7BB, 1l B ILL 3s4. Hazetton v.
Carolus, 1907 132 ILL. App. 512. Pursuant to this precedent, hereto attacheld,
Gr Ex A ln the matter of Elena Fedorova v. Chicago Community Management,
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lnc. et a|.14-L 3632 Petition to Vacate Void Judgment actual assertions of judges
acting as "Trespassers of the Laws,,.

Hereto attached Gr Ex B Motion for Reinstatement of Default & Surrrrrrary
judgment due to Judge Vaiderrama Trespassing upon the Laws Committing
Treason Making the Order "Void A Nullity" w/Affidavit, the case was never
reassigned back to him fromJudge Mikva's court,Judge Valderrama entered
orders outside of his judsdiction "fixing" it for the Defendant's DENIED
PlaintifPs Motion hereto attached court order;

                  1.) In that said, Seventh circuit court of Appeals held that the circuit
                      Court of Cook County is _a criminal enterpris e. IJ. S. v. Murnlly,
                      768 F. 2d 1518. Lfi1 (lt' Cir. lgSS\. In tt at, sarcl iuag"s al.e now
                      deemed as "Organized Terrorist"

                                                                        olher iud'
                    /.r   in                                       1   . and since no iud'
                       rted                                                 n conud'e
            othcr iu.dpes are as guifht as tbe conuicted iudses"

                  2') That          of the continuous unlar.vful acts of so many Democratic
                               because
                      judges engaging ir1 "Treason" When judges act wlrclt they clo
                      uot have jurisdiction to act, or they enlbrce a void orcler (au
                      order issuecl by a judge without juriscliction), they become
                      trespassers of the law, and are en,qaged in treascltr.

                  3.) That because of the afbrementioned coutinuolls acts ol'
                      Democr:atic juclges not lbllowing the lzrws o1 the United
                      States Constitution they continue to "Trespass upon the
                      Laws" engaging in "Treason".

        TNDUCING RELIANCE
        To pr-evail in a cause of action for fraud, Plaintiff must prove that Defenciant
        made statement of material nature which was reliecl on by victirn and was made
        for purposes of inducing leliance, and that victirn's reliance led to his injury.
        Parsons V. Winter, 1986, 1 Dist., 4gl N.E. 2d 1296, 96 tLL Dec. 776,
         142 ILL App 3d 354, Appeat Denied.

           ln carter v. Mueller 457 N.E.2d lsgs tLL. App.               r Dist.-tgBSThe
        Supreme Court has held that: "The elements of a cause of action for fraucJurlent
        misrepresentation (sornetimes refened to as "fraud and cleceit" or deceit) are:
        (1) False statement of material fact; (z) known or believed to be false by the
        party mal<ing it; (3) intent to induce the other party to act; (4) action by the



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         other party in reliance on the truth of the statement; ancl (5) damage to the other
         party resulting fi'om such reliance.

         U. S Sup Court Digest 24(1) General Conspiracy

         u.s. 2003. Essence of a conspiracy is an agreement to commit an
         unlawful act.-u.s. v. Jimenez Recio, 123 s. ct. g1g, 537 u.s. 270, 154
         L.Ed.2d 744, on remand 371 F.3d 1Og3

             Agreement to commit an unlawful act, which constitutes the
         essence of a conspiracy, is a distinct evit that exist and be punished
         whether or not the substantive crime ensues.-ld.
             conspiracv poses a threat to the public over and above the thre4
                                                    nt;ve crime, Ootn Oeca tne
              ination in crime              likelv t             ion of ot
                                                   their                 li


             CONSPIRACY
         Fra.rd,rra.;be iu{erred {ro,r,ature o{ acts complai,ed o{, inclivicl.ral a,cl collectiw<:
         interest o{ alle5ed conspirators, situation, intimactl, and relatiol o{ parties at time
                                                                                                 o{
         commission oI acts, u.rrd 61.t .ru.llg all circumstances precedin6
                                                                 ald attelclil6i
         cnlrrrinationo{clai,red co*spiracg ltlinois Rockford Corp. V. Kulp, l96g,
         242 N.E. 2d 228, 41 tLL. 2d 215.

                                                                                                .
                                                  people V. H"rdi*", l9SS, gll D<zc.
                                                      .
162, 108- Requisite mens rea elements of conspira"y u." satisfied upoir showings of
agreement of offense with intent that offense be committed; Actus r-eas element
                                                                                is
satisfied of act in furtherance of agreement People V. Mordick, l9Ll, S0 ILL, Dec.
                                                                                    63

           Supreme Court Rule [137] provides in pertinent part:
              lf a pleading, motion, or other paper is signed in violation of
       this Rule, the court, upon motion or upon its own initiative, may
       impose upon the person who signed it, a represented party, orboth,
       an appropriate sanction, which may inctude an order to pay to thre
       other party or parties the amount of reasonable expenses incurrerd
       because of the filling of the pleading, motion, or other paper,
       including a reasonabte attorney fee. Not only will the courts consider
       an award of sanctions for active fatse statements: failures to
       disclose material facts to the court can atso justify an award of
       sanctions.

       BRUBAKKEN v. Morrison, No. 1-9-1620, 1992 ilt App. LExts 2144 (1"
       Dist. Dec. 30, 1gg2). Additionally, the fact that a false statement or
       omission is the result of an honest mistake is no defense to entry of
       a sanction. lD. To the extent that an individual lawyer has engag.ra in

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        sanctionable conduct, that lawyer's firm can also be joinily and
        severally liable with the lawyer.


        Iu tha't everg attorn_eg has prop.rlg admitt.d to every assertion properl.tr
        presented in all A{{idawits and Motious tut some jod41., are stiliop.r.tio5
        arrd .o{orcing Jim Crolrla*s trging to steal ,.idlo,re.,

 The Chicago Daily Law Bulletin, wednesday April 26,2006,page L, rlinois political
Machines help breed corruption, Associated Press wliter Deanna Bellandi states, "il.linoi.r
                                                         I breedi

fhat Chico.go is the,rr                                   Huffington post, Internet Newspaper,
February 23,2012 University of Illinois Professor- Dick Simp son, "Th,e two
          t,n
                                                                                        worst crime
2.9,"e,s in   lllinois are thq qovernor's *arsion.....and, tl.re citv towtcii. clra.rlbers in
              Il.l.inoi.
                                                                             r State   ca.n mcttch.




In Accordance to all of The cook county circuit court Rules

         MEMORANDTIM OF LAW IN SUPPORT OF TFIE REIIEE
                        REOUESTED




                                                l2
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 100 of 156 PageID #:100




                                                                             (1es8).




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                    .cts where he{she crgglnot have juriscliction ro acr, rrre jucrge
 Y**::l,,+-ji1s,"
'rs engaged in an act ol acts of :treason. u.s'v,                                  "
                                                  will,44glu.s. 200,2h6,101

                                              T3
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 101 of 156 PageID #:101



       ;!7 \,                                                                               (6 \{nsa0
       !,190:,




            The canotls of clhic jn the Rules of Prof-essional Conduct constitnte a salb
                                                                                                    _uuicle
 for prOfe.ssional conduct, and attorneys nray be clisciplinecl for uot obsewing them. 1n rc
 Hinunel' 125 iil.2d 531, 533 N.E.2d 7go, tz7Ill. Dei 708 (1988). Aithouglitliey
 represent the best lhoughts ol the or-qanized bar, it has been held that these canons are
 tton-enforceable other than through the clisciplinary proceeclings. Ettingcr: v. Rolewicl<,
 140 IIl.App.3tl2c)5,488 N.E.2d -s9it, 94 lll.Dec.599
                                                               11't Dist. iosrr;. Disciplinar:y
 ploceedings anci snnclions are strictly within the province of the Suprerne Court. llcccl
 Yotes Funns. [nc. v. Yote,s, t72 Ill.App.3d 5i 9, 526 N.E2d l l ] 5, 122 Ill.Dec 576 (4tt'
 Dist.). appcttl clcttiad, the Illinois Supreme CouLt, tirrough its tlisciplinar.y zrrnr, tftc
 Attorncy Ilegistration atrtl Disciplinar:y C-clmrnission, is the only fcirunr for exacting sruch
 pttnishnrerrt. Iletlle v. Edgcnrarl; l:'in.a.ncial corp., zg7 IlI. App. 3d ggg. (;g7 N.E.2d g20,
 232111. Dec. 78 (l't Dist. I998). The ultirnate authority to le-rulate ancl clefine
                                                                                              rlre practice
 01'lar'r' rcsts rvith the Sttpleme Court. Pertct t,. lJottrll rt'Revieyv, Ill.in.oi..; Depcu.ttttctfi
                                                                                                       td'
 Ernpl.o),rttt,nt ,securitv. 274lll. App.3cl 495, 6-54 N.E.2cl z3z, z1o lll. Dec. gn
                                                                                               eaDisr.),
 appcttl. deticd, 164 lll. 2ct 581 (1995).


 Ethics
      AII lllinois lawyers must be famlliar with the lllinois Rules of professional
 Conduct, and trail lawyers must be particularly familiar with the rules that apply
 specially to them.

        RPc 3.3, entitled "conduct before a Tribunal," sets forth the
 standards to be followed by the trial lawyer during ,.battte.,, section (a) of
 that rule states:
        (a) ln appearing in a professional capacity before a tribunal, a lawyer
            shall not:
               (1) make a statement of material fact or law to a tribunal which the
                   lawyer knows or reasonably should know is false;

                  (2) fail to disclose to a tribunal a material fact known to the lawyer
                      when disclosure is necessary to avoid assisting a criminal r:r
                      fraudulent act by the client;

                  (3) fail to disclose to the tribunal legal authority in the controllilg
                      jurisdiction known to the lawyer to be directly adverse to the
                      position of the client and not disclosed by opposing counsel;


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               (a) Offer evidence that the lawyer knows to be false. tf a lawyer has
                   offered material evidence and comes to know of its falsity, the
                   lawyer shall take reasonable remedial measures;

               (5) participate in the creation or preservation of evidence when the
                   lawyer knows or reasonably should know the evidence is fglse ;

               (6) counsel or assist the client in conduct the lawyer knows to be
                  illegal of fraudulent;

               (7) engage in other illegal conduct or conduct in violation of these
                   Rules;

               (B) fail to disclose the identities of the clients represented and of
                   the persons who employed the lawyer unless such informa.tion
                   is privileged or irrelevant;

               (9) intentionally degrade a witness or other person by stating or
                   alluding to personal facts concerning that person which arel not
                   relevant to the case;

              (10) in triar, alrude to any matter that the lawyer does not
              reasonably believe is relevant or that will not be supported by
              admissible evidence, assert personal knowledge of facts in issr.re
              except when testifying as a witness, or state a personal opiniol as
              to the justness of a cause, the credibility of a witness, the culpiability
              of a civil litigant or the guilt or innocence of and accused, but a
              lawyer may argue, on analysis of evidence, for any position or
              conclusion with respect to the matter stated herein;


 Acts constituting direct, criminal contempt
         A wide variety of acts may constitute a direct, criminal contempt. And act
 may be criminal contempt even though it is also an indictable crime. Beattie v.
 People,33 ilt. App 651 , 1 BB9 WL 2373 (1't Dist. 1 BBg). As is making fatse
 representations to the court. people v. Katelhut, gzz lll. App. 693, 54 N.E.2d
                                                                                 5g0
 11't Dist. 1944). Misconduct of an officer of the court is punishable as contenrpt.
 People ex rel. Rusch v. Levin,30s lll. App. 142,26 N.E.2d Bg5 (1.t Dist. lg3g).

        Official misconduct is a criminal offense; and a public officer or
 employee commits misconduct, punishable by fine, imprisonment, or both,
 when, in his official capacity, he intentionally br reckless,ly fails to perform
 any mandatory duty as required by law; or knowingty peiiorms an act
 which he knows he is forbidden by law to perform; or with intent to obtain a
 personal advantage for himself or another, he performs an act in exces;s
                                                                                of
 his lawful authority ....S.H.A. Ch 38 33-3.

                                           15
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 False statements
         Censure was recommended sanction for attorney who engaged in conduct
 involving dishonesty, made statement of material fact or law to
                                                                     tribunal which she
  knew or reasonably should have known to be false, and failed to disclose
                                                                                to
 tribunal a material fact known to her when disclosuie was necessary to
                                                                              avoitl
 assisting criminal or fraudulent at by client, given that attorney's misconduct
                                                                                   was
 not result of dishonest or corrupt motive, bui of misguided attempt to
 accommodate clients. g9 lll.Atty.Reg. & Disc.comm. sHt        1
         Three-year suspension was recommended sanction for attorney who
 engaged in conduct involving dishonesty and fraud, made statement of materrial
 fact to tribunal which he knew or reasonably should have known was false,
                                                                                  ernd
 offered evidence that he knew to be false and failed to take reasonable remedial
 measures. 96 lll.Atty.Reg. & Disc.Comm. SH 358.
         Disbarment was recommended sanction for attorney who engaged in
 conduct involving dishonesty, made false statements of material fac'[ o--r law to
 tribunal which she knew were false and engaged in conduct which tended to
 defeat administration of justice. 95 lll Atty.n"g. a Disc.comm. cH 877.
         Censure was recommended sanction for attorney who made statements
 of material fact or law known was false, and engaged in conduct which was
 prejudicial to the administration of justice. 95 lll Atty.Reg. & Disc.Comm.
                                                                               CH 504
         One-year suspension was recommended sanctiJn for attorney who made
 statement of material fact which he knew was false in appearing in professional
 capacity before tribunal, made a statement of material fact which he knew to be
 false in course of representing client, and engaged in conduct involving
 dishonesty. 95 ilt Atty.Reg. & Disc.Comm. CH lgf .
         Disbarment was recommended sanction for attorney who engaged in
 serious misconduct by making misrepresentation during hi-s divorce-pr6ceeOings
 and who was a recidivist. 94 lll.Atty.Reg. & Disc.comm. su+og


 Fraud on court
         Two-year suspension, retroactive to beginning of interim suspension, was
 recommended sanction for attorney who made statement of material fact
                                                                            or law
 to tribunal which lawyer knew or reasonably should have known to be false,
 instituted criminal charges as prosecutor when he knew or reasonably
                                                                         shou6l
 have known that charges were not supported by probable cause, committed
 criminal act that reflected adversely upon tawyer;s honesty, trustworthiness,
                                                                                 or
 fitness as lawyer, engaged in conduct involving dishonesty, fraud,
                                                                    deceit, or
 misrepresentation, engaged in conduct prejudicial to administration
                                                                     of justice,
 and engaged in conduct which tended to biing courts or legal profession into
 disrepute. 96 ilt. Atty. Reg. & Disc. Comm. CU t f g.




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 Unt:l   penalties as provided by law pursuant to7351265
                                                               5\1-109, the upciersiglecl
 certifies that the statements set forth in this instrument ale true
                                                                     ancl correct, except ari to
 tnattets therein stated to be on information and belief and as
                                                                  to such mattels, the
 undersigned certifies as aforesaid that he verily believes the
                                                                  sarne to be true.




                                                                                 rl1,   Pro ge

                                                            Chicago, Il
                                                             713 835-5849



 WI-mREFORE th" a{orementioned reasons D.{.,,d.,,t respect{ullg Pr.gr lor t}re
 Reli"{

     1.   For an Order Reinstating Defendant's Default and Summary judgrnent
          with Prejudice

    2.    For an  order lmposing Sanctions in accordance to sup ct. Rule 137
          for deliberate misrepresentations to the court;


    3.    For the entry of an Order awarding to your Defendant for such other relief
          and any other relief necessary'as equity may require of which this court
          may deem overwhelmingly just;

 Under penalties as provicled by law pursuant to 735 1265 5\1-109, the unrlersignecl
 certifies that the statements set forth in this instrument are true and correct,
                                                                                   except
 as to matters therein stated to be on information and
                                                          belief and as to such rnatters,
 the undersigned certifies as aforesaicl that he verily believes the
                                                                     same to be true.

                                                                      y   Sr-r




                                                              773 835-5849




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                            IN THE
              CIRCUIT COURT OF COOK COUNTY, ILLINOIS
              COU NTY DEPARTMENT..CHANCERY DIVISION

 U.S. Bank National Association, As Trustee Uncler)
 Pooling and Servicing Agreement Dared as of
 December l,2006 Mastr Asset_Backed Securities
                                                  t
                                                  )
 Trust 2006-NC3 Mortgage pass_Through
 Certificates, Series 2006-NC3
                                                  t Case # 2008 CH 33616
                                                      )
                                       Petitioner     )
 vl)                                                      JUDGE FIlllDRENN A LYLL*I
                                                      )                                {i:r
                                                                                          I
                                                                                                       -fl
 Monzella Y. Johnson, A/K/A Monzella
                                                      ]   ROOM   2808         i   ,,
                                                                                        t:l)
                                                                                         -;.:          l*
 Jolrnson; Matcia E. Johnson A/I</ A Marcia
                                                      t                                                 trn
 Johnson: Mortgage Electronic Registration
 Systems, Inc. As Nominee for New Century
                                                      t
                                                      )
                                                                                          r-fl

                                                                                               \l
                                                                                                        q
 lvllg_age Corporarion; Monzella y. Johnson
                                                                                                         C.-)
                                                      )                                        i-.)
       Cestui Que Trust; Discover Bank;
 _(C-)
 Unknown Owners ancl Non-Recold Claimants,
                                                      )                                        ;Ur,l
                                                      )

                                       R.rpord"rrt,   l

     RESPoNDBNT, S RESPIRffi ?".&,oN REPLY oB
                                              JE CTING
 JUDGB LYLE'S COURT ORDER DUE TO HER & PLAINTIFFS'
 ..TRESPASSING
               {IPON THE LAWS" ACTING AS A PRIVATE
 CITIZEN ENTERING COURT ORDERS
                                  YQID A NULLITY
 w/AFFIDAVIT
 Please be advised that on Nov. 15, 20lT,Defendant
                                                       has filed before this circuit court,
 Motion Strikirig & objecting Plaintiff's Motion et
                                                     al; and will preselt said legally
 sufficient instrument before Juclge Lyles or any
                                                  Judge in her steacl 12-6- zOlT,at 10::30
 am in roorn 2808.



                  U.S. Attorney
                  John Lausch
                 219 South Dearborn Suite 500
                 Chicago, Ill 60605




                                             18
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 106 of 156 PageID #:106



      Cook County State,s Attorney          ChiefJudge Timothy C. Evans
      Kim Foxx                              50 VTest \Tashington, Sr-rite 2600
      50 \X/est \il/ashiugton, Suite 500     Chicago, Ill. 60601
      Chicago, iU. 60601


 Potestivo & Ass., pC

 223 West Jackson, Blvd, Suite 610
 Chicago, IL.60606


                                CERTIFICATE OF SBRVICE


                                                                       rnents were caused to
                                                                             bre 5:00 pm on


                                                                 ,   Monzella Y. Johnson




                                           t9
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 107 of 156 PageID #:107



           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
              COU NTY DEPARTM ENT..CHANCERY DIVISION

 U.S. Bank National Association, As Tr-ustee Under)
 Pooling and Selvicing Agreement Dated as of      )
 Decembel 1,2006 Mastr Asset-Backed Securities )
 Trust 2006-NC3 Mortgage Pass-Through ) case # 200g                          cH   33616
 Celtificates, Series 2006-NC3                    )
                                          Pet-itioner       )

 v.                                                         ',   ;ro"u   FREDT.ENNA r-..r-E
                                                            )
                                                            )    ROOM 2808
 Monzella Y. Johnson, AIK/A Monzella         )
 Jol'rnson; Matcia E,. Johnson A/K/A Marcia )
 Johnson: Mortgage Electronic Registration  )
 Systems, Inc. As Nominee for New Centur.y
                                            )
 Mortgage Colpolation; Monzella y. Johnson )
 ( C ) Cestui Que Trust; Discover Bank;
                                            )
 Unknown Owners and Non-Record Claimants, )
                                                            )'                                        !i,
                                          Respondcnts       )
                                                                                              I
                                                                                                  .,, -i     2
                                                                                                       *      t--
                                                                                          ''tt-''\'

                                         AFFIDAVIT                                         'l'J-:"l" u2
                                                                                            i,i,itri 'J -,
                                                                                             t;!:;a
 srArE oF rl,I,rNors              )                                                               tt'*t
                                                                                                            T,
                                                                                                             ur
 couNTY OF COOK ')
                                                                                                     ''

 I Monzella Y. Johnson Pro    Se being dutry sworn on oath states the aforementionecl
 pleadings enumerated within said motion pursuant to 735 Lz6s slt-109, the
 undersigned certifies that the statements set fbrth in this instrument are true and
 correct, except as to rnatters therein stated to be on information ancl belief ancl as to
 such matters, the undersigned certifies as aforesaid that he verily believes the same
 to be true..     -"\
                        \
                llySubrmittedl                                         Notary
            , ,y'Z C'"
                                                   n
                              i't-c."q,?____--_   A,,r/o,cx^^ aai ^,r,^,^ to
                                                  /sl.rpsrnoeoFno sworn
                                                                          r^ L^r
                                                                             beforc me
 Monzella           nson
 5217 S.   In       e.   Av
 Chicago,Il        15
 773 83s-s849
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 108 of 156 PageID #:108




                                                  AFFIDAVIT
 STATE OF ILLINOIS )
                                 )
 COUNTY OF COOK )


 I   Joe Louis Lawrence, counser pro se being
                                              duly sworn on oath states.
                    1')         on September 22,2017
                          l'hi!
                          Re Notice
                                                       at3:10pm a copy of Respondents,
                                    Motion for Summary Juclgment due to (.Fraucl,
                                                                                    et
                          al. Motion for Default and Respondents,
                                                                  Motion frir
                          Reconsideration vacate (s.eptembe, t" zoii
                          served on Bryan a Caucasian male in mid qO,,
                                                                      o.a"lj", ,r.Eiu."
                          Jackson, Blvcl Suite 610, Chicago,                          -ir,. i'"":? 3
                                                                                    ^i)ii,W;;E
                                                                 III.                              F
                   2') That the surveirance      cameras wourd verify each t'i$
                          Joe Louis acted as a speciar process server
                                                                                          '*il;,$
                          departed from the building.                 "rrt*..ti:qiai'-
                                                                               .-i---l'r:, \.i
                                                                                                     Y"'t ,
                                                                                          i.i.fltz   l..)
                   3.) That i, orcler to get crose to Bryan you
                                                                have to rr" nrrl-[.I int'"t
                       which is how service was effected ptaced in his
                                                                                    hands.



                               FURTHER AFFIANT SAYETH NOT




Respectfully Submitted

 \_c_l_<,^
Joc\Louis l,r*r*F
P. O. Box 490075
Chicago, It. 60649-0075                at Chicago,
312 965-64s5
Twitter @joelouisT
Email joelouislaw @yahoo.com
                                              I   _^_ "OFF|C|ALSEAL"
                                              E   ROCHELLECLOSURE_SrANrono
                                                     &trry Pubtic,    State of iltinois
                                                     Commission
                                                     '               Expires gl23n1?1
  Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 109 of 156 PageID #:109
               L..q                                                                          EI-I]C'IRONICAI,I,   iilI;
                                                                                                                          -- .I
                                                                                                  912912017 6:2t t>M

                                                                                                                              I




  U'S' Barrl< Natiorrar Associatio,, as Trustee urrcrer.poorirrg
                                                                 arrd            )
  Servicing Agreerrent Datecl as of Decerlbet.
                                                 I, 2006 Mastr.                  )
  Asset-Baci<ed Securities Tr.rrst 2006-NC3
                                             Morrgage
  Pass-Through Cer.tifi cares, Ser.ies 2006_NC3,                                 )
                                                                                 )
                                                          Plainriff              ) Case No 08 Cl-l 336 t6
  ilon'-"tt' Yoha.us Johrsorr aa</aMonzer ra Johnson;                            )
                                                                Mar.cia Essie        Property Addr.ess:
  .)olrrrso, a/l<,/a M a rc i a -l oh nson Mortgage
                                          ;        IE ectroni c Registr.ati on       521 7 S. lngleside Ave
  Systenrs, )nc, as Nonrinee for New C"enlury
                                                      Mortgage Corporation;          Chicago, tL 60615
  M.onzella Yohanus, .Johrrsorr (C) Cestui
                                                  eue Trust;
  Discover Bank; I-ISBC eank U.-S.A., N.,A'.;
                                                      Unl<nown
  Owners and Non-Record Clairnants,
                                                         Defendants



                                                NOTICE OF FILING
  fO:   Scc Attaclred Scrvicc        List


           PLEASE TAI(E NOI-ICE ilrat on September
                                                           29,20t1, I filed the enclosed plaintil.ps
 l].:pfl  in Support of its Motion for Sumnrary Ju<jgmerrt with
                                                                the CircLrit Court of Cool< Oourrty,
 Iilirrois, a copy of which is hereby ser.ved Llpolt yolt.




                                            C]IRTItr,-I CATE OF StrRVIC]i

         I' Arl"apong Srit'atana, an attorney, certil'y I servecJ this notice,
                                                                               together wi15 the enclosecl
Motion' by rnaililrg a copy to the above-namecl at
                                                          their respective acldrJsses arrcl clepositing the
sanre itr the tJ'S' nrail at 223 w. Jacl<son
                                              Street, clricago, Irinois 60606 be.l.or.e the lror-rr of.5:00
lr.nr. on October. 2,2017 with pr.opel.postage prepaicl.


                                                                         ol
Porestivo .e Associates, p.C.
22f W..lackson lllvd.,   Suire 610
Chicago, I llinois 60606
'l'e lephonc:
              (3 t2) 263-0003
M a in l;ax: (3 t 2) 263-0002
Cook Counry l:ir.nr lD il:43932
Dtrl)age County Fir.rn lD il:223(t23
A tlomcys lor. plainti fl'
Our I:ile No.: Cl4-96 172
             Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 110 of 156 PageID #:110




                                                          SEI?VIC]T   LISl'

            Monzella Yohanus Johnson all</a Monzella
                                                     Johnson
            5217 S. lnglesidc Avenue
            Chicago, tL 6061 5

            Marcia Essie Johnson all</aMar.cia Johnsorr
            5217 S. Ingleside Avenue
            Chicago, IL 60615

            MEllS, lnc, as Norninee l.or New Century Mortgage
                                                              Corporation
            190 I E. Voortees Street, Suite
                                            C
            Danville, tL 6t834

           Monzella Yohanus, Johnson (C) Cestui
                                                eue.Ir.ust
           5217 S. Inglesicle Avenue
           Chicago, IL 60(rl5


 o         Discover Banl<
 U         502 E. Marl<et Street
J
           Creenwoocl, DE 19950
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? (i:.:    )-ISBC Bant< U.S.A., N.A
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           Mclean, YA22lO2
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U          Unl<rrown Owners ancl Non-Recorcl Clairrarrts
J          5217 S. Irrglesicle Averrue
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           Chicago, IL 606 t5
        Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 111 of 156 PageID #:111
                                                                                 EqlrRQNr(lA L LY t; r LEn
                                                                                              EL
                                                                                  9/29/2017 6:22PM
                                 IN Tr rE ctrRClurr couRT OF COOK COUNTY,           2009:cII_33616
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                                    COUNTY DEPARTMENT CI-IANCERY DIVII;ION                        N
                                                            -
                                                                                 CIRC]UIT (:OUR'I'OF
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                        Associarion, as rrurstcc urrclcr pooting
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  nssct-Ba-cr<c-cr sccLrritics ir.,r,'iiiri;:^i:"il;*fli "''n'"                              -,gH+{e*SnpjyniqN
                                                                                             CLERK DoRor-ry dttilwN
  Pass-Througlr Ccrtillcatcs, Scrics 2006_NC3, - o
  D,.   --   -- fl                                                     I
                                                                                   ;
  ,,                                                         Plaintif'f            ) Casc No Ott CIH 33(rl(r

  lolrr."^," a/1,/^ Trl^-.^:- r,r                                                  I Rrop"rty Acttlrcss:
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  Y:::;::t'l::,::.):'ilr:
  M.onzclla Yt:hanus, Jolrnson (C) Ccstui
                                          eiic Trusi;
  Discor,cr Bank; l-ISBC Bank U.S.A., N.n.;
                                            Unkrrowrr
 Owrrcrs ancl Non-Rccot.tl Cllai nrarrts,
                                                            Dc lcnclants



                                                     NOTICB OI? FILING
 TO:            Sec Attachcd Scn,icc List



           PLEASE TAI(E NOTICE thar on Scptcmbcr:
                                                         29,20t7, I filcd thc cnclosed plaintill-s
          in
 [gnlv Support of its Motiorr fbr Sumnrary .rucrgme,t witrr trre Clircuit Court of'Cook Couuty,
 Illirrois, a copy ol'which is hcrcby scrvcci upolt you.




                                                 CBR:I]I FICATE O II SBRVICE

         I' Artaporlg Sriratana, atr attourcy, ccrtify I servcd this
                                                                       noticc, togcthcr r.vith the cnclosccl
Motiott' by mailing a copy to the above-uanred
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sartrc in the U'S' rrtail at 223 \^t..laol<son
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                     (J I2) 261_0001
Main I-'ax: (312) 2(r3-0002
Cirrrk County t-irrn ID ll:43gJ2
DrrPagc Cirurrry F-irrn lD il:223621
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Our l.ilc No.: Ct l4-961 72
              Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 112 of 156 PageID #:112




                                                                  SIiII\/ICD   T,IS'I'


              Monzclla Yolrarrlrs .lolrrrsrtrr a/k/a Mtrrrzclla
                                                                .lohnson
              -52 l7 S. Inglcsidc Avcnuc
              Clricago, lL 60(i l5

              Malcia Essie .lohnso n a/l</a Marcia    Johrrsorr
             5217 S, hrglcsi<lc: Avcnuc
             Chicago, IL   (1061 5


             MEItS, lrrc' as N.nrir.rcc r.r Ncw ccntury
                                                        Mortgagc c)or1-l.rati.^
              I9()l E. Voor.hccs Strcct, Suitc   Cl
             Danvillc, IL 6l 834

             Monzclla Yoharrus. .lohrrson (C).Ccstui
                                                     euc Trust
             5217 S. lnglcsiclc Avcnuc
             Chicago. IL   (106 I 5


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J            502 E. Marl<ct Str.ccr
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             C)hicago, JL (>061 5
         Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 113 of 156 PageID #:113
                       iN THE CII(CUIT COURT OF COOK COUNTY, ILLINOIS
                           COUNTY DEPARTMENT, CHANCERY DIVISION
                                GENERAL CI-IANCERY SECTION


     Jor Lours LewReNCe,

                            Plaintiff,                       CaseNo. 2015 CH 1670

                                                             Calendar 03
                                                             I-Ionorable Franklin U. Valderrarna
     420F,. OHlo, ET AL.

                            Defendants.



                                                  ORDER
             This rnatter corres to be heard on Plaintiff, Joe Louis
                                                                      Lawrence's motion to         reinstate,
     Plaintiff having appeared pro se, and the Court t"*g
                                                                fully advised    in the premises, IT      IS
     I.IEREBY ORDERED:

I'      First' the court finds that Plaintiffs motion was irnproperly
                                                                      noticed, as plaintiff,s notice of
                 reflects the incorrect courtroom, 2305, insiead of trr"
        ff;;."                                                            Coirtll           courtroom,
                                                                                  "urr.,.,t
2'      Second, the coult firrds that Plaintiffs motion
                                                        is untirnely as it was filed on october 30,
        2017' more than one year after the coult's
                                                   october 20,2016 order disrnissing the case Ibr
        want of prosecution.

3.      For the fbregoi,g reasolls, the court denies   plai,tiff   s motion.

 SO ORDERED.




                                                           Franklin U. Valder.rama
                                                           Judge Presiding
DATED: November 13, Z0l7




                                     @Group                 Exhibit
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 114 of 156 PageID #:114




                                IN THE CIRCUIT COT'RT
                                          OF
                                COOK COUNTY, ILLNOIS
                                 CHANCERY DIVISION
                                                   )
In Re Racial Discrirni          r)                                     2015 CH 01670
/Source Income Violati
Housing Matters:                                  )
                                                  )                    [Ion. F. U. Valclerrama
Joe Louis Lawrence
                                                   )                   lloom    2305
       Pe tiuonel
                                                   )
                                                   )
         V
420 East Ol-rio, Chicago                           )
                              ng Authority
345 East Ohio, City of ( hicago,Comrnission))
On Human Relations
     I{cspondents
                                                   )




MOTION TO REINST I*E DEFAULT
                             & SUMMARY JUDGMENT DUE To
JUDGE VALDERRA A TRESPASSING
                                UPON THE LAWS COMMITTING
TREASON MAKING HE ORDER "VOID"
                                 A "NULLITY" WAFFIDAVIT
   Now comes petitioner,     Louis Lawrence, Counsel Pro Se in this
represents to this court t reasons                                       cause respectfully
                                   and files herev,rith his Affidavit in support
Reinstate Default judgmen et al;                                                 of Motion for




                                                                 Respectfu lly Subm itted,




                                                                     Joe Louis Lawrence
                                                                        Counsel Pro Se
                                                                       P. O. Box 490075
                                                                        312 965-6455
                                                                    joelou islaw@yahoo.com
                                                                        @joelouisT
                  Exhibit


-Group             D
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 115 of 156 PageID #:115



STATE OF ILLINOIS )
                  )
COUNTY OF COOK )

                                     AFFIDAVIT

IN SUPPORT OF M                 TO REINSTATE DEFAULT & SUMMARY
JUDGMENT DUE T              JUDGE VALDERRAMA TRESPASSING UPON THE . .
LAWS COMMITT                TREASON MAKING THE ORDER "VOID" A "NULLITYI'

   1.   I am Joe            Lawrence, Counsel pro Se, petitioner in this cause, b,eing
        first duly s        on oath deposes and states, as follows;


   2.   That Defendan s havi,61 admitted to eill {acts record.d i, said Cci,rplai,t
                                                                                       et
        al.via a{{idawit and Court Transcripts;
            A- Court wi,g ,o j.risdictio, to Dis,riss'r..lid Pro.r. t p De{a.,lt el
               S..rrrrrra ; J..d6rrr.rrt March 50 ,2075d,e to J.rd6. Valderrarua
               cor          ti,g his role eng,a$in$ i'"Tr..rorr" "Tr.spassirr$ upo, the
               L.*r" eto attached, March 50,2015 Co..rt Order.
            B- To sh        fraud upon the court, the complaining party must establish
               that the     rlleged misconduct affected the integrity of-the judicial
               proce        either because the court itself was defiauded or because
               the mi       rriduct was perpetrated by officers of the court. Alexander
                            son, BB2, F. 2d 421 ,424 (gth Cir. 1989):

            C- A void   j   dgment does not create any binding obligation. I(alb v.
                  ue          1         US4                   84         70.


                                                    1.   That judge Valderrama has
                                                         demonstrated an unknown interest
                                                         in this matter which encouraged
                                                         unlawful motives and opportunity
                                                         in adjudicating the merits of this
                                                         matter, due to the aforementioned;
                                                         Sup Ct. Rute 63 (c) (1) (d)
                                                         mandates disqual ification
                                                         where the iudge has an interest
                                                         in the proceedinq. (eff. A,ril 16,
                                                         20071.

        A judge's disres     for the rules of court demonstrates disrespect lbr the law. Judges are
        disciplined under    non 2A for violating court rules and proccdures. Judge ignorcl
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 116 of 156 PageID #:116



       mandated wit       order in attempt to accommodate witnesses' scheclules; citing canon
       2A the court       , "[a] court's indiffererrce to clearly stated rules breecrs disrespcct for
       and discontent th oui justice system. Goverrrment cannot a",o-j'r".rp";;ilt;            lr*,
       by its citizens w en its tribunals ignore those very same laws,,)

          A-   Fraud    rn tlie court is a basis. for equitable relief. Luttrell v. United
               States,  4 F.2d L274, 1276 (9tt' Cir. 19g0); see Abatti v. C.I.R. , g59 F 2d
               115, LL (9tr' Cir. 1988) "it is teyond quesiion that a court rnay investigate
               a questi n as to whether there was fraud in the procurement of er
               judgme     " Universal Oil Products Co. v. Root Refining Co.,32g U.S. 575,
               66 S. Ct    1,176,90 L- Ed- 7447 - The power of the court to unearth such ir
               fraud is   he power to unearth it effectively. See Hazel-Atlas Glass co. v.
               Hartfor     Empire Co.,372U.S.238,64 S. Ct. 997,88 L. Ecl. IZ5O;
               Spra       v. Ticonic National Bztnk, 1184 and United States v.
               Th         orton, 98 U.S. (B Otto) 61,25 L. Ed. 93.

                                                      rt                                Bar. A
                                                                                                 fl
                            People v.Zajic,88 Ill. App 3d 477,4L0 N.E.2d OZO...A voia
                            is reqardcd as a nullity, ancl the situation is flre *r.iilfil


               enfi        ent. 30A Am Judgrnents 43, 44,45. Henderson v Henderson 59
               s.E.2d        -232
               ,,A
          C-         V,




               Lighr &

                                                           That under lBU.S.C.242 and 42
                                                           U.S.C. 1985 (3) (b).A judge docs not
                                                           have the discretion on whether or not
                                                           to follow Supreme Ct. Rules, but a
                                                           duty to follow. People v. Gersh, 135
                                                           \t.2d 384 (1e90).
                                                     a
                                                     J.    Judge Valderrama acted as a
                                                           Private Citizen and not as a Sttte
                                                           Officerriffi
                                                           Defendants in using his robe and
                                                           unlawful authority violating
                                                           Plaintiffs' Civil rights.
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 117 of 156 PageID #:117



        Chronology    Facts: Plaintiff with due-diligence filed Motions to Disqualify
                         o
Judge Valderrama for  lause" due to "Fraud', et al. Judge Neil Colren ancl Judge ir{ory
Lane Mikva Denied pl i:,,'.iffs' Motion; Deerning said Orders
                                                              a Nullity Void.

Plaintiff appealed to        Appellate court where Judges James F. srnith, cynthia y. cobb,
David Ellis and Natha        :l J. Howse, Jr. Denied praintiffs Motion corroboiating'.Fraud,,
and Domestic Terrori          in the courts. Deeming said Order a Nullity Voicl.

Plaintiff appealed the rp. Ct. of Ill. For A Writ of Madamus/Supervisory
someone corrupt as hel mailed to Plaintiff a blank court
                                                                            Ortler
                                                         order Denying said Motion.
Deerning said Order a     itv Voi

Plaintiff Appealed to    Appellate Couft where Honorable Rodolfo Garcia, Thomas
Hoffman, John Owen        lle, Patrick J. Quinn former Governor pat euinn,s brother,
Themesis Karnezis,        K. Rochford, Warren D. Wolfson who is related to Loretta
Higgins- Wolfson,       as W. Delort, Bertina Lampkin, Sebastian patti, Shelvin Louise
Marie Hall, Joy Cunni ham, Mary Jane Theis, who had
                                                            a father convicted in the
Greylord sting as a jud     Michael Murphy all were complicit in covering-up criminal civil
Rights vlolations of a      .rs" paternity case BB D O7\OLL, said judges ignored every
unchallenged affidavit          orders outside of their provisions of judicial immunity,


Plaintiff received            ic instructions from the FBI to ascertain corroboration how
the CTA, Paternity i           IBC cases were connected they did not want one or two
judges but ail of the         Plaintiff had to demonstrate how alljudges were involved
without wearing a             they were providing him full protection.

The FBI asked the p intiff how did he plan on going forward?
                                                             The reply simply
take the law to them.

Plaintiff having fuil nizance that Alderman Edward Burke controlled many
judges so the obj     ) was to get before those judges with varid
                                                                  craims and get
them to Deny them     as to demonstrate how Democratic judges are
"Trespassing upon he Laws" engaging in,,Treason,,

   The Il_Iinois upreme Court has held that ,'if
   magistrat.e ha not such jurisdiction, then hethe
                                                  and those
   who advise an act with him, or execute his process,
   trespassers.', Von                                    are
   (1870)                                        57 r]1.                              109

Under Federa] I w which is applicable to aI1
U. S. Supreme
                                             states, the
                             rt stated that if
                                  a court is "without
authority, its uCgments and orders
nullities. They re not voidable, butare rega'rded as
no bar to a rec very sought, even prior to a void;
                                      simply         and form
                                              reversal in
opposition to t em. They constitute no justification,.                              and
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 all persons con erned in executing
 sentences, are onsi_dered,                 such judgments or
w. PiersoJ , 1P r. 328, 340, 26    in 1aw,  as  t16spassers.,, E77iot
                                         u.s. 328, jqo (1828)
The Illinois       Su reme Court held that
hear the matter upon the jurisdictional       if a court ,,couId not
j-ts finding tha it                               paper presented,
                          had  the  power  can add
author j-ty,       it had no authorj_ty to make nothing
                                                    that
                                                             to its
f i-nding. ', TIte p     e_tr. Brewer:,
The judges list d below had no :.2B Il-I 412, 483 (7928) .
 ( j uri sdict
                                       IegaI authorj-ty
               ion ) o hear or rul-e on certain
t.hem. They acte without                            matters before
                                       any jurisdiction-
                                               4. When judges act when they
                                                  do not have jurisdiction
                                                  to act, or they enforce a
                                                  void order (an order
                                                  issued by a judge without
                                                  jurisdiction),  they
                                                  become trespassers of the
                                                  1aw, and are engaged in
                                                  treason.
         A- " The           enth CircuiL Court of Appeals held
            Court                                                that the Circuit:
                            of Cook County is a critninai enterprise.
             Mur-ohw        768 F.2d 7578,                             U. ,S. v.
                       -
                                               7531 (7th Cir. 1gS5) ,,.-


                                               5. The United States Supreme
                                                  Court recently
                                                  acknowledged the judicial
                                                  corrupLion in Cook
                                                  County, when it stated
                                                  that Judge "Maloney was
                                                  one of many dishonest
                                                 judges exposed and
                                                 convicted through
                                                 'Operation Greylord',         a
                                                 J-abyrinthine federaf
                                                 investigation of judicial
                                                 corruption in
                                                 Chicago". Bracelr       w.
                                                 GramTey,    .lG-ffi6_        613 3
                                                  (June 9, 1991).
  Since j udges            ho do not report the criminal actj_vities
  other j udges            hey become prlncipals in the criminal-    of

                                           5
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    activity, 1B U-S.C. Section 2, 3 &
    have reporte the criminaf activity 4,ofand
                                             the
                                                since no judges
    have been c victed, the other judges are judges ,ilo
    activities t i, the Federa] Courts found inThe  crimina]
                                                  the
    Court of Coo County still- exist, and. are today Ci-rcuit
    care, custod and contro] of Judge Timothy C. Evansunder the
    (Chief Judg.e) . The Circuit Court of
    crimina] ent rprise.                  Cook County remains a


                     JUDICIAL IMMUNITY
 Judges have giv n themselves judicial immunity
 judicial functi ns. Judges have no judicial      for their
                                               immunity
 criminal acts, iding, assisting, or conniving with for
who perform a c iminal- act, or for their               others
                                            administrat
ministeriaJ- dut es. When a judge has a duty to         ive/
                                                  act,  he
not have discre ion - he is then not performing a judicial does
act, he is perf rming a ministerial act.
Judicial_ immuni y does not exj_st
criminal activi y, for judges whofor
                                       judges who engage in
                                    connj-ve with, aiJ ana
abet Lhe crimin I activity of another   judge, or to a judge
for damages sus ained by a person who has
the judge,s con ivance with, aiding and been harmed by
judge's crimina activity.                  abetting, anothlr

                      TRESPASSERS OF THB LAW
 The Il-Iinois Su reme Court has held
 has not such ju isdiction, then he and       that ,,if the magistraLe
 act with him, o 1)xecute his process, are        those who advise and
 .I(ett.I'er et. a-?..                                trespassers.rr Von
                          Johnson, 57 IlI. 109 (1870)
 Under Federal ] w which is applicable
 U.S. Supreme Co rt stated that                  to all- states, the
                                        if  a court
 authority, its udgments and orders are regarded      is,,wi-thout
nullities. They re not voidabl-e, but simply                  as
no bar to a rec ery sought, even prior                    void; and form
                                                   to
opposition to t m. They constitute no just.ification;  a  reversal in
all- persons con rned in executing such judgments                  and
sentences, are onsidered,                                      or
w. Piersol, 1 p t. 328, 340,in 26     1aw, as trespassers. ,, FjLliot.
                                         u.s. 328, :qo (1828):
The IIlinois Su eme Court held that
hear the matter                                if a court ,,could not
                            the jurisdictional paper presented,
its finding tha it,9on.had     the power can add nothing to its
authority,          it, had no authority to make that
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 f  inding. ,' ?lhe gpJe_rr- Brewer, J.2B IIl . 412,
 The judges list d bel-ow had no legal author_ity 483 (1928)
  ( j uri sdiction
                  ) o hear or rule on certain matters before
 them. They acte without any jurisdiction.
 When judges act when they do not
                                      have jurisdiction
 or they enforce a void order (an order                    to act,
                                              j-ssued by a judge
 without jurisdi tion), they become trespassers
 and are engaged in treason (see below).               of the 1aw,
                      (


 The Court. in   ya qs rr. ViJ-Laqe of Hoffman
                                               Estate.s
     E. Supp.                                         I77inois,
 209             7S  (N.D. rI1. L962) held that "notevery
act ion by a jud e is i-n exercise of his judicial
     ft is not a judicial function for a judge      function.
i-ntentional- tor even though the tort occurs to commit an
courthouse. "                                   in the

When  a judge ac s as a trespasser
does not foll_ow ah: law, the judgeofl_oses
                                        the Iaw, when a judge
jurisdiction                                subject_mattlr
               an the judge, s orders are void,
force or effect                                  of no 1egal

 The U. S. Suprem Court, in S.4.r.=__tz_. Rhodes,
 94 s. ct. 1683, t6B1 (trl)ffiun                  416 U. S. 232,
                                                  a srate
 officer acts un er a state law in a manner violative
 Federal Constit tion, he ,,comes into conflict           of the
 superior author ty of that Constitution, and     with the
 case stripped o his official- or representativehe is in that
 and is subject                                     character
                   in his person to the consequences of his
 individual cond ct. The State has no power
 any immunity fr                              to impart to him
                    responsibility to the supreme authority
 of the United S ies. tr IEmphasis supplieO
                                             in orlgina]l .
-By law, a judge s a stat.e officer.

The judge then        i-5 not. as a judge, buL as a private
individual (in        s person).

                                        6.   Plaintiff never cornplained about the
                                             number of attorneys leviecl at hirn
                                             Christian Novay former District
                                             Attorney fiom New york, Tholnas
                                             B. King, Maria Sewell.Ioseph,
                                             General Counsel, CI-LA,,, Stephan
                                             R. Patton, Mary B. Reuther,lley
                                             Phillips Santos has worked for the
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                                                         City of Chicago's Department of Law
                                                         since 2006. He earned a juris doctor
                                                         from Chicago-Kent College of Law
                                                         with a Certificate in Energy and
                                                         Environmental Law and a Master of
                                                         Science in Environmental
                                                         Management from the Stuart
                                                         Graduate School of Business. Rey
                                                         has also been a member of the
                                                         Chicago Bar Association's
                                                         Environmental Law committee for terr
                                                         years. SeyFarth & Shaw Anne D.
                                                         Harris, Jeffrey I(. Ross, l(yle A
                                                         Petersen Sara Eber Fowler and
                                                         Meredith Oliver, Gordon & llecs
                                                         Goli Rahimi, Christian Novay; Cary
                                                         G. Schiff Mr. Schilt is not only a
                                                         Iancllord attorney but also a rogular
                                                         spcaker ancl author on thc sub.jcct of
                                                         Property Manirgernent I-zrw aucl tlrosc
                                                         issucs that arc ancillary to propcrly
                                                         nianagoment piacticc. Car-y G.
                                                         Schiff & Associatcs is onc of the
                                                         largest firms in Illinois as rncasurcd
                                                         lry volume o[ Forcible l3ntry zrnd
                                                         Delaincr Actions liled. Ovor the last.
                                                         twenty ycars, the firrn has initiatcd
                                                         and prosecuted wilh sonro o[ the
                                                         Chicagoland arezr's rnost publ icized
                                                         ancl controvor:sial cviction battlcs.

        Mr. Schilf is re     larly calleclupon by industry leaders in crricago ancl Nationwiclc
       to cxtrapcllatc             ic clata relative to the Chicagolancl area aperrtment rncl
       colnrrrclcial ln    Ir':ts and sub-nrarkets based upon volunre oI eviction cirscs filccl.
       Mr. Schitfs a            y associates Christopher R. Johnson, yuleicla Joy

                                                    7.   Plaintiff never complained about the
                                                         number of attorneys levied at hirn
                                                         Christian Novay lbrmer District
                                                         Attorney from New York, Thomas
                                                         B. I(ing, Maria Sewell Joseph,
                                                         General Counsel, CHA, , Stephan R.
                                                         Patton, Mary E. Reuther, Rey phillips
                                                         Santos has worked for the City of
                                                         Chicago's Department of Law since
                                                         2006. He earned a juris doctor frorn
                                                         Chicago-Kent College of Law with a
                                                         Certificate in Energy and
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                                                        Environmental Law and a Master of
                                                       Science in Environmental
                                                        Management'from the Stuart
                                                       Graduate School of Business. Rey
                                                       has also been a member of the
                                                       Chicago Bar Association's
                                                       Environmental Law committee for ten
                                                       years. SeyFarth & Slraw Anne D.
                                                       Harris, Jeffrey K. Ross, Kyle A
                                                       Petersen Sara Eber Fowler and
                                                       Meredith Oliver, Gordon & Rees
                                                       Goli Rahimi, Christian Novay; Cary
                                                       G. Schiff Mr. Schiff is nor only zr
                                                       lancllord attorney bul zrlscl a regular
                                                      spcakcr and authclr on the subiect ol
                                                      Propcrty Mrnagonrent Law alrd thosc
                                                      issues that are iurcillary to property
                                                      nlrrnzrgement practice. Car.y ().
                                                      SchitT & Associatcs is onc ol'the
                                                      Iarrgest firms in Illinois ns rneasuretl
                                                      by volunre of lrorcible lJntry ancl
                                                      i)etainer Actions fited. Over the last
                                                      twenty ycars, the firm has initiated
                                                      and prosecuted with sonrc of tho
                                                      Chicagoland aLea's ntost putll icizccl
                                                      aud contloversial evictir:n battles.

       Mr. Schiff is rc ularly called upon by inclustry Icacrers in chictgo
                                                                           arrcl Nzrtionwiclc
       to extrapolate e onomic data relative to the chicagolancl
                                                                 aroa apartment ancl
       comrnercial rna kets and sub-rnarkets based upon volunre
                                                                  of eviction cases Illccl.
       Mr. Schiffs ar ney associates Christopher R. Johnson, yuleicla
                                                                         Joy

                                                 8.   CERTIIIIED MAIL ISSUED by rhe
                                                      Clerk of Cook County, Janu:rry 30o'
                                                      2015;

                                                 9.   SUMMONS ISSUED AND
                                                      RETURNED SERVED ON ALL
                                                      PARTIES;

                                                 10. NO DEFENDANT ANSWI'RIID
                                                     OR FILED AN AI'I'EARANCII
                                                     ON OR BEFORE MARCI{ 9'TII,
                                                     2015;

                                                 11. That pursuant to 735 ILCS 5/3-101,
                                                     et seq. 420 East Ohio. ZRS
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                                              Management, Tracl<ing Numbers
                                              7014-0150-0001-5043-5130 was
                                              served via certified mail Feb 6, 2lll1,
                                              10:57 am, Attorney Anne D. Harris

                                              "They were in fact served,,

                                          12.[-aw firm seyfarth & Shaw l,iled an
                                             appearance timely never answefed, or
                                              responded pursuant to 735 SlZ       l3lll
                                              .(d) "if he or she fails to appear uJ'ter
                                              being properly served or, having once
                                              appeared, fails tct tile a tintely
                                              answer, S.H/. 735 ILCS Sl2_1301
                                              (d) "{j}udgment by rlefuutt ntay be
                                              entered for wctrtt of an appeerance or
                                             for failure to pleatl, brtt tite conrt nuty,
                                             irt either case, require proof o! the
                                             allegatiorts of the pteaclings upo,t
                                             which relief is sought." ln
                                             Ameritech Pub otIIlinois,Inc. v.
                                             I{adyeh, 362llt. App. 3ct 56, 29g Iil.
                                             Dec.302,839 N. E.Zd 625 (1't Dist.
                                             2005), a default was filed for 1ailure
                                             to answer although an appcarance hacl
                                             been filed;

                                          L3. That pursuant to 235 ILCS 5/3-10t,
                                              et seq. 345 East Ohio Tracking
                                              Numbers 7014-0150-0001 -5043_5154
                                              was served via certified rnail Fcb. 6.
                                              2015. 1:18 prn Frank Fiorentino
                                              signed.

                                          1,4.Law firm Gordon     &   Rees never filed

                                             or responded pursuant to 735 Sl2
                                             1301 (d) "if he or she lails to aplteor
                                             after being properly ser.vecl or,'iaving
                                             once appeared,I'ails to J'ile a timely
                                             answer, S.H.A. 735 ILCS 512-1301 (cl)
                                             "{j}udgntettt by cteluult may be
                                            entered lbr want of an appeurance ot
                                            for failure to plead., btrt ilrc court. nuty,
                                            in either case, reqttire pror_rl'of the
                                            allegations of the pleaclings tryon.


                                     10
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                                                       which relief is sought.,' ln
                                                       Ameritcch Pub of I[inois, Inc. v.
                                                       I-Iadyeh, 362ltt. App. 3d 56, Zgg ilt.
                                                       Dec. 302, g39 N. n. id 62s (lst Dist.
                                                       2005), a default was filed lbr failurc
                                                       to answer or file an appearance;

                                                   15. That pursuant to 735 ILCS 5/3-101,
                                                       et seq. Citlr of Chicago. Cornmission
                                                       on Human Relations 7014-0150-
                                                       0001-5043-5147 was served vizr
                                                       certified mail Feb 5tr' 2015. 2:12 prn
                                                       Jeffrey Wilson signed.


                                                  L6. Law firrn Cit), of Chicago.
                                                       Corporation Counsels nevcr liled an
                                                       appearance tinrelll never answered. or
                                                       responded pursuant to 735 SlZ l30L
                                                       (rJ) " if he or she Jails to appear uft:er
                                                       being properly served or, lutving rnrce
                                                      appeared, fails to t'ile a timely
                                                      atxswer, S.H.A. 735 ILCS SIZ-l3lll
                                                       (rl) "{j}udgment by tlefimlt nny be
                                                      entered for want ctf an uppearance or
                                                     for failure to plead, but the c{tnrt ntay,
                                                      in either case, require prooJ'cl'thc
                                                      allegatiorts of the pleadings uport
                                                      which relief is sougltt.,, ln
                                                      Ameritcch Pub of Illinois,Inc. v.
                                                      I-Iadyeh,362 Itt. App. 3cl 56, 29g lil.
                                                      Dec.302,839 N. E.ZrJ 625 (l't Dist.
                                                      2005), a default was filed for f.ailure
                                                      to answer or lile an appearance;
          A- That be     use Judge Franklin U. Valderrarra ,,Trespuss*.1
                                                                                 upon the
             Laws"      ngaging in an "Organized Conspiracy,, comrnitting ,,.freason,
             unlawf     ly Denied Plaintiff,s valid
             Judsme     t lylarch 30. 2015 valiclatine the veritv snid irrdop wqc <rnrinn
                                                                                               ^
                         TE        ZEN     NI)                 TE
         B- That    J   ,e   Valderramu                                        for the
             Defe                          upon the Law,'sig*.d ir-or,l"ifo, the City
                         ls "Tlegqassed                                                    of
             chi        after the fact allowing the Defendant city of chicago
                                                                                   to vacatc
             the Tec
             ..NU
                        y{?"f*lt  (April 3,201,5,hereto attacired) makin'g the order           a
                         Y" VOID IN IT'S ENTIRETY;



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          C- That Ju   ge Valderrama acting as a pRIVATE CITIZEN
                                                                        for the
              De        ts "Trespassed upon flre Laws,, signed an Order
                                                                          tor KZ
              A        nts Disrnissing Plaintiffs Motion (october 20,20L6, rrereto
              attached ) making tlre order a
                                               "NULLITY voID IN IT,s ENTIRETy;

                                                 17. That pursuanr ro 735 ILCS 5/3-101,
                                                     et seq. Chicago Housing Authority
                                                     General Counsels 7014-0150-0001-
                                                     5043-5123 was served via certified
                                                     ,ruil r'"u o"'   zoiiiTG   p--
                                                    Armstrong C signed.

                                                 18. T-,aw firm Chicago I{ousing Authority
                                                     General Counsels never filed zrn
                                                     appearance timely never answercd. or
                                                     responded pursuant to 735 SlZ I30l
                                                     (d) " if he or she fails to apltear ofier
                                                     being properly served or, having rnce
                                                     oppeared, fails to l'ile a timely
                                                     answer, S.I{.A. 73S ILCS 5/2-1301
                                                     (rl) "{j}udgntent by delhult ntay be
                                                     entered for want ol'an appeurance or
                                                    lbr failure to plead, but the conrt nmy,
                                                     in either case, require prooJ,oJ,the
                                                     allegatiorts of thi pteadingi ttpott
                                                     which relief is sought.,, ln
                                                    Ameritech Pub of Illinois,Inc. v.
                                                    fladyeh, 362ll.App. 3rI 56, 29g Iil.
                                                    Dec. 302, 839 N. E. zd 62s (1.1 Dist.
                                                    2005), a default was filed lbr failure
                                                    to answer or file an appearance;

                                                19. That pursuant to I(2 Management
                                                    being represented by Cary G. Schiff,
                                                    attorneys Yuleida Joy, Christopher R.
                                                    Johnson received Notice and
                                                    knowledge of said matter being
                                                    before the court where Cook County
                                                    Sheriff served the Lzrw firrn via


                                                20.[-aw firm Cary G. Schiff never filecl
                                                   an appearance timely never answered,
                                                   or responded pursuant Lo 735 Slz
                                                   130I (d) "if he or shelhils to ctltpear

                                          1Z
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                                               after beiltg properly served or, lruvirtlq
                                               otrce appeared, fails to
                                                                        lile u tinrcly
                                               answer, S.H.A. 735ILCS SIZ-l3llL
                                               (cl) "{j}udgrnent by ctelault nmy be
                                               entered lbr want of an appeorance or
                                              for failure to pleatl, but the cotrt,noy,
                                              in either case, require proof ctf the
                                              allegatiotts of the pleaclings uport
                                              which relief is sought.,' In
                                              Ameritech Pub of Illinois,Inc. v.
                                              Iladyeh, 362 ilt. App. 3rI 56, 299 Iil.
                                              Dec.302, 839 N. E.2d 625 (1't Dist.
                                              2005), a default was filed for failure
                                              to answer or file an appearance;


                                          21. Slrerilf #0L7L2SS6 Served CHA via

                                              served them copies of the Amendcd
                                              Request for Review et al. Counsel
                                              never Objected or Responded to the
                                              $25 Million Dollar Demand:

                                          22. Sheriff #01712558 Served Christian
                                              Novay 3-9-2015. 11:21 arn they
                                              served hirn copies of the Amencled
                                           . Request for Review et al. Counsel
                                               25 Million Dollar Demand:

                                          23. Sheriff #0l7lZSS7 Served Rahrn
                                              Emanuel via corporation 3-12-2015.
                                              10S0 am thev served lrim conieq nf



                                             Demand:

                                          24. Sheriff #01712560 Served
                                              Christopher R. Johnson personal
                                              service 3-12-2015. 10:20 am thcy
                                              served him copies of the A:nendecl
                                              Request fot Review et al. Counscl




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                                                      Default before the Hurnan Rqlzrtions
                                                      Commission:

                                                   25. Sheriff #01722070 Served Seyfarth &
                                                       Shaw via corporation 3-16-20L5.
                                                       12:30 am they served thcm copies of
                                                       the Amended Request for Review et
                                                       al. Counsel never Objected or
                                                       Responded to the $25 Million Dollar
                                                       Demand:

                                                   26. From the March lTth. 2016 Court
                                                       Transcript, Lines l9-Zl Page 14, Ms.
                                                       Joa representing I(2 states, "One
                                                       more question. no one front nqt J'irnt
                                                        ltas filed an appeorance on behalt'ot'
                                                       I{2 Apartments."
           A-                representing 345 East Ohio Village Green states, Lines ZZ-24
                Page 1    and Lirre 1 Page 16, "If the court pleases, in that case then, we
                are ul   different situatiott and we are in the situatictn where we likewise
                trcver   ed an appearatxce nor have we had any intentiort.,'


                                                   27. Pursuant to Illinois Civil Procedure
                                                       Rules, failure to file an answcr, where
                                                       an answer is required, results in the
                                                       adrnission of the allegations of the
                                                       complaint,Ill. S. Ct. R.286 (a)
                                                       Pinnacle Corp. v. Village of Lal<e in
                                                       the flills, 258Ill. App. 3d 20S,196
                                                       IIl. Dec 567,630 N.B. 2d 502 (2d
                                                       Dist. 1994).

                                                   28. Pursuant to the Nov. 13, 2015 Court
                                                       Order deemed VOID a NULLITY
                                                       signed by Judge Valderrama as he
                                                       "Trespassed upon the Laws"
                                                       engaging in ttTreason,, stated, A-
                                                       Plaintilf also alleges thot Defandunls'
                                                       attonteys have conmtitted fraucl on
                                                       the court, specifically when they
                                                       intormed the Ccturt on February 27,
                                                       2015 tlmt their clients had not
                                                       received proper service ol'process; B-
                                                       The Court finds that PlttirttiJf ha,:;
                                                      failed to establish that Delbndunt.s'
                                                       attorneys comntittecl fraucl on the


                                              14
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                                               court when they inlornrcd the Court
                                               on February 27, 2015 thut t.heir
                                               clients had not received proper
                                               service of process. Specifically, tlrc
                                               Court finds that PlaintiJ[ has faited to
                                               establish that Defendants hod irt fitct
                                               received proper service of process
                                               prior to Febnmry 27, 2015.
                                               Additiorrttlly, the Court notes that the
                                               Court's Order dated February 27,
                                               2015 reflects that the Court Jbmtd
                                               tlmt Defendants' hacl not received
                                               proper serviceofprocess as ofthut
                                                 date.

                                           29. Pursuant to the Court Transcript of
                                              Feb.27.2015. Lines 23-24 Page 4
                                              and Lines 1-6 Page 5, Judge
                                              Valderrama stated, "No. The clerlc's
                                              olfice doesn't serve anybody certiJietl
                                              mail. Let nrc buck up". When I soy
                                              service, I don't nxean mailing
                                              anything. When I say sentice I nrcan
                                              providing a copy of the contplaint urtd
                                              summons on the entily that you have
                                              named in your contplaint, 420 East
                                              Ohio, the housing ailhority, 345 East
                                              Ohio and it looks like the City of
                                              Chicugo and Comntis.sion ott Huntun
                                              Relatiotts"

                                           go. P..rs.,ant to 755 ILCS 5/5-
                                               105 g..ote "servi ce o{ s, rtrtno,ts,
                                                 stunntons issuecl in anU action to
                                                 revi ew the {i na l a clm i n is t ra tive
                                                 deci si on ol a n !, a clmi n i s I ra /: ive
                                                 aBenc! sltall be served blr



                                               o{ the otLer de{endan ts excel>l in
                                                 tle     o/a reuiewo{a {iual
                                                       case
                                              aclntinistrative decision o{ tle
                                              re4lional boarcl o{ sclrool truslees,
                                              regi on al strperi n t en clen t o{ sclools,


                                      15
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                                              or state superinlenclent    ol
                                              eclucation et al".

                                          31. Seruice on theadntinistrative
                                             adeucy sLall Le ntadeLL. the clerk

                                              lAe sruttntons aclclressecl lo the




                                          32. That a decision is considered s.rved
                                              which reguires that ewert; action to
                                              review a {inal adruinistrative
                                              decision slrall l:. corrrlerrced Ir.;
                                              de{ilin5 ol. corrplaint and the
                                              issuance o{ s.,rrrrrrorrs within   55
                                             dags{rorn thedate that a copg o(
                                             the decision sou5ht tobe reviewed
                                             *as s..u.d upon the partg a{{ected
                                             b9 the decision *lren it is deposited
                                             in tlre U.S. ruatl. Mrclell us. Forest
                                             Pruru*u clist. O/ Cook County,
                                             Apt, l Di't.2002 21ZIlt. Du". J4J,
                                             33J I1l. App.J,l51B, 770 N E. 2cl
                                             71t uppuol              272lll. Dec.
                                                            "llo*"cl
                                             343, 202 nL. 2cl 014, 787N. E. 2,1
                                             158.

                                          33. For purposes oI staturteprovided
                                              that action to review{inal
                                             administrative deci.sio, .rlr.rll lr.
                                             conlrllenced b.J {iling o{ corrplaint
                                             within 55 d.gr {rom date cop.; o{
                                             decision wu., ,"rrr.d upon partg,
                                             decision is considered s.r.red.*lren
                                             it is deposited in the U.S.

                                     t6
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 130 of 156 PageID #:130




                                                         urail. Zulr erun Gerreral healtlrcare
                                                         system vs. Departntent o{ Revenue,
                                                         Ap',   I Dist. 1092 172111.
                                                                                  Duc.544
                                                         2Jl lll. App. 3,l 052 595 N E 1214,
                                                         appealed clenied 170lll. Dec.80Z
                                                         140 t11. 2d 0J1, 002N E. 2d 45A.

                                                     34. That because of the above; ['r.rrud
                                                         admissibility gr:oat latitude is
                                                         perrnittecl in proving fraucl C..l.S.
                                                         Frnud 104 El'Seg. Irraud 5l-57.
                                                         where a qucstion ol. fi.aud and cleccit
                                                         is the issur: involved in a case, great
                                                         Iatitude is orclinarily pcrmittocl ilr the
                                                         introductiorr of evidence, i.rncl courts
                                                         allow the greatcst liberality in thc
                                                         ltrcthocl of examination and in tho
                                                         scopc oI inquiry Vigus V. O,Ikumon,
                                                         ]886   N.D 7BB, I I8IT,I.334.
                                                                B
                                                        Ilazeltrn V. Oarolus, 1907 l.l2 ILl,.
                                                        4pp.512.

           A- Flereto       tached Gr Ex A, In the matter of Ire Oties lovc. Jr. v. Sup.
                                                                                              Ct.

                  DUI
                     l.e    f. Page 6,Par.4Judge Thomas runr"i       ruraffiitn
              a            se et aI... ... -Plaintiff never appeared before thisludge ancl he
              does no drink.

           B- Page 7    r. D "That because many are aware Chief.iurlge being a
              Negroe    llized he had no real authority caused many    ni" groupls to
              corne a                                               "tt onl b.orn
                        g and "Trespass upon the Laws,, destroy black
              farnili use the laws as Ropes and Water hoses as they ,.Lynched,,
              lnnocen men or women who stood up to their Terrorist
                                                                     Acts of iniustices
              in the   rts;"

           C- That      )s 11, LZ demonstrates how Jurlge Lyle taking part
                                                                             in
              hclping banl< steal the home of a retirecl Chicago Boar
                                                                       rl of
              Educat rn teacher and Rctired porice officer anrl other.iucrges
                                                                                in flre
              Dom     c Relations Division unlawfully taking childrcn
                                                                       ii-ori rnothers
              helping child rep attorneys accrue fees in thiJextortion
                                                                       opcration.
     All lllinois             must be familiar with the lllinois Flules of professional
Conduct, and trail    la       must be particularly familiar with the rules that apply
specially to them.




                                               L7
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 131 of 156 PageID #:131



       RpC 3.3, enti ed "Conduct Before a Tribunal,,,
standards to be foll wed by the trial lawyer           sets forth the
                                             during i,b"tfl".,, Section (a) of
that rule states:
       (a) ln appear g in a professional capacity
                                                  before a tribunat, a lawyer
           shall not:
             (1) ma e a statement of materiar fact
                                                   or raw to a tribunar which the
                    er knows or reasonably should know is false;

             (2)    fail
                    wh            :i::P:::",l   lr.pi!1r a materiarfact
                                  disclosure is necessary
                                                                        known to the rawyer
                                                           to avoid assistiing a    criminal or
                    frar      ulent act by the client;

             (3) fail             disclose to the tribunar regar authority in the
                    juri                                                          controiling
                                  ction known to the tawyer to be direcily adverse
                    pos
                                                                                      to the"
                                     of the client and not disclosed by ofposing
                                                                                   counset;
             (4) o                evidence that the rawyer knows to be farse. rf
                                                                                 a rawyer has
                    off           d materiar evidence and comes to know of
                                                                             its farsity, t,"
                                   shall take reasonable remedial measures;

             (s) part              ate in the creation or preservation of evidence
                                                                                   when the
                    la             knows or reasonabry shourd k;;; itre evioence
                                                                                    is farse ;
             (6) cou sel or assist the crient in conduct
                                                         the rawyer knows to be
                 ille Ll          of fraudulent;

             (7) en          ge in other illegal conduct or conduct
                                                                    in violation of these
                   Ru        t;

            (B)    fail t disclose the identities of the
                                                         crients represented and of
                   the I         who employed the lawyer unless such informati
                   is pr :i:g!:
                          l:ged or irrelevant:                                    ron


            (e ) int         ionally degrade a witness or.other person
                                                                        by stating or
                   all       ng to personal facts concerniing that person
                                                                          which are not
                   rel         t to the case;


            J19l   l, trflal, .ailude to any matter        that the tawyer does not
                                                            that wirr nof be.,ppo,t.o ov
            ::Tli?lly:,:H::1,:?l.Xll:r
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           admissihlre evidence,
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           li:nl:i:,        qlgru, on inalysis ot evioence,
           conctusi$n with respect to ihe matter-slai.i
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Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 132 of 156 PageID #:132




 Acts constituting tI rect, crirninal conternpt
       A wide variety >i acts may constitute a direct, criminar contempt.
may be criminal cont mpt even though it is arso an indictabre             And act
                                                                 crime. beattie v.
                      1, 18B91NL2gZ311.t Dist. 1BB9). As is making fatse
representations to t court. People v. Katelhut, gZ2lll. App.
                                                                693, Sa N.E.2d sgo
11"tDist. 1944). Misc Juct of an officer of the court is punishabre as contemot.
People ex rel. Rusch Levin, g05 ilt. App. 142,26 N.E. 2d
                                                              895 (1.tDist. 193b).
        Official                ct is a criminal offense; and a public officer or
employee commits             sconduct, punlshable by fine, imprisonment, or both,
when, in his official       apacity, he intentionally or recklessly fails to perform
any mandatory dut          as required by law; or knowingty performs an act
which he knows he          s forbidden by law to perform; or with intent to obtain a
personal adva              for himself or another, he performs an act in excess of
lris lawful authority      ...s,H.A. Ch 38 33-3.



                               THER AFEIANT SAYETH NOT




                                                                   Joe Louis Lawrence

                                                                     \ ---- !,\t-^
                                                                       frunsel Pro Se
                                                                      P. O. Box 490075
                                                                      312 965-6455
                                                                   joelouislaw@ya hoo.com
                                                                        @joelouisT


un9:l   penalties o. proufd.d by        pursuant to 7351265 5u-109, rrre undersignecr
                                   ]oy
certifies that the statemefnts set.forth in this instlurn"nt ur. tru. and correct, except as to
maJters therein stated tol be on inforrnation
                                                and belief and as to such nratters, the
undersigned certifies aslaforesaid that he verily
                                                      believes the same to bc true.

                                                                   Joe Louis Lawrence
                                                                              (-!..- (--
                                                                       \ ----
                                                                      Counsel   Pro Se
                                                                     P. O. Box 490075
                                                                      312 965-645s
                                                                   joelouislaw@yahoo.com
                                                                      @joelouisT



                                               19
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 133 of 156 PageID #:133




 \AflIEREFORE the a{ e,ie,tio,ed r"asorrs Plainti{{ respect{rrllg Prags
                                                                        {or tlee
 R"lie{


          For an Order
                          ".instating the Default prove-up and Summary
    1.
          Judgment        to all court orders entered after that date deemed a
          Nullity void;
    2. For an Order       einstating voucher #972zz6z that was unlawfuily taken
       from the Plai

    3. For the entry      an Order awarding to your petitioner for such other relief
       and any other       ref necessary as equity may require of which this court
       may deem              elmingly just;




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Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 134 of 156 PageID #:134




                              IN THE CIRCUIT COURT
                                        OF
                              COOK COI.JNry, ILLNOIS
                               CHANCERY DIVISION
ln Re Racial Discrim                                            201s   cH   01670
/Source Income Violat
Housing Matters:                                                I-Ion. F. U. Valderrama
                                                                                              t

Joe Louis Lawrence                                              lloom 2305
       Petitioncr

        V
420 tr.ast Ohio, Chica Housing Authority
                                          )
345 East Ohio, City of )hicago,Comrnission)
On Fluman Relations
                                              )
      Respondents
                                              )



                         NOTICE OF
MOTION TO REINS ATE DEFAULT & SUMMARY JUDGMENT DUE TO
JUDGE VALDERR     TRESPASSING UPON THE LAWS COMMITTING
TREASON MAKING THE ORDER "VOID" A "NULLITY,, w/AFFIDAVIT




PIease be advised that  , octolrer 30,2017 Plaintiff has filed before this circuit court,
Motion fbr Reinstatern nt et al; and will present said legally sufficient
                                                                          instrument before
Judge Valderrarna or a y.Judge in his stead November
                                                          WZ0l7, nr,.  ,.r_u*n
                                                                                room 2305.

Commander & Chief                       Attorney General of Unitetl States
President Donald T
                                                Jeff Sessions
The White House                         U.S. Department of Justice
1600 Pennsylvania Av nue      NW        950 Pennsylvania Avenue, NW
Washington, DC            ,             Washington, DC 20530_0001

Chicago Housing Au            ty      Wilson Elser Moskowitz Etlelrnan & Dicker LLI,
Ofi'ice of the General   unsel           Christian T. Novay
Asst Gen Counsel                       55 West Monroe, Street, Suite 3g00
Maria Sewell Joseph                      Chicago,Il 60603
60 East Van Buren
Chicago, Ill 60605




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Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 135 of 156 PageID #:135



                                              Seyfarth & Shaw
                                 Jeffrey K. Ross, I(yle A. petersen & Anne Harris
                                            131 S. Dearborn Street, Suite 2400
                                            Chicago, nl. 60603

 TO AAG Tyler Rol              Chief Judge Tirnothy Evans, Daley Center, Chg.,Ill. 60601
     General Law Bu       u     Presiding Judge Jacobius, Daley Center, Chg. Ill. 60601
    L00 West Randol       $treet Suite 1300
    Chicago, I11.6060     ' Clerk of Circuit Court Dorothy llrown, Suite 1001, Chg. Ill.

    Judge M. L. Mil(       Daley Center, Chg. I160601
    States Attorney,      ita Alvarez, Daley Center, Chg. Ill. 60601
    Atty Gen Lisa        igan, 100 West Randolph, Suite 1300 Chg. Ill. 60601

Sec of State                           Asst Deputy Dir Candace Cheffin
Asst Gen Counsel T      nce McConville  60 East Van Buren, 8* floor
100 West Randolph, S ite 500            Chicago,Ill. 60601
Chicago, I11.60601

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Chicago, I11.60601

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Christopher R. John n                       [,indsay Watson, Christian T. Novay
Yuleida Joy                                 L North Franklin, Suite 800
134 N. LaSalle Street, uite   L72O          Chicago, Illinois 60606
Chicago,Ill. 60602

Courtesy Copies:
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Chicago,Ill. 60604



                                             )')
                                                                                                     I


Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 136 of 156 PageID #:136



 Governor                                flon Marh Kirl<
 Bruce Rauner                            607 East Adams, Suite 1520
 100 West Randolph,    S                 Springfield, lll. G27 01,
 Chicago, Ill. 60601

 Mayor                              Deputy RegionalAdm., Fielcl Office Dir.
 Rahm Emanuel                           Beverly E. Bishop
 City I{aU                             77 West Jackson Boulevard
 Chicago,Ill. 60601                    Chicago, Il1. 60604

 I{on Dicl< Durbin                             Judge
525 South B" St.                            ffredericl< Bates
Springfield , \1. 62703                   50 West Washington
                                           Chicago, IIl. 60601

Cool< County presicle                        Cool< County Sheriff
Toni Preckwinkle                              Thornas J. Dart
118 N. Clark, Room 5L                    Richard J. Daley Center, Roorn 701
Chicago, Ill. 60602                          Chicago, ilI.60602



                           E BE ADVISED that on Oct 30,2OL7rA Motion for
 Reinstatement of          :fault & Summary iudgrnert et al, has been filcd with
                                                                                 rhc
 Chancery Circuit          urt of cook county a,d said copics bei,g selvccl o, saicl
                           ble parties via hand delivery or rcgular,riil;


                                                 Ilc       sp ec tfu lly,.S ub mi     tc d,
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                                                           \-
                                                       Joe Louis Lawrcncc
                                                       Counsel Pto               Se
                                                   Chicago, Ill 60649
                                                   312 927-4210
                                                       i
                                                           o cl   ouis larvGP,.'r a h r:o. co   lr
                                                            @joelouis




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                   Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 137 of 156 PageID #:137

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                                                              CUIT COU]i.]] OF COOK COUNTY, ILLINOIS



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        DOJIOTI.I        )' I}ROWN,                 CIJ]]      O]I'TIE CIRCUIT COURII'OF COOI( COUNTY, ILLINOIS
   Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 138 of 156 PageID #:138
                                I




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                 IN Trrtr                      couRT oF cooK couNTy,ILL,N.IS
                         "loar*
                      COUNITY DtrPARTMBNT,              CI-IANCERY DrVtSIory.

.IOE LOUIS LAWITtrN
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                Plaintilf,

                           v.                                  Case No. 15 CH L67A-

420 trAST OI.IIO, CHIC GO HOUSING
AUTI-IORII'Y, 345      OHIO, CITY
or CHICAGO, COM         ON ON
TIUMAN RIILATIONS,
I(2 APAR'I'MtrNTS,
                Dcf'endants


                                    ON TO VACATIX

       The Defendant, Cit of chicago, commission on l-Iuman Relations,
                                                                       by its attorney,

STEPI-IEN R. PATTON, C                      tion counsel, moves this Flonorable coud to vacate any and all

defaults against it, and                  leave to   file its APPItrARANCE antl MorIoN
                                     s.                                                      To    DISMISS.
April 3, 2015                                  CITY OF CI.IICA

                                                        Iiv:

                                                               Assistant Corporation Counscl


STEPI{EN R. PATTON,                      tion Counsel
MARY ELISABETFI RUE                   trR, Deputy Corporation Counsel
REY A. PI.IILLIPS SANT              , Asst. Corp.Counsel
30 N. LaSalle Street, Suite 00
Chicago, Illinois 60602
312-744-9683
Atty. No. 90909
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 139 of 156 PageID #:139
 Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 140 of 156 PageID #:140




                                                                                         0cT 25             2CI17
                                         IN THE                                 "i | ,ii ;:r:jii i:l I i
                         UNITED STATES DISTRICT COURT                  1-l r',;.,.' rl1.',.!.r.
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                                   FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
Ire   Oties l-ove, Jr.                                Civil Action JI1T-CV-05482

                                                      .]udge Sharon .I. Colcman
 Plaintiff                                            Mag. M. David Wcisman

  V
                                                                                  Group E xhibit
Supreme Court of Illinois, Pamela E.I_nza,
Luciano Panici, Jzrrnes P. Murphy, Joshua P. I-Iaid                                         A
Del'enclants

MOTION FOR RECONSIDEHATION VACATE (AUGUST B, 2017) ORDER DUI:
TO ERROR TRESPASSING UPON THE LI\WS MAKING THE ORDER VOID AT
NULLITY w/AFFIDAV|T & RETNSTATE COMpLATNTS


The Seventh Circuit court of Appears held that the circuit
Court    of Cook County is a criminal enterprise. U.S. v.
Murplty, 168 r.2d 1518,     1531 (7th Cir. 1985) .
The united States supreme court recentry aclcnowledged the
judicial corruption in cook county, when it stated that
Judge "Maloney was one of many dishonest judges exposed and
convict.ed throuqh 'operation Gre.ylord' , a labyrinthine
federa] investig.rtj_on of judicial corruption in
chicago"- Bracey w. Gramrey, case No. 96-6133 (.rune                                  g,
1997).
      since judges who do not report the criminal activities of
      other judges become principars in the criminal acbivity,
      18 U.S.C. Section 2,3 & 4, and since no judges have
      reported the criminal activity of the judges who have
      been convicted, the other judges are as guilty as the
      convicted judges.
      A court exercises its l-aw-decl-aring power ,when a ruring
      has an ef f ect on "primary conduct". see id. (citing Hann,a
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 141 of 156 PageID #:141




   v. Plumer, 380 U.S. 460, 415 (1965) (Harlan, J.,
   concurring) (classifying rules affecting ..primary
   decisions respecting human conduct',) as substantive for
   purposes of Erie R.R. Co. v. Tompkins, 304 U.S. 64
   (1e38).
   The criminal activities that the Federal courts found ir-r
   the circuit court of cook county stirr exist, and are
   today under t.he care, custody and controL of Judge
   Timothy c. Evens (chief Judge) . The circuit couri of coor<
   County remains a criminal enterprise.

                    JUDICIAL IMMUNITY
Judges have given themselves judicial immunity for their
judicial functions. Judges have no judiciar immunity for
criminal acts, aiding, dssisting, or conniving with others
who perform a criminar act, or for their administrative/
ministeriar duties. when a judge has a duty to act, he does
not have discretion - he is then not perf.rming a judicial.
act, he is performing a ministerial act.
Judicial immunity does not exist for judges who engage in
criminal activity, for judges who connive with, aid
abet the criminal- activity of another judge, or to aand
                                                      judger
for damages sustained by'a person who has been harmed by
the judge's connivance with, aiding and abetting, another
judge's criminal activity

                      TRESPASSERS OF TI-IE LAW
The Il-linois Supreme Court has held that "if the magistrate
has not such j urlsdiction, then he and those who advi.se and
act wj-th him, or execute h is process, are trespassers.,'Von
7(ett.I.er et. a-L tr. Johnson, 51 rll-. 109 (1870)
under Federal rafu which is applicabre to arl states, the
u - s - Supreme court stated that if a court is ,,without
authority, j_ts judgments and orders are regarded as
nurlities. They are not voidabre, but simply void; and fo::nr
no bar to a recovery sought, even prior to a reversar in
opposition to them. They const-itutl no justification,.and
arl persons concerned in executing such judgments or
sentences, are considered, 1n 1aw, as trespassers.,, Eiliot,
w. Piersot, I pet. 328, 340, 26 U.S. 328, JqO (1828)---
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 142 of 156 PageID #:142




The Illinois    Supreme Court hel-d that if a court "could not
hear the matter upon the jurisdictional     paper presented,
its finding that it had the power can add nothing to its
authority,      it, had no authority to make that
finding- " The PeopTe w. Brewer, !28 IIl - 472, 483 (1928) -
The judges listed below had no legaI authority
 (juri-sdiction) to hear or rule on certain matters before
them- They acted v;ithout any jurisdiction.
When judges act when they do not have jurisdiction to act,
or they enforce a void order (an order issued by a judge
without jurisdiction), they become trespassers of the 1aw,
and are engaged in treason (see below).
The Court in YaXes v. Via7                                                ,
2Og F.Supp. 757 (N.D. IlI. 1962)           held that \-,"t
act-ion by a judge is in exercise          of his judicial """.y
                                                             function.
     It is not a judicial function          for a jr-idge to commit an
intentional- tort even though the          tort occurs in the
courthouse - "
When  a judge acts as a trespasser of the law, when a judg<:
does not follow the Iaw, the judge loses subject-matter
jurisdiction  and the judge's orders are void, of-no legal
force or effect -
The U.S. Supreme Court, in Scheuer v. Rhodes, 4L6 U.S. 23:2,
94 S.Ct. 1683, 1687 (1974) stated that "when a state
officer acts under a state law in a manner violative of the
Federal Constitut.ion, he "comes into confl-ict with the
superior authority of that Constitution, and he is in thaL
case stripped of his official or representative character
and is subjected in his person to the consequences of his
individuaL conduct. The Sl-ate has no power to impart to him
any immunit.y from responsibiJ.ity to the supreme authority
of the United States." IEmphasis supp]ied in originall.
 By law, a judge is a state officer.
 The judge then acts not as a judge, but as a private
 individual (in his person) .




                                       J
Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 143 of 156 PageID #:143




    1.) That said judge erred and violated the oath of her duties not recognizing
        she had jurisdiction as she @aws,,denying                             iaid
         Motion in spite of the foregoing statements validating ine verity 5t
                                                                               lrOge,s
        engaging in "Treason" Under iiederal law which is applicable to all states,
         the U.S. Suprerne court statccl that if a court is ,,without authority, its
        judgrnents aud orde:rs are regardecl as nullities. They are not voirjatrle,
         but sirnply void; and lbrm no bar to a recovery sougl-rt, even prior to a
    / level'sal in opposition to thcni.'Ilhey cor:stitutc noiustificltion; ancl all
        persons conceriled in executing such juclgments or sentences, ar.e
        considered, in law, as trespassers." Ellioiv. piersol, J. pet. 328,340.2()
         u.s. 328,340 (1828)


!1_U..;,_S;pi.;";         Court; in,SCh[".i v, nt o.res,r,4ro u,:i.'dAC,g+ s. Ct. 1ebg,
1687 (1974)        stated that 'lWhen a state otTicer hcts:under'a ltate law in n *onr.,
,violative    o!^tlre tlgdgral Constitutibn,,he "cornes info ionflict withl'tlre strperior
 authority of
                 ]hat Constitution,iand.he is'in'that iase stripperl of his official or
i::pl."t:.liatrve,character amd is'subjected,in his person to the consequenccs o,f
rhis individual,c-oSduit,,fhe,Syite has no;pow"r to impart to him any immunity
 trom resp.onsibi]ilV,to the,supreme authority of the'Unitcd States;"
                                                                              [Ernphasis
:supplie.cl
              in oiiginatl       taw, a judge is a siate officer. The:juclge thcn  acts 1ot
                            'ny                                           -
,as a judge, btlt as a privale.individual:(in his person),    ,
    2.) Plaintiff stated, page 3, par 14-18 from the transcript, ,,And the reason
        why l'm here is that me, the defendAnt is petitioning rule to show cause
        remanding Circuit Court judge Pamela Elizabeth Loza and attorneys are
        trespasslng up#n the law, corroboration in an organized chain conspirztcy
        of treason, fraud of ail sorts.." Line 1g Judge co'ieman stated, ,,1 need to
        stop you right there", Line 23-24, she stated,"okay, r have read, read
        some of it. lread you even though it tooked like a filing,, page 4, par.l1-
        12, Judge coleman stated, "when you deattwith thei, wer", tney
                                                                              -they
        y?re iudges and it was in court,ls that correct?,,plaintif{,s reply Line
        "Yes Ma'am" Lines 14-16, Judge coleman
                                                                                          tl,
                                                     stated; "Ail right.'weil, they
        have immunity. You cannot sue them for anything that hlppened in thet
        case- You can.'J..sue them personalty" Line ig-rg she further stated, ,so
        they cannot*-l'have dlsmiss to them out. I have no jurisdiction
                                                                           over the>m.
        Do you understand?,,

Judge coleman stated, page 6, par 2 "you understand I answer
                                                                         to   the tJ.s.
Supreme Court."

The District court closed her eyes to the "VOID ORDERS" entered against thr:
Plaintiff and entered an order described as a nurrity, and because
                                                                   of the courl's
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 disposition in this matter has caused-judges
 "Trespassing upon the Laws"                    to engage in Acts of ,,Treason,,
                                   ui lf this was a Ebora                                                          virus.
    u,                                                                    when
                                                    rhey cro nor have jurisclicrion ro zrcr,
          ,,*J1oji:?:li::,f!g::    order i.r
                                                                                             or
          ll]:1.:,:*::::: i,ll-"ig
                                          (an ortrer irr,",i
                                                             il;;;;;;
                           ttrey bccorne rr"rpr.r.rr'"i *,Jf*,;,.:;
                                                                        *itr,out
         iX"11|.,:.,t"n),
          treason.                                                           engagcd
                                                                                                                                   ^."

             "-                                                                               (B)
                                                                    (1)) sunicient ror Removar,
                   *:.,,,:,Tj:1,31^y"s:1
                   conduct which does not constitutelaa.t4sso
                   v i o, a v e o r ri e ffi Jili
                             t   i                t           "ii*i
                                                  ::l'J'J [ ]::lH
                                                                ranti :: #:l i ?::
                                                                      removal  for :1, :":' l[:.:
                                                                                   cause.         III
                                          ouJ,o
                                                                                            Napolitano
                                                                          c"rt aln                                                       ioJ,'1 7J
                                                                                                                                                il' [:  [:]
                   I#i,0,,                            :! ?: o,(
                                                            : 9te7
                                                                : S:,.'),                                   i   err, 40e u. s.                      r). (-[..
                  i I 1, l"ii:            -l-1,11 1,g
                                                                   z),    t sai J ot rr a               i   s    tric t C",-J,          *;;   ei rhe   r e rrc rl
                  l,l   n:           :::: :f :::lg, :T          ]   iy        oi   -. tr- J i"      r   i
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                  t:,:y,:?:X1l.::i:.d,
                   Itrrloa           /-nl^,-^.^       ^!^a^ r       t.r   r                                                 19,
                                         ,,,r
                                                                          have.    dir.lr, ;;;;;,;;;,;.;7,',;;i*'ii,i,7i,',,,,
                  over tlrcm. Do yotl untlerstand?,,

            B-     That this ambiguity, pursuant to Page
                                                                2 of the order from the 7rr, cir states,
                   "A disnti,ssctl of a caie.without prejucrice,
                                                                   however, ttctr.rrayy croes ttot
                   qualify as a, appearabre
                                               firytt juagyult because the plaitttifJ.is Jree to re-
                  I'ile the case. Larken v. G"aroway,"266 F. 3d ztg,
                  appears to be what the cristrict
                                                                            zzi (7;i; iir"";;oii."iir,
                                                       cottrt intendect, ancr wh,ut ttte praitttiJl.
                  tutderstood the case to be here.,,

            C- That Pzrge     6, Lines                  stated, 'lyott have crossecl over int,
                  Federal court, ancl I!?'r7,Judge
                                         tleal withitational issues. I dott,t cleul
                                                                                                 the
                  relations and crtild sttpport rtnress                               with clonrcsti.c
                                                         it,s a usLtalry ittte,ttttionar case or
                  ntaybe even peopre tlt
                                           yaybe dtflbrent states, but usuaily not sonteotrc
                  cotnirtg to me directry
                                           frotnt the"bircuit Couit of                                               cookcottttty,,.
           D- Tlrat Page 7, Lincs 3-6, praintiff
                                                 stated, " which I     d.ort,r uturerstttrur
                 accorcling to law that they denied.
                                                     my written mand,mus.
                                                                        --' '*t Btt the tltittg
                 obout that is it was, it wis not
                                                  signid by a juclge,,
           E- That Page7, Lincs 7-8, r}-L|Judge
                                                      stated, ,,1,m,ot the Iilinois suprenrc
              court' " "Ancr r don't te, tlre* niri -.---artcl
                                                               usuary rJ tttey crort,t      .si.grt
               something, and I don't rotow
                                                iJ they had a ,igrntuiu'r',rr"it
               they isstte or'ers                                                  or, sometimes
                                            ,rot"opiliro,ts that trtey catt sigtt.
               |ve never be en on'h:'n!.u.                                         I crott,t rcrow.
                                   the lilinois ir.,pruuru court,'attcr
                                                                          I riin,t work                                                           lbr   then.t,,    .

           F- That from the complaint captioned
                                                                                            complainr of             civil Rights Viotationr;,
               Trespassing of trre i-o*s, Treason
                                                  et al. said June                                       6, 2017,Ex,s 1_3 orcrers
               frorn the sup. ct. attached as exhibits
                                                                                              corroborating said assertions not
              signed by any judge but cc,d
                                           to oii                                       forti.r.
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     Pursuant to Sup Ct. hule 272 "if at the ttrne of annorutcing
                                                                   -fitral jtulgntettt the jtt
                                                                                            !!r.[Qe
    requires the sul:mi.        a {brnt of written iudsment to he ,si           the juclge et ul"
    the juclgment becornes l'inal onlv when the signer) iuclgment is l'ilecl- Judges zrre
    bound by this rule before their court orders are valicl;


    4.) In furtherance to the aforementionecl, Plaintiff    had to appear before a probationzrry
        officer August 30,2017 wltere his prior caseworl<er Claudia Swan had taken a
        medical leave and Robert Eizenga was the new case worker ancl discovered .Iurlge
        Thomas Panici had charged Plaintiff with a DUI case # 15 C 660004301 IZ-IB-
         14 and 12-'17-L5 District 6 room 103, Plaintiff not only never appeared before this
        judge but he does not drink alcohol;
                  A- That a relative of Judge Pa.ici "Trcspassecl upon ilre Laws,'
                      corroborating his role engaging in "Treason" falsifying document.s as
                      a true I{ateful Democrat;

                    B-   That Judge I-oza whom rnany attorneys seems to fear inlbrmecl thc
                         Plaintiff if he was not in court Nov. 3,2017 at 9:30 arn, she was
                         going to have him remanded into custody for failing to report to
                         report to court;

                    C- That Plaintiff   has been threatened by another judge if he dici not
                         report to criminal court Nov. 3,2017, at 9:30 am, hc was going rcr
                         jail.

    5.) That on the same related case nurnber SS16600043-00 there wzrs a fine chargc of
        $1200.00 Seq# 00L 24 months a clerk by tlie name of Thomas enterecl tlris
        information;

             a.   That as a result to the terrorist acts perpetrated at the Plaintiff by
                  Democrats organized by powerful men and women racist in naiurc ancl
              '   spirit, hereto attached Gr Ilx I] Motion for Supervisory Orcler by lratrir:ia
                  Mysza, Deputy Defender, for the Office of the State Appellate Defendcr;

            b.    Said Deputy Defencler stated, Pzrr 6, I'age 3 "I-le shotilcl not be lenied his
                  right to a,t appeal
                                   dtLe to a series of bureaucratic errors tlutt were not ltis
                  fault"

                           Citing Canon 2A the court noted, "[a] court's inclifference to clearly
                           stated rules breeds disrespect for and discontent with our justice
                           system. Government cannot demand respect of the laws by its
                           citizens when its tribunals ignore those very same laws',)


    6.) The District Coutt's actions can be gleaned as acts of lmproprieties in an
        attempt to aid and assist said Defendant's named in Suii, ln Re Judge
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       No. 93-1 54, 440 S.E.2d 169 (Ga. 1994), And Deception by falsifying
       reasons for preventing a legally sufficient Complaint and Motion from
       being served on Appellee's, ln re Ferrara, 582 N.W. 2d 817 (Mich.
       1998),ln re Renfer, 493 S.E. 2d 434 (N.C. 1997), ln re Kroger,TO2 A. 2d
       64 (Vt. 1997), Gonzalez v. Commission on Judicial Performance, 33 Cal.
       3d 359, 657 P. 2d372,377,188 Cal. Bptr. BB0 (1983).

          a.    Pursuant to VOL 1, Gr Ex II lrtters the Barclay Group, Judge Loza
                without jurisdiction and "Cause" appointed Irster Barclay as minors child
                rep only because Plaintiff is having successful visitations with his minor
                daughterl ,




          b.    That because Judge Loza having no fear of District Court's judge Shzrron
                Johnson Coleman's jurisdiction is continuously. "Trespassing upon thc
                Laws" by appointing Irster Barclay to further fabricate any ztclmissions of
                Plaintiff's character so as to keep hirn from his child;


          C.    Said judge never appointecl a cl"rild rep to investigate the allegations   of
                sexual abuse when Plaintiff reported it to the judge as noted in the
                cornplaint;

           d.   That because many are aware Chief Judge being a Negroe realized he lrad
                no real authority caused many ethnic groups to come along and "Trcspass
                upon the Laws" destroy black and brown families, use the laws as Ropps
                and water hoses as they "Lynched" innocent men or women wlro stoorr up
                to their Terrorist Acts of injustices in tlre courts;

           e.   Pursuant to   vol.2, Gr Ex c In Re The Parentage of Robert staftbrcr v_
                Carlen Colbert,2008 D 80400, (Judge Pamela E. Lnza) Motion lbr
                Disqualification of Judc,e for           to "Fraud" (Civil Rishts
                                               rsuant to S.FI.A.735 ILCS 512-1
                   3) and to V          Orders due t                upon the LawS" Court
                never had Jurisdiction Orders ars "Void" a "Nullity" Motion pending.

           f.   Tlrat Page 5, Par. 3 of the aforernentioned Motion Judge [.oza unlawlrrlly
                removed a, minor granting the child to tlie Defendzrnt's lriological brother;
                That former judge (Michael I Bender) filed a "Fraudulent Emerger-rcy
                Ex Parte Motion et al., hereto attached as Gr Ex C; A- That I,ar 4
                states "In May of 2012 DCFS opened an invesligation et a/,,., this is arr
                egregious falsehood, in that there was never an invcstigation openecl
                against the Respondent for any reason;

           o
           b'   Pursuant to VOL 3, Gr Ex D, , In Re The Parentage of Clarence parl<cr v.
                AprilRedeaux. 12 D 8436, (Judge I(aren Bowes) Motion tbr
                Ditqualification of Judge for Cause due ro "Frau-O_lqyjl niehls



                                               7
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                   Violations) and or Prejudice pursuant to S.I-I.A. 735 ILCS 5/2-1001 (a)
                   (2.3) and to Vacate all Orders due to "Trespassing upon the Laws" Court
                   never had Jurisdiction Orders are "Void." Judge Gregory Emmitt Ahern, Jr.
                   ignored the Defendants unchallenged Affidavits stated, "Judge Bowes did
                   not do anything wrong" and that the laws indicated were generalizations".
                   Denied the Motion.

             h.    Pursuant to tt Notice of Service hereto zrttached, are the court orders of
                   Oct. 17, 20L7 "Associate Judge I(aren J. Bowes did not sign the court orcler
                   transferring the matter to the presiding judge in violation of Sup Ct Ilule
                   272,Directed Evidence of Trespassingupon the Laws;

             i.    Pursuant to the Presiding JucJge transferring thc:'rnatter to judge Ahern it
                   was not signed in violation to Sup Ct. Rule ZlT,Directed Evidence of
                   Trespassing upon the Laws;

             j.    That Associate Judge Gregory Emmett Ahern, Jr. becarne cornplicit in nn
                   "Organized Conspiracy" Denied the Motion with his certifiecl signature
                   corroborating his role "'I-respassing upon the Laws" enforcing a void
                   order deemed a nullity;

             k.     Section 1983 of U.S.C.S. contemplates the depravatlon of Civil
                    Rights through the Unconstitutional Application of a Law by
                    conspiracy or otherwise. Mansell v. SaunderS (CA 5 F 1A) 372f:
                    573, especially if the conspiracy was actually carried into effect,
                    where an action is for a conspiracy to interfere with Civil Rights
                    under 42 U.S.C.S. 1985 (3), or for the depravation of such rights;
                    under 42 U.S.C.S. 1983, if the conspiracy was actually carried into
                    effect and plaintiff was thereby deprived of any rights, privileges, or
                    lmmunities secured by the United States Constitution and Laws, the
                    gist of the action may be treated as one for the depravation of rights
                    under 42 U,S.C.S. 1983, Lewis v. Brautiqam (CA 5 F 1a) 227 F 2d
                    124, 55 $lr 2d 505, John W. Strong, 185, 777-78 (4 th ed. 1 992)

              I.    That the Judge erred considerably when it received notice and
                    knowledge of other Judges complicit in a Criminal Conspiracy failed
                    to follow Canon Ethics Leslie W. Abramson, 25 Hofstra L. Rev. 751
                    (1997). The Judges Ethical Duty to Report Misconduct by Other
                    Judges and Lawyers and its effect on Judi,:ial lndependence.

              m. That because     many white nationalist have infiltrated the Dernocratic party
                    and has rirethodically overtuLned the legal tribunal recruiting the necel;sary
                    persons who will keep their mouths shut and continue the terrorist
                    rnayhem on innocent citizens fighting injustice in the courts;

     7.)    Pursuant to VOL 4, Gr Ilx E Sun Tirres Article ,10-25-2016, Mark Brown,
           "Judge thought law clerk who wore robe was a judge documents. szry".
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                  A. Chief Judge Timothy C. Evans, seerns to only allegedly supporr
                     the removal of persons of color and not any others, it siates,
                     "Crawford who'd been a law clerk since 2011, was fired by
                     Judge, Tim Evans after he learned of her allegecl conduct et at.

                  B. Fonner President obarna and his Adrninistratio, have rnadc
                     historic slricles to cxpar:d opportunities ancl aclvance equality ancl
                     .iustice for all Arnericans, irrclucling Lesbian, Gay, Ilisexual, irutl
                      f'ransgender (I-Gll I-) Americans;

                  C. The reality is that there are many Btack Negroe/African
                     Americans don't see themselves as belng free in accorclance to
                     the united states Constitution but has elected to accept their rr:les
                     as inferior humans to the white Democrats, in that u ui.ious
                     guard dog protecting a horne is ineffective if he is caged up, like
                     an enslaved man's mind his authority or will is contained [o thc
                     perils of his bonclage;

                     "lf you ca, control a man's thinking you clo not have to worry about
                     his actio,. Mren yo* determine wliat a man shall think you do not
                     have to c-oncern yourself about what he wili c1o. If you .,r"o1." , .,.,0 n
                     feel that hc is inf'crior, you do not iravc to courpcl him to accept an
                     inferior status, for he will soei< it himserf. If you makc a man think
                     that he is iustly an outcast, you do not have io order him to thc barcl<
                     door. I{e wi}l go without being tord; ancl if there is no bach door, his
                     velynature will demand one."
                     - Q:rrtcr: G. Wootlsol, 'Illrc Mis-llilucirtion pI lhe Nc,rro t933
                  D- That in spite of a man can donned  the wearing of pinl< panties ancl
                     coming out of the closet or a woman wearingi
                                                                      loct<strip donning
                     a man's organs simulating being hung not one person in
                                                                                  ttre
                     Democratic party exemprified any integrity o, ir,r-an crecency
                     towards humanity of every individual namecl in each case
                     recorded within the aforementioned, to aid or assist in any
                     capacity; due to Dornestic Democratic Terrorist r:aving tarcen
                     seize of the courts controlling how every verclict is ren-clerecl in
                     the courts;

                  E-That every Negroe, Blacl< or African Ainerican, I-Iispanic
                                                                                 and
                     Latino judges have been abre to assume the positions of jucrges
                                                                                     in
                     a racist climate that opposed persons of coror via
                                                                        trre vioient
                     demonstrations that was recr by Dr. Marti, Lutrrer l(ing,
                                                                                Jr
                     through the Civil Rights Acr of 1964;

                  F-Tirat the very judges that has benefitted frorn the zrtbrementionccl
                     never believed in themselves, never believed in the united states
                     constitution allowed themselves to be prostituted protecting tlre
                     authors of mayhem (Democratic party) acting as Uncrc 'rom,s,
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                          Aun[ Jane's, in the book A]ex Flaley Roots these Negroes were
                          best termed as "I-Iouse Niggers";

                    G- That in spite of everybody wanting to be what they are not and
                          everyone in competent authority is expected to do what is rnorirlly
                          correct, but because so many were incompetent or unqualifiecl t<l
                          assume positionsof authority further amplifies the Democratic
                          philosophy culminated into acts of Terrorism;

                    I{-   Tirat it is apparent blacks within the Darnocratic party have
                          limited jurisdiction over Caucasians' in that, because Jim Crovr
                          policies are still being enforced, the Illinois Sup Ct. has closerl
                          its' eyes to Judges and "'frespassing upon the Laws,
                          cornmitting ('Tre:ison o[Tenses,, on the bencli;

                    i-   Pursuant to VOL 5, Gr Ilx F, Chicago Daily Law Ilulletin,
                          December 12,2016, Lauraan Wood, Court OI(,s judge race for
                          Ahmad,last Par. "Crawford - who was running unopposed fbr
                          fhe vacancy until Alrmad threw her hat in the ring-got fired
                          from her position in August after she donned Circuit Judge
                          Valerie E. Turner's robe et al.

                    J- The Attorney Registration & Disciplinarian Commission
                        suspended Crawford's law license prohibiting her from being
                        sworn in as a judge, in spite of defeating the incumbent Ahmarl;

                    I(-   That cynthia Brirn alleged relative to a prominent soutrr side
                          activist another Africin American judge lost her job;

 The Illinois Courts Commission has done what Cool< Countyvoters clid not: It
removed Circuit Judge Cynthia Brim from the bench, saylng she's unfit to preside
ovef a courtroom.
Charged with rnisdemeanor battery on a sheriff s deputy, Brim was foun<l not guillty
by reason of insanity Iast year. She'd been arrested for shoving the officer outsicle
                                                                                      the
Daley Center in March 2or2,a day after she interrupted herr call in traffic
                                                                             court with
a disturbing 45-minute rant about race, justice ancl "kahoonas."
                                                                   Ushered from her
courtroom by a supervising judge, she was prohibited from returning without
                                                                                  a
police escort.
    B') That VOL 6, Gr Ex G, Americzr's Black I-Iolocaust Museurn, Voting Rights tgr
        Blacks and Poor Whites in the Jim Crow South;
                 A- Page 1 of VOL 6, Eight ways People were lcept frorn Voting under
                     Jim Crow Laws and doctrines;

                 B- This    case demonstrates how persons of color are    collectively denied
                     Equal Protection of the [,aws;


                                               10
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                 C- This case further amplifies how so many judges regardless to skin
                    color lack the academia necessary to ascertain sirnple a.spects of thc
                    jurisprudence even when the laws and references zrre pri b"for"
                     them;

                 D- In cliicago Black Negroe judges especially are appointed whom
                    subservient, inferior and subrnissive to,,Organized White         ^re
                    Natio-aalislof the Democratic Party to do what they are told, ancl
                    not what the laws of the united States constitution afford to all
                    persons of color; many has "Trespassed upon the Laws, engagecl
                    in "Treason" so as to protect and uphotd Jim Crow cloctrines in
                    Illinois;

                      "A-f,ica., Am"ricans *ere not allowed to ,rote   i, tlr. D"-oc.atic
                                                                             ratic Partv wr
                      "club" and did not allow black members.,,

                 F-    White Nationalists controlling the Democratic Party have bcen able
                      to reffuit and appoint any Negroe or Hispanic willirig to sell out tlreir
                      ethnic group to violate their Civil Rights (engaging in reverse
                      Discrirnination) by circumventing the United States Constitution
                      Civil Rights Acr;

                 G-
    9.) That vol- 7, Gr Ex [I, Respondent's Response Motion Striking & objecting
        Plaintiff's Motion for Entry of Default, order Granting Sum,nai*y Judgmept,
        Judgment of Foreclosure, & Order Appointing Selting Officer Due to ,,Frzrud,,
                                                                                              and
        Barred by 5 year Starute of Limitatio, zgs I.cs slrg-2015 w/Affidavit;.

    10.)       That   vol-   B,   Gr E* I R".pord"rrt', Motion fo, R".onrid.,utio,", vo.u,q
               nber 1. 2017) order due to Error "Fraucl" Trespassins uoon the Laws
                                                  ; Motion Denied
                  A- African   Arnerican former Alderwoman Judge ignored the rnerits in
                      Respondent's Affidavit plaintiff never objected to any of the
                      assertions; but corroborated her role in an "orqanizei consEaqr
                      dernonstrating Blacl< inl'erior or subservient Negroe judges do not
                      rule against whites as demonstrated in this case
                                                                            - :-
                 B- VOL 9, Gr Ex J Respondent,s          Response Motion   Striking &
                      Objlecting Plaintiff,s Motion 1br Enirv of Default. Orcler Granti
                                                   ent of Foreclosure        er Anooin




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                     C-   Judge Lyle is on record where a court reporter transcribed all of thc
                          events, "Trespassed upon flre Laws" with great determination l.o
                          grant the caucasian bank attorneys whatever they were requesting,
                          hereto attached, VOL 10, Gr llx I( Oct.23,2017 Court Order
                          signed whereby; Judge Lyle corroborating her role engaging
                          ('Treason"                                                        i.
                                        indicated in the order, ,No   additional           an be


    1   1.)         Tlrat Judges in the Sup Ct and Judge l_nza etat. have
           corroborated/adnlitted beyond all legal standards of the law engaging in a
           crirninal conspiracy and irnplicating numerous "powerful corr,ipt-w5"ite rnen,, irr
           office covering up for the Political machine opeiatives; and how ttrey use in{,erior
           ethnic groups outside their ethnicity to enfor"" tl',"i. cloctrines on innocent non-
           white men like the plaintiff as noted throughout all documents;
             A- That a Federal Court is supposecl to view a complaint's allegations in zr liglt
                  tnost favorable to the plaintiff, draws all reasonable inferenJes in favor 6f
                  the plaintiff, and takes as true all well-pleaded facts and allegations in t6e
                  cornplaint. Reger Dev., LLC tt. No.t'l ciry Banlc, s92 F. sa /sg, zod
                                                                                            lz,f,
                  Cir- 2010)..Federal Rule of Civil Proceclure B(a) (2) requires "a s6ort and
                  ptain statement of the clairn showing that the pleader is entitlecl to reliel,, in
                  order to provide the defendant with fair,notice of the plaintiff's claims arrcl
                  tlre grounds upon which they rest. Ilctt Atl. V. Twontbty, SS0 U.S. 544, :;SS
                  (2007) (Ttuontbly). To survive a motion to clismiss, the plaintitf's claim
                  nrust be plausible and the factual allegations of the .o-pluint rnust be
                  "enouglt to raise a right to relief above the speculative level." Broolcs ,tt.
                  ,I?oss, s7B F.3d sT4, sBI (lt' cir.2009) (qiotirtg T\tonilsly,
                                                                                    ss} ry.s. at
                  s55).

            l3- Tllat tlie defendants have met and fulfilled the requirernents of the
                 arforementioned for the relief being sought;



                          VIOLATION OF OATH OF OFFICE
rn rrlinois , 105 rLCS 205/4 states ,,Every person admitted
to practice as an attorney and counselor
before his name is entered upon the rorl at     raw sha1],
                                             to be kept as
hereinafter provided, take and subscribe an     oath,
substantial-Iy in the following form:
'I do solemnly si.^/ear (or aff irm, as the case may be), .ha1:
r wiII support ilre constitution of the    united
the constitution of the star,e of rtlinois, andstates
                                                   that r
                                                          and
                                                           wir_L
faithfulry discharge the duties of the office of attorney
and counsel-or at,Iaw to the best of my.abiliLy. ,,,



                                                  12
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In Illinois,  a judge must talce a second oat.h of office.
under 705 rLCS 35/2 states, in part, that "The several
judges of the circuit courts of this state, before entering
upon the duties of their office, shalI take and subscribe
the folrowing oath or affirmation, which sharl- be fited in
the office of the Secretary of State:
'I do solemnly swear (or af firm, as the c<rse may be) that. I
wi-rl support the constitution of the united states, and thre
constitution of the State of rrrinois, and that r wifl
faithfully  discharge the duties of judge of         court,
according' to the best of my ability. "'
Further, if the judge had enlisted in the U-S- military,
then he has taken a third oath. Under Title 10 U.S-C-
section 5o2 the judge had subscribed to a l-ifetime oath, in
pertrnent part, a"s followsl "I,           , do solemnly
swear (or affirm) that I witl support and defend the
cons t itution
             of t.he united States against aI] enemies,
foreign or domestic; that I wiII bear true faith and
al-legj-ance to the    same   ; ...
The U. S. Supreme Court has stated that "No staLe legislat-or
or executive or judicial of ficer can war against the
Constitution without violat ing his undertaking to support
rt."
:r-  ,,
        Cooper
        ^      w. Aaron, 358 U .s. L, 7B s.ct. 1401 (1958).
Any j udge who does not comply with his oath to the
constitution of the united states wars against that
constit.ution and engages in acts in vioration of the
supreme Law of the Land. The judge is engaged in acts of
treason -
Having taken at least two, if not three, oaths of office j-o
support the Constit.ution of the United States, and the
constitution of the state of rtlinois, dDy judge who has
acted in viorati"on of the constitution is engaged in an a<:L
 or acts of treasr:n (see below) .
 If a judge does not fully comply with the Constitution,
 then his orders are void., fn re Salnzer, 124 U. S. 200
  (18 BB ) , he,/she is without jurisdiction, and he/she has
 engaged in an act or acts of treason-

                                 TREASON



                                      13
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 Whenever   a judge acts where he/she does not have
 jurisdiction to act, the judge     is engaged in an acl- or acLs
 of treason. U.S. w. Wi77, 449 U.S.     2OO, 216, 101 s.ct. 4't1.,
 66 L.Ed.2d 392, n0-6 (198 0 ) ; Cohens w. Virginia, 19 u.s. (5
 Itrlheat   )   264   ,    404   ,   5 L.Ed 251 (1821)
 What is the penalty for treason?                                     -

 18 U.S. Code S 23Bl- * Treason
    wlroever, owing allegiance to the United states, levies war
 tlrem or adheres to their enemies, giving them ;;;               against
 the United states o[ ersewhere, is guirt/of treason ";il";;.;i     wirhin
                                                       and shail suffer
 death, or slrall be imprisoned not ress than five years
                                                         and fined under
 this title but not ress than g10,000; and shail be incapabre
 any office under the United States.                           of hordinq
 (June 25, 1948, ch. 645, 62 Stat. 807) pub.
                                                L. 103_322, ti           .,
 5 330016 (2) (J), Sqpr. t3-tS9+, rOS Srar. 21aA.)

Attorney General sessions: Actions "from         racial bigotry and hatred....cannol be
tolerated an innocent p2 year old caucasian *orun"*us
                                                                 killed as white
nationalist banded to g'ether seekin g wh.ite rupr"r".y
                                                             in charlottesville Vi rginia.
ln clricago any nonwhite person *f,o closes in"i,
                                                                    jurisdiction to a
person of color seeking jurisdiction and protection "y". and
                                                        to the very mayhem of racial
hatred is a colored version of the very hate groups
                                                         that is being denounced in
that city is ail the rg3.so!s why "Jim irow ra,irs,,
                                                     ur. itirr being enforced in the
courts of chicago, ilrinois Negroe bracks and
                                                  certain Hispanic;uogei as'
Democrats keep their mouthishut and go arong
                                                      with racial injustice.

                   FEDER'A'L JUDGII GETTLEMAN: srated, Tuesday
                                                                         Marcrr 10, 2009,
                  where he found superintendent of police Jody
                                                               weiss in contempt             of court

                  :l:".11
                             1928 decisio:lry Supreme Corrt      iuffij6]
                                         becomes the law breaker, it breeds Contempr     tbr
                  ;l1j]r:,9_"*11ment
                  I-aw,
                                                                                 vllr-yl
                         It invites everymzrn to become a law unto himserf. It invites
                                                                                                 trre;

                  Anarchy."

                           Law Bulletin, Wednesday Aprit 26,zl06,page
],*"Si::f:,!,1,1,                                                     1, nlinois poliricat
f::#:j"li,',0-o;:?:.lljlitlil aslciagJ'p..I;;;;;i,;"B""ii;#';;i:,:",|,"i'i,^
      r        etri di        rt    t          dinp prounrl"


f,nit,Ct'icago
                  is tne   mo                               I-Iuffington Post, Internet Newspaper,
                                                                                          w JIJ(llJrrl

l:,0:.:^,:! ,7,.,?P]?,
                       U.niversity &     nri*i.   professor Dick Si-mps on,*The
                                                                                   two worst crime
zotrcs  in lllinoi
                                                             the Cin Council
chi                                                            the AP "    other




                                                    T4
 Case: 1:17-cv-08467 Document #: 1 Filed: 11/21/17 Page 154 of 156 PageID #:154




     wherefore the foregoing stated within Defendant Bespectfully prays
     for the Relief:
    1') That this Most Honorable court Remand Jydge Pamela E. Loza
                                                                          et al,
        and all conspirators into custody lnstanter for:,Trespissing upon gr. attorney:j
                                                                              [u*J;;
   2') order the Grand Jury to investigate and lndict all other parties associated
                                                                                   in said
         Conspiracy and the persons reiponsible for mailing out unsigned
                                                                         court orders;
    3') Order the Removal     of every Public Official named and ignored the oath and
         constitution of their duties as an erected/appoint"Jotn.r"r;

   4')   Order the Removal of any and alljudges receiving Notice
                                                                 and Knowledge of
         judges "Trespassing upoh the Laws,'iemaining
                                                       sLntl
   5') order   the Appointrfient of a Federal Judge in those courts appticable
                                                                               where
         judges have engaged in ,,Treason,,,,Trespassinj
                                                          ,p"" tf," Laws,,
   6') lssue an lnjunction Prohibiting the county judges, city   or state officiats from
         issuing any judgrhents againJt the plaintiffi

   7') order Sanctions against    all parties and have them to absorb all legalexpenses
         and costs for the enforcement of this matter;

   B') order a Moratorium on all.Child Support' Custody
                                                          matters ascertaining other men
         victimized by the same unjust matteis, order a
                                                        Moratorium on all Foreclosures,
         due to the admissions of juoge Lyre.on.record
                                                       handringv ;;;rlfib';u"J."#,nn
         as a Private Citizen enforcin[ Void Orders;

   9') Let the Gavel and Jurisdiction of this Honorable
                                                          Court lnvoke any other remedy
         this courts deems just;




I affirm the above as being true.


                                                                  Rqspectfully Submitted

                                                                  Jr* U52do,re"1,,
                                                                  Lee Oties Love, Jr.

                                                                 Plaintiff-Counsel pro     Ser




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                                   IN THE
                        UNITED STATES COURT OF APPEALS
                           FOR THE SEVENTH CIRCUTT
                             cHtcAGo, tLLtNots 60604


[.ee Oties I-ove, Jr.                                 Civil Action #17-CV- 054t12

                                                       Judge Sharon .I. Coleman
 Plaintiff                                             Mag. M. Davicl Weisman

   V

Supreme Court of Illinois, pamela 8..l_nza,
Luciano Panici, James p. Murphy, Joshua p. I-Iaicl

 Del'endants
                               NOTICE OF
MOTION FOR RECONSTDERATION VACATE (AUGUST 8,2017) oRDER DIUE
TO ERROR TRESPASSTNG UPON THE LAWS MAKING THE ORDER VOIII A
NULLITY w/l\FFtDA,ViT & RETNSTATE COMPLAINTS




To the most I-Ionorable Judge of the United States District Court for the Northern
District:


Moving Party, lre Oties L,ove, Jr., hereby respectfully represents as pro Se shows this
court with an affidavit the noted reasons why this ,rait., ihould be entertained within
                                                                                        this
court's jur'isdiction; {Pursuant to the provisions of the United States Constitution}

Tlrat on November I,2OI']-,Plaintiff shall present this Motion at B:45 arn
                                                                           befbre
I-lonorable Sharon Johnson-Coleman or ury judge sitting in her
                                                                stead in room 7425,219
South Dearborn Street, ClLicago, IL. 60604;




                                             IB
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                    U.S. Attorney
                   Joel R. Levin
                   219 South Dearborn Suite 500
                   Chicago,   Iil   60605

        Cook County Statcrs Attorney
                                                    ChicfJudge Timothy C. Evzrns
        IGrn Foxx
                                                    50 Wcst Washington, Suitc 2600
        50 \)fest \Washington, Suite
                                     500             Chicago, IIl. 60601
    '   Lhlcago, IU. 6060i

        Supreme court of Iilinois
 6270I-)"72r;                               , 2oo East Capitar Ave. Springfierd IL.

                                Loza 50 West
                                 Wastrington, Chicago, rL 60601,
*"o;%"0,;.Elizabeth
    James p' Murphy 555 west Harrison,
402;                                   chicago, IL. 60607,                            Room
     Luciano panici 16s01 South r(edzie parkway,
60428, Room 105;                                    Markham IL.
     Joshua p. HaicJ Sears/wiris Tower
IL. 60606 B4th floor; .  -'      ' vyvvr z-JJ
                                         233 JU
                                              south \{/acker, chicago



           PLEASE BE ADVISED that
Ileconsiderarion ct al' been                  on october 2s,z0r7,a Morio' for
                             filed before tl-re urutecl sioa., Dist,icr.
                                                                         court.


                                                               Resp   cctfully Subrnittcd


                                                              Lec Oties Lovc,Jr.
                                                               8435 S. Peoria
                                                             Chicago, II-.60620
                                                              773 783_s691




  Dated October 25,      ZO1Z




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